 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

w
@:§§`e”zé§§§v“!oi)

C“'

v ` 2-Y Document 1

Jenifer Knighton, Pro Se Litigant
19543 Cabra Ct.

Katy, Texas 77449

832-910-2931
ieniferknighton()S@Yahoo.com

Filed 09/24/18 Page 1 of 147 Page|D 1
cLERK 0? DiS?RECT 00va
' HB§ T.GF IX
§%Y{Y%SRTH%MS!UH
FtLED
2818 SE? 211 PH liser

DEFUTY CLERK

 

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

JENIFER LYNE KNIGHTON, PRO SE
PLAINTIFF,

VS.

THE UNIVERSITY OF TEXAS AT
ARLINGTON,

DAWNETTA SMITH,

DEBRA WOODY,

EDDIE FREEMAN,

JEAN HOOD,

VISTASP KARBHARI,

AND SHELBY BOSEMAN

DEFENI)ANTS.

CaseNo.: \ f
41&:)'“1;\/ ```` "'Z@Z"Y'

ORIGINAL COMPLAINT AND
JURY TRIAL DEMANDED

 

 

 

 

ORIGINAL COMPLAINT AND JURY DEMAND

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

Jenifer L. Knighton, Pro Se Litigant, files this Complaint against Defendants, and respectfully

shows the following:

PRELIMINARY STATEMENT

l. This is a civil action brought to vindicate the Plaintiffs’ rights under the United States

ORIGINAL COMPLAINT

PAGE| 1

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 2 of 147 Page|D 2

Constitution, the Texas State Constitution, and under the statutory laws of the United States and
Texas.

2. This is a civil action for declaratory, injunctive, monetary, and punitive relief
against the Defendants named hereinafter for injuries that Plaintiff Jenifer Knighton sustained as
a result of the acts and omissions of the Defendants relating to sexual harassment, retaliation,
extortion, negligence, defamation and discrimination involving Defendants Dawnetta Smith,
Debra Woody, Eddie Freeman, Jean Hood, Vistasp Karbhari, and Shelby Boseman.

3. This action arises under the Constitution and laws of the United States, including 42
U.S.C. § 1983.

4. Plaintiff asserts two separate theories of liability for damages under Title IX:

1) deliberate indifference and clearly unreasonable acts and omissions that created a hostile
sexual environment to UTA female students at field placements by conduct and policies, making
a student more vulnerable to sexual harassment itself; and;

2) deliberate indifference and a clearly unreasonable response after sexual harassment was
reported that caused Plaintiff and other female students to endure additional harassment

5. Defendants intentionally acted in a clearly unreasonable fashion in violation of Title
IX by acts of deliberate indifference to sexual harassment; directly supporting and attempting to
maintain an environment of sexual harassment; and unlawfully discriminating against victims of
sexual harassment

6. Defendants lack of promptness in investigating and remedying third party sexual

harassment further constitutes deliberate indifference, because these investigative delays by
Defendants helped to create the hostile environment for victims of sexual harassment

7. The University’s numerous procedural failures in Jenifer’s case included:

ORIGINAL COMPLAINT PAGE ] 2

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 3 of 147 Page|D 3

a. failing to investigate her allegations; ignoring Jenifer’s repeated requests of
assistance and rights to a NON-biased, thorough, and impartial investigation;

b. as a “responsible employee” Defendant Smith and Defendant Woody had a
duty to Knighton; Smith and Woody failed to report the sexual harassment of
David J ones to Michelle Willbanks, UTA’s Title IX coordinator;

c. All Defendants failed to disclose to Knighton the name and contact
information for the Title IX coordinator so that she could file a complaint;

d. Defendants failed to disclose to Knighton her rights under “Title IX.”

e. Prior to contacting Plaintiff or any of the other UTA students, Smith contacted
the male perpetrator and warned him that he had been reported by Plaintiff;

f. UTA Defendants made an attempt to cover up the sexual harassment by
asking other female interns to remain at the field placement to remain at the
agency.

g. failing to provide Jenifer with resources promised to students reporting sexual
harassment/misconduct in University procedures;

h. retaliating against Jenifer by making demonstrably untrue complaints against
her alter she reported sexual harassment; and telling the accused to file an
interruption of internship on Jenifer.

i. unreasonably precluding Jenifer from presenting exculpatory evidence and
further ignoring any exculpatory evidence Jenifer was able to introduce

8. In its zeal to vigorously ignore any and all complaints by Plaintiff, Defendants
unreasonably ignored recorded voicemails, text messages, emails, witness’ statements and a

seventy-eight~minute recorded phone call that Plaintiff had with Defendant Dawnetta Smith;

ORIGINAL COMPLAINT PAGE 1 3

 

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 4 of 147 Page|D 4

9. The evidence proved that based on “preponderance of evidence” that David J ones did

sexually harass, harass, Verbally abuse, intimidate, scare, and attempt to extort money from

Plaintiff and other female students.

10. The evidence proved that Defendants Smith and Woody mishandled Plaintiff s
original verbal and written complaint

ll. The evidence proved that Smith discriminated against Knighton based on her sex
when she failed to respond to her February 2018 complaint of sexual harassment by David Jones,
the owner Wellspring; where Knighton was assigned by UTA to complete her practicum.

12. The evidence proved that Smith retaliated against Knighton by denying her
request to extend the deadline for her to complete the necessary hours for her practicum because
she reported sexual harassment to the School of Social Work in February 2018.

13. The evidence proved that Smith, Woody, and Freeman made a deliberate and
malicious attempt to cover up the sexual harassment and discrimination that Plaintiff endured.

14. The evidence proved that Dawnetta Smith fabricated Plaintiff s words.

15. The evidence proved that Defendant Smith attempted to paint a defaming picture
of Knighton in an attempt to cover up her own wrongdoing

16. Jenifer presented these facts as part of an appeal of Defendant Freeman’s preliminary
Investigation report. The University deemed this deeply troubling evidence irrelevant and denied
her request for reconsideration and closed their investigation

17 . Title 42 U.S.C. § 2000d(7) (Civil rights remedies equalization) provides, in
relevant part, that:

(1) A State shall not be immune under the Eleventh Amendment of the

Constitution of the United States from suit in F ederal court for a violation of
section 504 of the Rehabilitation Act of 1973 [29 U.S.C. 794], title IX of the

ORIGINAL COMPLAINT PAGE | 4

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 5 of 147 Page|D 5

Education Amendments of 1972 [20 U.S.C. 1681 et seq.], the Age
Discrimination Act of 1975 [42 U.S.C. 6101 et seq.], title VI of the Civil
Rights Act of 1964 [42 U.S.C. 2000d et seq.], or the provisions of any other
Federal statute prohibiting discrimination by recipients of Federal financial
assistance
(2) In a suit against a State for a violation of a statute referred to in paragraph
(1), remedies (including remedies both at law and in equity) are available for
such a violation to the same extent as such remedies are available for such a
violation in the suit against any public or private entity other than a State.
18. Plaintiff has exhausted all University Administrative Remedies at The University
of Texas at Arlington.
19. Knighton is part a protected class.
STATEMENT OF JURISDICTION AND VENUE
20. Federal subject matter jurisdiction of this Court is invoked pursuant to 28 U.S.C.
§1331 and 1343(a)(3), (4) to obtain redress for the deprivation of rights guaranteed by the
Fourth, Eighth, and Fourteenth Amendments to the Constitution of the United States pursuant to
42 U.S.C. § 1983.
21. The Court has federal question jurisdiction and supplemental jurisdiction,
respectively, pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1367
(i) Plaintiff states a claim under the laws of the United States, including Title IX
of the Education Amendments of 1972, 20 U.S.C. §§ 1681-88; and
(ii) the state law claims asserted herein are so closely related to the federal law
claims as to form the same case or controversy under Article 111 of the U.S. Constitution.

(iii) This action is for a claim exceeding the amount of $25,000.

22. The Court has personal jurisdiction over Defendants on the grounds that

ORIGINAL COMPLAINT PAGE l 5

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 6 of 147 Page|D 6

Defendants are considered to conduct business, and/or committed the wrongful acts complained
of herein, in Tarrant County, Texas.

23. Venue properly lies in this Court pursuant to 28 U.S.C. §1391 because
Defendants are considered to reside in this judicial district and/ or a substantial part of the events
or omissions giving rise to the claims occurred in this district

PARTIES
24. Plaintiff Jenifer Knighton, Pro Se Litigant (hereinafter “Plaintiff’ “Knighton”
“Jenifer”) is an individual and resident of The State of Texas.

25. During the relevant period, and at all material times, Plaintiff is/was a graduate
student enrolled in The University of Texas at Arlington, School of Social Work.

26. To protect the identity of students/victims not included in this complaint as
Plaintiffs and comply with The Family Educational Rights and Privacy Act (“FERPA”) (20
U.S.C. § 1232g; 34 CFR Part 99) the Fictitious names of Jane Doe 1, Jane Doe 2, and Jane Doe 3
were given to the students and/or victims:

a. that at all relevant times were enrolled in UTA, The University of Texas at
Arlington, School of Social Work;

b. And were students and/or victims that were enrolled and participated in
UTA’s School of Social Work Field Education Program at Wellspring Family
and Comrnunity Institute with Plaintiff.

27. The University of Texas at Arlington (hereinafter “UTA”, “University” “UTA
School of Social Wor ”) is an agency of the State of Texas and a federally funded institution of
higher education.

28. Defendant Dawnetta Smith (hereinafter “Defendant Smith” “Smith”) is/was at all

ORIGINAL COMPLAINT PAGE l 6

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 7 of 147 Page|D 7

relevant times the Assistant Dean for Field Education for UTA’s School of Social Work at 'Ilie
University of Texas at Arlington.

29, Defendant Dawnetta Smith is sued herein in her individual and official capacity.

30. Defendant Debra Woody (hereinafter “Defendant Woody” “Woody”) is/was at all
relevant times the Senior Associate Dean for The School of Social Work at The University of
Texas at Arlington.

31. Defendant Debra Woody is sued herein in her individual and official capacity.

32. Defendant Eddie Freeman (hereinafter “Defendant Freeman” “Freeman”)
is/was at all relevant times the Executive Director for Equal Opportunity Services (“EOS”) and
Deputy Title IX Coordinator at The University of Texas at Arlington.

33. Defendant Eddie Freeman is sued herein in his individual and official capacity.

34. Defendant Jean Hood (hereinafter “Defendant Hood” “Hood”) is/was at all
relevant times the Vice President for Human Resources at The University of Texas at Arlington

35. Defendant Jean Hood is sued herein in her individual and ochial capacity.

36. Defendant Vistasp Karbhari (hereinafter “Defendant Karbhari” “Karbhari”)
is/was at all relevant times the President of The University of Texas at Arlington.

37. Vistasp Karbhari is sued herein in his individual and official capacity.

38. Defendant Shelby Boseman (hereinafter “Defendant Boseman” “Boseman”)
is/was at all relevant times the University Attorney at The University of Texas at Arlington.

39. Defendant Shelby Boseman is sued herein in his individual and official capacity.

40. Defendants, Fictitious Parties A through L (Hereinafter Defendant A through L)
are those persons, entities or parties who participated in causing injury to Plaintiff.

FACTUAL ALLEGATIONS

 

ORIGINAL COMPLAINT PAGE l 7

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 8 of 147 Page|D 8

41. Plaintiff incorporates all paragraphs of this Complaint as if fully set forth herein.

42. Jenifer is a white female.

43. Jenifer Was born and raised in a small town in Florida. To her disadvantage, her
father passed away when she was a year old; leaving her 18-year-old mother to care for 3 small
children With minimal resources.

44. At a young age Jenifer knew that she wanted to help people. However, Jenifer had
a tough childhood, experiencing abuse, drugs and alcohol, and at the age of 15 she dropped out
of high school. At the age of 16, Knighton became pregnant and developed what Was later
known as an “eating disorder.”

45. Knighton moved to Texas in 2008 with the hopes of giving her children a better life
with more opportunities than what she had as a child. Not long after arriving to Texas did she
find herself in an abusive relationship. It seemed as though her Whole life, all odds were against
her but in 2014 her life took a drastic turn.

46. In 2014, After a 13-year battle with Bulimia and surviving, Jenifer Was able to
receive proper treatment in an outpatient setting. Jenifer worked hard to overcome the eating
disorder and in 2015 she successfully discharged from the Houston Eating Disorder Center
(HEDC).

47. Jenifer was later interviewed and selected to share her story as one of the success
stories; she was even featured on the website of HEDC.

48. Knighton had hope for life and for recovery. Her Motto was that regardless of
what life has done to you or what happens in your life, it does not determine your destiny.

49. Shortly after Knighton discharged from treatment she enrolled With the Institute

for Chemical Dependency Studies (ICDS) to become a substance abuse counselor.

ORIG!NAL COMPLAINT PAGE l 8

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 9 of 147 Page|D 9

50. Knighton excelled at ICDS and upon completion, she received a recommendation
letter from the institute

51. Jenifer later registered with the State of Texas and became a Licensed Chemical
Dependency Counselor Intem “LCDCI.”

52. ln the beginning of her career, Jenifer worked at a women’s substance abuse
treatment center in the admissions department She loved her job; she had joy, happiness and a
true passion for helping others. Jenifer knew that she had found her purpose in life.

53. In 2015, Jenifer enrolled into a bachelor’s program at Springfield College,
Houston campus Jenifer was a model student to her peers and professors; she also made the
Dean’s list for five consecutive semesters while a student at Springfield College.

54. Knighton worked full-time, she was a full-time student and mother; and she
had to complete a year-long research project during her enrollment at Springfield that required
many hours of dedication

55. In May of 2017, Jenifer graduated from Springfield College with a Bachelor of
Science; she graduated in Magna Cum Laude with a GPA of 3.875.

56. In the beginning of 2017 , Jenifer landed a job as a Certified Peer Specialist at one
of the biggest mental health authorities in Houston, TX. Much of her job consisted of outreach in
the community, such as visiting the homeless encampments and assisting the homeless
population; assisting individuals that had mental health diagnosis and substance abuse problems;
and providing resources for those individuals She even had the opportunity to assist impacted
individuals after Hurricane Harvey hit Houston.

57. Many of the locations that Jenifer was assigned to were undisclosed domestic

ORIGINAL COMPLAINT PAGE \ 9

 

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 10 of 147 Page|D 10

violence shelters. On top of assisting individuals that were homeless, she also worked with
women that had extensive histories of violence, abuse and trauma.

58. Jenifer was an inspiration to her clients, coworkers, friends, and in the
community. She had a true passion to work with individuals and promote positive change
in her community. She had hope for any and every person that she crossed paths with regardless
of how bad or good their situation was.

59. Jenifer had so much passion and love for the work that she was doing that she
decided to further her education in hope of someday becoming a master’s level social worker.

60. Jenifer started her journey of looking for an accredited social work program; That
is when she came across The University of Texas at Arlington, School of Social Work.

61. Knighton researched UTA School of Social Work website, she looked at reviews
from past students and she made sure that they were accredited.

62. Knighton inquired about admission to UTA, and because she had such a high
GPA in undergrad., Jenifer was able to get acceptance into the UTA School of Social Work
without having to complete the Graduate Record Examinations (GRE) or the personal statement

63. The program that UTA was offering worked well for Jenifer because they offered
courses in an online cohort; and she would be able to complete her degree by the Spring of 2019,
allowing her to graduate a year before her daughter went off to college.

64. It also allowed Knighton to continue to work full-time and have time for her family

while she was completing her degree.

65. Knighton applied to the UTA School of Social Work and was accepted into the

Fall 2017 online Master of Social work cohort

66. Jenifer had a solid academic record and was planning to attend law school

ORIGINAL COMPLAINT PAGE l 10

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 11 of 147 Page|D 11

following her graduation from UTA iii the Spring of 2019.

67. Jenifer had/has no prior history or reports of misconduct or disciplinary action of
any kind, at UTA or otherwise

68. Following her graduation at UTA, Jenifer would have been eligible to take the
State of Texas exam to become a Licensed Master Social worker (LMSW).

69. Following her graduation at UTA, Jenifer would have been eligible to become a
Licensed Chemical Dependency Counselor (LCDC).

70. In order to graduate with her MSW cohort, Knighton was required to follow the
UTA School of Social Work academic plan that was created for students that enrolled in the Fall
of2017.

71. ln the Fall of 2017, Hurricane Harvey hit Houstori and surrounding areas, severely
impacting the residents including Knighton by causing a delay in her school books being
delivered. Despite the unforeseen circumstances, Knighton was able to complete the Fall
2017 semester at UTA finishing with a 3.5 GPA. Knighton even received excellent feedback
nom one of her professors for her hard work, perseverance, and dedication to her education

72. When students enroll in the UTA MSW program, they are encouraged to begin
looking for their MSW required field placements at least one semester before starting the field
education or when beginning the graduate program because it can take months to find a
placement

7 3. UTA offers several agencies that are already affiliated with the University or you
have the option of finding an agency on your own where you want to complete your practicum
at. Regardless of whether or not you choose your own placement or use the list that UTA

provides, the University has to approve and affiliate the agency.

ORIGINAL COMPLAINT PAGE \ 11

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 12 of 147 Page|D 12

74. UTA School of Social Work Students are required to complete the practicum/field
education at an agency that is affiliated and approved by the UTA School of Social Work.

75. In the Spring of 2018, Jenifer was enrolled in a Split foundation placement lt
required her to complete around 15 hours of field education work per week.

76. Knighton was fully eligible to receive and enjoy all of the benefits and privileges
of such enrollment, and of that educational opportunity, program or activity.

77. Jenifer needed to successfully complete the UTA foundation field education
course and practicum during the Spring 2018-time frame in order to graduate With her cohort in
the Spring of 2019.

7 8. On January 16, 2018, Knighton began her field placement at Harbor Hospice with
field instructor Brenda Galindo MSW. Brenda was a part-time employee at Harbor Hospice and
it was her first time as a field instructor with UTA. Since Knighton was referred by one of
Brendas colleagues, she accepted to become an instructor. Knighton completed 2-3 weeks of her
field education with Brenda at Harbor Hospice

79. Knighton did not have any complaints against her or negative feedback to her as a
student In fact, Brenda was extremely supportive and excited for Knighton to become a social
worker.

80. Wellspring Family and Community Institute LLC. was an agency that was
affiliated with and approved by the UTA School of Social Work for UTA students to complete
their required field placement

81. On the evening of January 26, 2018, Jenifer received a phone call from

ORIGINAL COMPLAINT PAGE l 12

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 13 of 147 Page|D 13

David Jones, Owner of Wellspring; Jones offered Knighton a spot at the agency as a practicum
student J ones offered Plaintiff the availability of completing her practicum during the hours of
Monday- Friday 4-8 and Saturday 9-2.

82. J ones invited Jenifer to come in the next day for orientation He told her that he
did not want her to miss the opportunity to work with the agency. Jenifer explained to J ones that
she had already found a field placement but she would be willing to attend the orientation and
consider switching placements.

83. On January 27, 2018, Jenifer attended an orientation at Wellspring Farnily and
Community Institute @ 440 Benmar Drive in Houston, Texas. The first impression of
Wellspring at orientation was a good one. Plaintiff walked into a room filled with donuts, coffee,
and orange juice

84. The individuals present at the agency were David Jones, Carolyn Smith, LPC-S,
Kimberly Gallien, LCSW, a Board Member, three social work practicum students from UTA,
and one student from Sam Houston State University. Kirnberly was the Wellspring assigned
Field Instructor with UTA, School of Social Work.

85. As Plaintiff sat down she Was given a professional folder that said Wellspring on
it. Iriside the folder were copies of all of the documents that the students needed for school and
information on the agency.

86. During orientation the students were told about all of these wonderful programs
and projects that Wellspring had to offer for the community. Wellspring had a few individuals
come in as speakers lt was like a dream come true Plaintiff was so excited for her future as a
social worker.

87 . After orientation Knighton met with Kimberly and Carolyn and discussed her

ORIGINAL COMPLAINT PAGE \ 13

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 14 of 147 Page|D 14

hours that she had accrued at the Harbor Hospice Plaintiff asked how she would get credit if she
decided to change placements. Kimberly told Plaintiff that she was not sure and that she needed
to ask her field liaison

88. Carolyn told Plaintiff that she hoped that she decided to finish her field placement
at Wellspring Plaintiff told her that she was pretty sure that she was going to.

89. Plaintiff thought “this must be a sign from GOD, he is moving me to this new
placement.”

90. On or around January 29, 2018, Plaintiff contacted Brenda and consulted with her
about switching placements Brenda told Plaintiff that she was wholeheartedly supportive of
Knighton because she felt that Knighton would get more clinical skills at Wellspring

91. On January 29, 2018, Plaintiff met with David Jones to discuss a start date of
the practicum and to send the over the proper paperwork to the University for students requesting
to transfer placements.

92. Knighton told Jones that she had already contacted the field office and that she
wasn’t sure she was going to be able to switch. J ones told Knighton to let him handle it and he
would contact them because he would have more of an impact because it was institute to institute
talking

93. On or around January 29, 2018 Plaintiff was approved by the UTA School of
Social Work to complete her field education at Wellspring. l

94. Plaintiff began feeling uncomfortable at Wellspring soon after she began her
field education She felt an uncomfortable vibe from J ones due to the way he looked at and acted
with Plaintiff and other female students

95. David J ones at Wellspring only had female student interns. Plaintiff remembered

ORIGINAL COMPLAINT PAGE l 14

 

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 15 of 147 Page|D 15

that David J ones had previously made a statement to her that a male student was supposed to
intern at Wellspring, but Knighton took his spot instead.

96. ln February of 2018, there were occasions that Jenifer and Jane Doe 1 were
locked in the office at Wellspring with David Jones in the evening.

97 . There was a deadbolt lock on the door that was locked and could only be opened
with a key from both sides. A key that none of the female students had or had access to. When
Knighton initially questioned J ones about the door being locked, he told her that the cleaning
lady had locked it.

98. Plaintiff contacted the property management for that office building and they told

her that the cleaning people do not lock the door when people are in the office; and the door
should not be locked when people are in the office due to safety reasons.

99. On several occasions J ones told Plaintiff and other female students that if they
did not complete the field education that they would not graduate on time and they would fail the
whole field course Jones knew that the field education was a requisite for students in the MSW
program to graduate

100. In the beginning of February 2018, Jones inappropriater hugged Plaintiff. She
felt uncomfortable but she was scared to tell anyone Plaintiff needed to complete the required
hours at Wellspring for field education and she feared that her academic and professional career
would be in jeopardy if she reported Jones. Furthermore, Knighton felt like she was the only one
that felt uncomfortable

101 . Sometime in February 2018 Jones told Plaintiff and Jane Doe 1 and 2 that

ORIGINAL COl\/lPLAlNT PAGE l 15

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 16 of 147 Page|D 16

they were not allowed to contact the University or the UTA School of Social Work for any
reason J ones told Plaintiff and Jane Doe 1 and 2 that they needed to go through him let him take
care of things.

102. In February 2018 there were occasions that Jones put his arm around Jane Doe 1
in the evenings as Plaintiff, Jones, and Jane Doe 1 were walking down the stairs to leave the
office; there were other instances that J ones would get very close to Plaintiff and Jane Doe.

103. Although students were supposed to be learning about social work practice, Gften
times J ones would stop them from working and have long conversations about himself.

104. In February 2018, on another occasion when a client came in with his mother,

J ones hugged the client’s mother, Knighton and Jane Doe l.

103. In February 2018, Jane Doe 2 contacted her field liaison Haydee Hall via email
about concerns that she had with UTA and Wellspring. Jane Doe 2 received backlash from J ones
for contacting Ms. Hall and helreiterated that the students did not need to contact the school for
any reason n

104. On February 10, 2018, Plaintiff, Jane Doe 1,2 and 3 met with Kimberly Gallien,
LCSW for group supervision On this day, all students and the field instructor signed a learning
contract Ms. Gallien informed the students that she was not going to be present at agency,
and that she would only meet with the students for supervision and to sign off on the required
hours.

105. On February 12, 2018, Plaintiff was ordered by J ones to contact the parent
of a client During the phone call, the parent stated that she had a runaway child at her house

Plaintiff paraphrased what the parent was saying to make sure that she was understanding the

ORIGINAL COMPLAINT PAGE \ 16

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 17 of 147 Page|D 17

parent correctly, as Plaintiff was taught to do in school. When the phone call ended, J ones
verbally attacked and belittled Knighton in front of Jane Doe 1.

106. J ones told Plaintiff that she was going to do things his way; and they would be
lucky if the client came back for services. J ones told Plaintiff that it was none of her business if
the client had a runaway at her house and she should not have asked because that was not the
reason why she called the parent

107. Jones then went on to criticize Plaintiff s place of employment; followed by
telling Plaintiff that she did not know what her purpose in life was. He proceeded to tell Plaintiff
that he had previously terminated an intern for following state procedure as a mandated reporter.

108. Jones told Plaintiff in front of Jane Doe 1 that things were going to be done his
way because he was the owner of the agency and nobody could fire him. Furthermore, J ones told
Plaintiff that he was the one that appointed the board members for Wellspring. J ones told
Plaintiff that if she didn’t like it, she had the key to the door and she could unlock it and leave

109. On or around February 13, 2018 Plaintiff contacted the UTA Social work office
and spoke with an unknown individual. Knighton disclosed to the individual that the field
instructor/ social worker for Wellspring was not an employee of the agency or an onsite
individual.

110. Plaintiff also told the unknown individual that the students were being trained and
supervised by Jones, an unlicensed individual. Knighton asked the unknown individual how they
were going to learn if they were not shadowing a social worker. The unknown individual told
Knighton that the Field instructor/social worker did not have to be at the agency, they only had to
meet with the students for one hour per week for supervision

111. The unknown individual asked Knighton for the name of the agency; Knighton

ORIGINAL COMPLAINT PAGE l 17

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 18 of 147 Page|D 18

told her it was Wellspring and told the unknown individual that she didn’t want problems

Knighton was so fearful of Jones that she was scared to even disclose her name to the University.

112. On February 13, 2018, Plaintiff received a text message from J ones telling
her that there was no internship that night and to come on Thursday. That afternoon, Plaintiff
contacted Jane Doe 1 and asked her if her scheduled hours had been canceled as well. Jane Doe l
was still scheduled to go into Wellspring that evening which meant it would leave J ones alone
with her.

113. On or around February 19, 2018 Jones told Plaintiff and Jane Doe l, and 2 that he
had well-known contacts in Houston and that he was friends with people like the head person of
CPS Joel Levine, a famous basketball player; and that he had friends within the political
community.

114. On February 19, 2018, the client from the previous week came in for services
with his mother. They were excited because they Were going to be able to work with Plaintiff.

J ones met with Plaintiff and Jane Doe 1 prior to meeting with the client

115. In an inappropriate and uncomfortable manner, J ones set up the room as if the
students and clients were in a role play; .1 ones told Plaintiff and Jane Doe l that they were going
to be sitting a certain way, where they were going to sit, how Plaintiff was going to sit while he
and Jane Doe 1 watched Plaintiff as she was providing services

116. J ones stated that he Was glad that the client came back since they almost
lost them as a client because of Plaintiff asking questions Plaintiff told Jones that she felt
uncomfortable with providing services to the client and politer asked him if she could shadow

him so that she could do things the way that he wanted her to do them.

ORIGINAL COMPLAINT PAGE l 18

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 19 of 147 Page|D 19

117. Jones angrily yelled at Plaintiff in front of Jane Doe l, “Oh no, no, no Ms.
Knighton, you are not going to take over the show here No, Ma’am.”

118. Plaintiff excused herself to go to the restroom where she broke down and cried
because of the way that Jones yelled at her and humiliated her in front of Jane Doe 1.

119. On February 20, 2018, Plaintiff received a text message from Jones telling
her not to come in that evening; he told her to check her email because he sent her an assignment
via email; and he told that he would give her credit for 4 hours By J ones canceling on Knighton
again, it would leave him alone again with Jane Doe 1.

120. On or around February 18, 2018 Knighton submitted a weekly journal for her
field course to UTA complaining about issues that were going on at Wellspring. Knighton
included in the journal a request that the information not be relayed back to the agency.

121. J ones requested Plaintiff s information on her LCDCI; and the contact
information for one of the shelters that she worked at so that the shelter could possibly partner up
with Wellspring.

122. As required by Wellspring, Plaintiff went and completed a background check with
ldentigo and all of Knighton’s background information was sent directly to J ones

123. On the evening of February 22, 2018 Jones asked Plaintiff and Jane Doe 1 if they
could contact one of the clients the following morning because he was going into a treatment
program. Jane Doe l was not available so Knighton said that she could do it. Jones gave
Knighton the phone number to call.

124. On the morning of February 23, 2018, as Jones requested, Plaintiff reached
out to the client early in the morning to wish him well before he went into the treatment center.

125. On the afternoon of February 23, 2018, Plaintiff had phone supervision with field

ORIGINAL COMPLAINT PAGE l 19

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 20 of 147 Page|D 20

instructor Kimberly Gallien The duration of the call lasted for one hour. Plaintiff and Ms
Gallien discussed things such as plaintiffs goals and aspirations Ms. Gallien told the plaintiff
that she was doing Well and that she was excited for her because she saw the passion that
Plaintiff had for people

126. On the afternoon of February 26, 2018, Plaintiff went to her practicum as usual.
She began working on an assignment that was given to her by J ones Plaintiff was moving at a
fast pace;

127. J ones made an inappropriate and humiliating comment to Plaintiff in front of Jane

Doe 1 stating that maybe Plaintiff needed a coffee fix because of her movement

128. Out of fear, Plaintiff did not respond or try to explain to J ones the cause of
her fast pace movement Shortly after, J ones told Plaintiff to get out of the way and let him do
things

129. Jones ordered Plaintiff and Jane Doe 1 to go through the brochures of other
agencies and to highlight certain information in them so that he could use it to make brochures
for his business Jones then left the room.

130. Plaintiff told Jane Doe l that she could not handle Jones’ inappropriate
behavior and comments anymore Knighton told Doe l that she was scared to talk to Jones in
fear that he would lash out at her and he didnt let the interns voice their concerns

131. While Plaintiff and Jane Doe 1 were working on the assignment given to them,
J ones returned to the office and handed Plaintiff and Jane Doe l each an individually addressed
envelope Plaintiff thought that it was a stipend for the students However, enclosed in the

envelope was a bill for $100. Plaintiff and Jane Doe l were confused about the bill. Plaintiff

ORIGINAL COMPLAINT PAGE l 20

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 21 of 147 Page|D 21

asked J ones what the bill was for. He told Plaintiff and Jane Doe 1 that it was a stipend that had
to be paid for the field instructor that was providing supervision

132. Plaintiff told 1 ones that the students weren’t supposed to be charged the practicum
because they were students J ones told Plaintiff and Jane Doe l that he informed everyone during
the interview process that they would be responsible for paying for Kimberly to sign off on
hours

133. Jones further said “well, Ms. Knighton maybe you were at a disadvantage
because you didn’t have an interview but everyone else did and they all knew.”

134. Jane Doe 1 looked at him and told him that he did not tell her anything about
having to pay for supervision J ones insisted that he told everyone about being charged.

135. Jones proceeded by telling Plaintiff that if she didn’t pay she would not get
for her internship, including the hours that she had Worked the previous weeks of her intemship.

136. Jane Doe 1 continued to dispute that J ones had ever said anything to her
about having to pay for a practicum; that if he would have said anything about money, she would
have remembered

137 . Jones became angry; he looked Jane Doe 1 in the face and said “I told you
1 know 1 did when 1 interviewed you.”

138. Jones was sitting down in a rolling office chair twirling a key on his finger; the
key dropped, and as he picked it up he started laughing.

139. Plaintiff was scared by the reaction of Jones towards Jane Doe 1, so she sat
down next to her and attempted to reach for her cell phone Out of fear, Plaintiff couldn’t move;
she was scared; she knew the door may have been locked; she felt paralyzed and was not able to

get to her phone

ORIGINAL COMPLAINT PAGE l 21

 

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 22 of 147 Page|D 22

140. Jones became irate and turned into a monster. He told Plaintiff and Jane Doe l
that he knew that they both had money and that they were either going to pay him or that they
could leave and not come back.

141. J ones proceeded by telling Plaintiff and Doe l that they had no values

142. Jane Doe 1 firmly told Jones that he did not tell her anything about having
to pay money; she then asked Jones, “how can you tell me 1 don’t have values Dr.Jones? 1 took a
$30,000 pay cut to finish school.”

143. J ones told Knighton and Jane Doe l that he was keeping it real with them
because he was nothing but real; and that he should be the one getting paid for having to be with
us late at night J ones went on to tell Plaintiff and Jane Doe 1 that nobody wanted them
because they were nontraditional students and that he was doing them a favor.

144. Jones said, “its only $4 a day and you spend more than that on lunch.”

145. Jones said that he was tired of seeing interns come in there and talk about
spending money and going out and having fun and then not wanting to give him money for
helping them,

146. Jones proceeded to ask Jane Doe 1, “what are you going to do when your
kids grow up, tell them that their mom chose a $4 hamburger over her master’s degree?”

147. J ones reiterated that it was ok if Plaintiff and Jane Doe 1 didn’t pay and
that they just wouldn’t get credit for any of the weeks that they didn’t pay for including the
previous weeks that they had already worked. For Plaintiff that meant that she was going to lose
95 hours of her time that she sacrificed for her field education

148. Plaintiff was scared by the look on Jones’ face and his behavior towards them.

ORIGINAL COMPLAINT PAGE l 22

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 23 of 147 Page|D 23

They were scheduled to leave at 8PM that evening However, after keeping Plaintiff almost an
hour over their scheduled time to leave, J ones looked at the clock and said, “ok let’s wrap it up.”

149. J ones acted as if nothing had just happened.

150. Jane Doe l and J ones Walked to the front while Plaintiff gathered her things and
straightened up the area. As Plaintiff was walking towards the front of the office she saw J ones
bugging Jane Doe 1.

151. J ones then walked up to Plaintiff and hugged her and told her, “don’t let
this stop you from coming back.”

152. After that, Jones, Plaintiff, and Jane Doe 1 walked out of the office together.

153. When Plaintiff got in her car, she burst into tears; As soon as plaintiff left the
parking lot she contacted Jane Doe l to make sure that she was ok.

154. Knighton and Jane Doe 1 both agreed that they had to report the incidents that
were occurring at Wellspring.

155 . Knighton asked Jane Doe l, “how can we be social Workers advocating for our
clients if we are not able to do it for ourselves?”

156. On the night of February 26, 2018, Plaintiff contacted Jane Doe 2 and told her
what had occurred that evening at Wellspring and that she would not be returning there

157. Plaintiff felt scared, violated, and disgusted by the inappropriate behaviors and
actions of J ones She told Jane Doe 2 that the following morning she would be contacting the
UTA School of Social work and she was going to report everything that was happening at
Wellspring; and the inappropriate behaviors of J ones

158. On the night of February 26, 2018, Jane Doe l sent the following text messages to

Plaintiff:

ORIGINAL COMPLAINT PAGE 1 23

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 24 of 147 Page|D 24

a. “This is fraud, and he can take that invoice and shove it lol. He call himself
preying in women he thought was desperate But God will definitely see us
through.”

b. “Yes everything he said was inappropriate Right it’s not about if we can pay it,
the point is this is wrong.”

c. “No I’m not going tomorrow. 1 don’t feel comfortable there anymore.”

d. “1 cried too, I sent an email to the school liaison I’m so mad, l’m creeped out

too.”

e “1 was so excited about this internship too. Talking about my values, u know
nothing about me I took a pay cut to finish my degree also thought about not
working to finish my degree I was starting to feel something was not right about
him, but 1 was just going to do my hours and be done But 1 refuse to allow
anyone to take advantage of me.”

159. On the morning of February 27, 2018 Plaintiff cried her whole way to work. She
was in shock, she couldn’t believe she was going through this The field experience was
supposed to be about learning how to be a social worker. lt was supposed to be about learning
how to implement social justice and change

160. When Knighton arrived at work, she told her supervisor that she had to leave
because of the mental state that she was in caused by the incidents that were occurring at
Wellspring by J ones

161. On February 27, 2018, Knighton received the following text messages f`rom Jane

Doe 2:

ORIGINAL COMPLAINT PAGE l 24

 

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 25 of 147 Page|D 25

a. “Keep in mind (not meant to dissuade) that this could also impact the other
interns lf I'm questioned I will be honest and back your courage.”
b. “l'm not worried or concerned you’re doing the right thing.”

162. On February 27, 2018, Knighton contacted UTA School of Social Work Field
Liaison Haydee Hall.

163. During the ca11 with Hall, Plaintiff Was hysterical and crying as she explained to
Hall that J ones was verbally abusing, humiliating, intimidating the students trying to manipulate
them, extort money from them, and inappropriater bugging selective students

164. Knighton informed Hall that there was another student present (Jane Doe l) with
her on the evening of February 26, 2018 and that there were two other UTA students at the
internship (Jane Doe 2 and Jane Doe 3) as well. Knighton continuously apologized to Ms. Hall
for crying.

165. Hall reassured Plaintiff that she did the right thing by reporting J ones and
Wellspring

166. Knighton told Hall that the students were so worried about losing their hours and
not being able to complete their hours which is why nobody wanted to speak up.

167. Hall told Knighton that she was going to contact the UTA School of Social Work
field office to figure out what needed to be done

168. Prior to J ones finding out that Knighton had reported him, Haydee Hall acted
quickly and contacted Kimberly Gallien and asked her how things were going with Knighton.
Gallien gave Hall a good review on plaintiff and said that she was doing well.

169. On February 27, 2018, Haydee Hall sent the following text messages to Knighton:

ORIGINAL COMPLAINT PAGE l 25

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 26 of 147 Page|D 26

a. 9:28AM, I spoke with Kristen in the field office and she is speaking to Dr. Smith
now. Will have an answer and more information later today.

b. 9:29AM, Thank you for sending me this information and saying something What
is happening is not ok.

c. 10:18 AM, Please don't apologize, you are ok. I am sorry that you are dealing
with this

d. 4:25 PM, Jennifer I have spoken to the field office twice today, they were going
to have a meeting this afternoon and should be sending out an email with further
instructions and/or questions Just wanted to keep you in the loop.

170. On the afternoon of February 27, 2018, Knighton received a call from Kristen
Terry, Acadernic Advisor in the field office at UTA, School of Social Work.

171. Knighton told Terry everything that she told Hall about what was happening at
Wellspring and what J ones was doing to the female students; Plaintiff gave Terry the name of
Jane Doe 1, Doe 2, and Jane Doe 3.

172. Knighton told Terry that the students were scared to speak up out of fear of losing
their hours and not being able to graduate

173. Kristen Terry proceeded to tell Knighton that Smith had already contacted
J ones and that per Smith, J ones would be filing an “Interruption of Field Placement” form.

174. Knighton was confused and told Terry that she did not want this form on her file
because she didn’t do anything wrong

175. J ones was not the Field Instructor for Wellspring, so he didn’t have the authority
to fill out the Interruption Form and he should have never been contacted by Smith because he

was only the agency contact and not the Field Instructor.

ORIGINAL COMPLAINT PAGE l 26

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 27 of 147 Page|D 27

176. Terry told Knighton that the Interruption form was normal procedure when the
student was no longer going to be at the agency. 'l`erry then told Knighton that Smith would be
contacting her the next day for a Level 2 conference to discuss her disruptive behaviors at
Wellspring

177. At this point Knighton did not even know what a Level 2 conference was because
she had never been in trouble with any University.

17 8. Knighton was the initial student that spoke up on behalf of all of the students and
the only student that false allegations were made against; and the only student that was told she
was going to receive disciplinary actions against her, the same day that she reported J ones Had
Smith contacted Plaintiff or the other students before contacting Jones, she would have known
the truth and Knighton would not have suffered further severe emotional injury.

179. In the Spring of 2018, Jane Doe 1 was in her last semester at UTA. After
Knighton informed the University about Jones, Doe 1 was told that she had to go back to
Wellspring

180. After Doe 1 confirmed Knighton’s allegations against J ones and she refused to go
back to Wellspring; she was forced to withdraw from the field course that she was in. The
explanation of the University was that “she had been in the wrong placement from the
beginning,” a placement that the University approved her to go to.

181. Following the phone ca11 with Kristen Terry on February 27, 2018, Terry sent an
email to Ms. Knighton stating the following:

a. lt was nice speaking with you on the phone I am very sorry that you have not had
a positive experience at your placement with Defendant Agency A. Dr. Smith will

be contacting you to schedule a level 2 conference call.

ORIGINAL COMPLAINT PAGE l 27

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 28 of 147 Page|D 28

182. After finding out that Smith contacted J ones and told him that he had been
reported by Plaintiff, Plaintiff feared for her safety because J ones knew where Plaintiff lived; he
knew that Plaintiff was a single mother; and he knew that she lived alone with her three
daughters

183. ~ Knighton was so scared to the point that she told another student that if anything
happened to her, she did not have any enemies

184. On February 27, 2018, Knighton did a google search and discovered that Jones
was not who he portrayed himself to be “a superintendent of a successful charter school” that he
mysteriously walked out on one day in 2014 to pursue his passion of helping others.”

185. Jones, previously the principal of a failing charter school was arrested in 2010 for
failure to report child abuse when one of his teachers beat a student

186. Although Jones, who was represented by current Houston Mayor,

Sylvestor Turner was acquitted of the charges; Plaintiff feared for her safety because she had
already seen a scary side of Jones; he now knew that he had been reported; and he had all of
Knighton’s background information Plaintiff also feared that since J ones now knew that he had
been reported, he had the power and political contact and could use it to destroy her future and
career.

187. On February 27, 2018, Jones hacked into Knighton’s personal Gmail email
account; changed the password, recovery address, downloaded the files on her account and then
deleted the account

188. On February 28, 2018, Plaintiff contacted Kristen Terry and told her that she was

concerned. Knighton told Terry that J ones was deceitful and that he lied about who he was

Plaintiff expressed to Terry that she was scared.

ORIGINAL COMPLAINT PAGE l 28

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 29 of 147 Page|D 29

189. Plaintiff further asked Terry if the field office did their due diligence before
affiliating agencies Kristen Terry told Plaintiff that they did not have the time nor the resources

190. Terry told Knighton that she had told her the day before that her and Dr. Smith
were going to contact her. Terry told Knighton that as soon as Smith came in, they would contact
her. Knighton did not hear from Terry or Smith.

191. On February 28, 2018, Plaintiff received a call from Natalie Eve in the field
office giving her the contact information on a new agency to interview with iii order to continue
her internship. Knighton immediately contacted the agency and scheduled an interview.

192. On or around February 28, 2018, Plaintiff contacted Haydee Hall and told her that
Jones hacked into her email account

193. Plaintiff also told Hall that she knew that they did not believe her in the field
office because they never called her, and they didn’t reach out to the other students Instead, they
went directly to J ones and told him that plaintiff reported him,

194. Hall told Plaintiff that it didn’t matter if they believed her or not because she
knew what happened and how it made her feel.

195. Knighton told Hall that she was concerned because she had to go interview at a
new place and she didn’t know what to say because everything that happened at Wellspring was
so fresh.

196. On February 28, 2018, Jane Doe 2 received a voicemail from Kristen Terry
stating the following:

a. This is Kristen Terry calling from UTA in The School of Social Work field office

1 was just calling to check in with you and see how things were going

ORIGINAL COMPLAINT PAGE l 29

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 30 of 147 Page|D 30

b.

197.

We understand that there’s been some situations at Wellspring l just wanted to
check in with you and see what your thoughts were and your perception of
everything and to see if we could make this work or if we need to work on
helping you find another placement

If you could please give me a call back as soon as you can Im going to email you
as well that way you can respond that way but if you could please give me a call
as soon as you can, 817-272-1583. Thank you, have a good day.”

On February 28, 2018, Jane Doe 2 told Knighton that she received a “weird”

email from Kristen Terry. The email was forwarded to Knighton and it stated the following:

3.

198.

1 hope you are doing well. 1 just left you a voicemail because 1 want to check-in
with you about your placement We understand that Wellspring is charging for
weekly supervision 1 am wondering if you were informed of this during your
interview and if you are okay with this

If so, you can remain in your placement If you are not comfortable with this, we
can help you find another placement Lastly, 1 just wanted to confirm that you are
still completing a BLOCK placement (completing all of your 480 hours in one
semester).”

On February 28, 2018 Doe l sent the following text messages to Knighton:

You have a wonderful day too. Yes God will protect us!! I'm very disgusted.”
The school still has not call. The man text me this masking for me to call him
when l am free

Omg! Girl why the school saying that foundation students were never approved to

be at a behavioral placement and 1 can't be transferred to another field placement

ORIGINAL COMPLAINT PAGE l 30

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 31 of 147 Page|D 31

1 99.
finding out that J ones hacked into her email account:
200.

201.

ORIGINAL COMPLAINT PAGE l 31

. I'm definitely filing a complaint on his ass. You are mining people lives with you

. Yes! Girl he just texted me saying the he spoke withe Dr Smith and they have

. They all trying to cover themselves 1 will never step foot back there. God got us

Girl he have been playing with these people lives and their children lives. He is a

demon.

bs. Somebody is going to hear us

I reached out to the Dean for academic affair. Now the advisor saying that I'm
advanced student and I should have not been approved for a foundation
placement But God is so good, I emailed you a couple of months ago regarding
another placement and she told me no because 1 was a foundation student So you

gave me the wrong information and you all approved this in etern.

worked something out regarding my fees. Girl this is crazy 1 hate this school.

out of there for a reason.

Yes it‘s very scary.

Yes they believe him. Why would u agree to pay this man.

I'm disgusted, and that man would get hurt playing with me. But y'all just told me
thats should not have been an approved placement for me but y'all changed
qualifications that fast

0n February 28, 2018, Knighton sent the following text messages to Doe 1 after

“Please tell me am I crazy? This is really freaking me out.”

On March' 1, 2018, Doe 1 sent Knighton a text telling her that she was told by

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 32 of 147 Page|D 32

Amy Davis that the University wasn’t allowing students to go back to the field placement and if
Jones contacted her again that she needed to call the police.

202. On March l, 2018, Jane Doe l told Knighton that she was contacted by Jones
again and that he told her that he had talked to the University and her fees were going to be
covered by them. Doe 1 told Knighton that she felt like J ones was lying and trying to lure her
there.

203. On March 1, 2018, Jane Doe 2 sent Knighton a screenshot of an email that was
sent to her from Hall, telling her to go ahead and go back to Wellspring.

204. Doe 2 called the Plaintiff when she arrived at Wellspring and told her that Jones
never showed up and that she wasn’t going back to Wellspring.

205. On March 2, 2018 Doe 2 sent an email to Kristen Terry expressing her concerns
about Wellspring and the unethical, unprofessional, and inappropriate behaviors of Jones. Doe 2
told Knighton that she was upset because Terry asked her if she could “tough it out.”

206. On March 2, 2018 Doe 2 told Knighth that her email to Terry got things moving
because Smith had contacted her. As of March 2, 2018 Smith, still had not contacted Knighton.

207. On March 2, 2018 Knighton sent an email to Kristen Terry stating:

a. l greatly apologize as I am very emotional and in deep disbelief of the events that
have transpired I am writing you in regards to our conversation on Tuesday
afternoon.

b. You told me that you and Dr. Smith would be contacting me the following day
and I have yet to hear from anyone. 1 called you yesterday and this morning and I

have received no response at all. I feel as though my concerns were not addressed

ORIGINAL COMPLAINT PAGE l 32

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 33 of 147 Page|D 33

c. I can’t express the disappointment that 1 have in the school for the way that
things have been handled. The behaviors of David J ones at Wellspring was
unethical, abusive, and extremely inappropriate

d. This incident that occurred with 2 of your students at an agency (that was
approved through the University of Texas @ Arlington) on Tuesday was verbally
abusive, traumatic, degrading, and physically uncomfortable 1 gave you the name

of the other student that was with mew and the other 2 students that have also
endured inappropriate behaviors from this individual. Instead of reaching out to
the other students first, you all reached out to David Jones, putting other students
at risk for the same traumatic events to occur.

e. Also, 1 am not ok with the form that will stand on my file for the interruption of
internship from Wellspring because I did absolutely nothing wrong. I was a
victim of abuse, possible extortion, and it should be documented as so. 1 do not
know what the next steps will be in all of this but 1 expect to hear from someone
Soon as this is not ok. Thank you.

208. On March 2, 2018, Kristen Terry responded to Plaintiff and CC’d Smith with the
following:

a. Please ensure that all future communication via email comes from your mavs
email. We will not respond to further emails from a personal email address.
Natalie Mangham, our out-of-DFW field advisor has contacted an agency who
was willing to interview you. Were you able to meet with them? If so, what were
the results?

b. I am going to let Smith respond to the other parts of your email.

ORIGINAL COMPLAINT PAGE | 33

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 34 of 147 Page|D 34

l 209. On March 6, 2018, Knighton sent an email and a non-academic grievance to the

2 Office of Community Standards, Dean of Student Affairs, Terry, Hall, Smith, Woody, and

3 Teresa Doughty stating the following:

: a. My name is Jenifer Knighton and 1 am currently enrolled in the MSW online

6 cohort program. 1 have some concerns that 1 feel need to be addressed On

7 Tuesday February 27th, 2018, 1 contacted my field liaison Haydee Hall to inform

8 her of several events that transpired at my field placement Wellspring Family and

9 Community Institute (affiliated agency) on Monday February 26th, 2018, 1 would
:(: like to say that Ms. Hall showed compassion, empathy, and dedication to her
12 student(s) and the concerns
13 b. On Monday February 26th, 2018 1 reported to my field placement as normal. My
14 typical afternoon consisted of being there from 4-8 p.m. 1 was working on
:5 researching brochures as 1 was told to do. David Jones (practice administrator)
l: assisted myself and Jane Doe 1 (another UT student) in going through the
18 brochures and highlighting information so that Defendant Agency 1 could make
19 their own brochures for psychoeducational groups.
20 c. A few minutes before 8 p.m. David J ones went out of the room and returned with
:1 envelopes for Jane Doe l and me. As 1 opened the envelope 1 thought it was a
2: stipend for our services as students. However, it was an invoice for $lOO. 1 was
24 confused and shocked as 1 have never heard of practicum students paying for
25 hours nor had 1 previously been informed that there would be a cost When Jane
26 Doe l and 1 questioned David J ones he became irate, telling us that he knew we
27
28

ORIGINAL COMPLAINT PAGE l 34

 

 

 

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 35 of 147 Page|D 35
1 had money because we both worked and that if we did not pay for the past 5
2 weeks than we would not get credit for any previous hours.
3 d David J ones continued to tell us that we had no values, and that we had 2 choices,
: we could stay and pay for the hours to be signed off on or we could leave and not
6 come back. He proceeded to tell us that he had told everyone in the interview that
7 there was going to be a charge. 1 never had an interview so 1 knew that
8 information was incorrect
: e. For over an hour this man belittled us, intimidated us and pretty much told us if
:1 we did not pay we were not going to finish school or get credit for what we had
12 already done. The way that he talked to us was mentally abusive, inappropriate,
13 and very scary.
14 f. Around 9 p.m. David Jones told us we could wrap it up and go horne (an hour
15 later than our scheduled time). When we were about to leave he made an attempt
:: to hug both Jane Doe 1 and me and told us not to let this stop us from coming
18 back. We maintained calmness and told him we would see him the following day.
19 After leaving 1 checked in with Jane Doe 1. We were both scared, in disbelief, and
20 decided that we could not go back to this place anymore.
21 g. 1 contacted Ms. Hall on 2/27/2018 crying and scared and 1 explained the whole
:: situation in detail to her. She told me that it was good that 1 spoke up and that
24 what this man did was not ok. Later that afternoon 1 was contacted by Kristen
25 Terri from the field office. 1 explained the same thing to her about what happened
26 I gave her the name of the other student that was with me and the other students
:; of UTA. She informed me that Dr. Smith had already contacted David J ones and
ORIGINAL COMPLAINT PAGE [ 35

 

 

 

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 36 of 147 Page|D 36

that he had concerns about my behaviors. 1 was in complete shock and confused
as to how things were turned around Ms. Terri also told me that the agency

would be submitting an interruption of internship.

. 1 questioned this an felt as though my concerns were disregarded especially since

1 was not the only student that had complaints However, the other student’s
liaison did not contact the school directly or advocate like Ms. Hall did.

On 2/28/2018 1 contacted Ms. Terri again to inform her of background
information 1 found out about David J ones and she asked me what it was that 1
wanted her to do and told me that they do not have the time nor the resources to
do the due diligence on the people from the agencies that UT is sending their
students to.

She told me that her and Dr. Smith were going to contact me and 1 have yet to
hear from anyone other than Ms. Hall. Natalie from field office contacted me to
refer me to another agency but nobody understood or took the time to understand
how traumatic things were and that 1 was still trying to process all that transpired

1 followed up with the new agency and scheduled an interview the next day,

. 1 also sent an email on 3/2/ 18 in regard to my concerns and 1 received a brief

email back from Ms. Terri that she would let Dr. Smith address my concerns.
Today is 3/6/2018 and 1 still have not been contacted

1 feel as though rny concerns were not addressed 1 can’t express the
disappointment that I have in the school for the way that things have been
handled The behaviors of David J ones at Wellspring were unethical, abusive, and

extremely inappropriate This incident that occurred with 2 of your students at an

ORIGINAL COMPLAINT PAGE l 36

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 37 of 147 Page|D 37

1 agency (that was approved through the University of Texas @ Arlington) on

2 02/26/2018 were verbally abusive, traumatic, degrading, and physically

3 uncomfortable

: m. This was one of the many events that occurred at this place. 1 gave the field office

6 \ the name of` the other student that was with me and the other 2 students that have

7 also endured inappropriate behaviors from this individual.

8 n. Instead of reaching out to the other students first, the field office reached out to
l: David 1 ones at Wellspring, and told students they’d have to return to this place.
ll They put other students at risk for the same traumatic events to occur.

12 o. Also, 1 am not ok With a form that will stay on my file for the interruption of
13 internship from Wellspring because 1 did absolutely nothing wrong. 1 was a
14 victim of abuse, possible extortion, and it should be documented as so. 1 do not
15 know what the next steps will be in all of this but 1 hope to hear from someone
:: soon as this is not ok. 1 can be reached at 832-910-2931.
18 210. On March 9, 2018, Debra Woody responded to Knighton’s grievance with the
19 following: l
20 a. Thank you for your email. I’m sorry that you had such a difficult beginning to
:l your field experience
2: b. I talked with our field staff. I’m sorry that you did not feel supported Although
24 It may not feel like support to you, several staff members have been working on
25 getting you and other interns out of the field placement at Wellspring and getting
26 you all assigned to a better fit My understanding is that this has now been
27
accomplished

28

ORIGINAL COMPLAINT PAGE [ 37

 

 

 

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 38 of 147 Page|D 38

c. We thank you for the information you provided This Was a new placement for the
school and we were not aware, even after several pre-assignment conversations
with David Jones, that interns would be charged for supervision or that all the
social work practitioners are contract workers.

d Dr. Smith plans to call you next week. Please let us know if we can help any
further.

B. Phone call Between Knighton and Dawnetta Smith on March 12, 2018.

211. Plaintiff incorporates all paragraphs of this Complaint is if fully set forth herein.

212. On March 12, 2018, almost two weeks after Jenifer called Hall and complained,
Dawnetta Smith finally called Jenifer.

213. Smith told Jenifer that she was informed by Kristen Terry that she wanted to
speak with her. Smith told Knighton that she had been in meetings and was not able to contact
her. Smith also told Knighton that since they were not in Houston, they did not have the strong
relationships with agencies like they did in their area.

214. During the phone call Between Plaintiff and Smith; Smith stated the following:

a. “My objective is, I need to get you somewhere, so you don't lose your money.

b. So while 1 recognize and 1 understand it's not all about money but 1 also recognize
and understand that you're paying a lot of money to be in your field placement
and 1 also know you just have until May llth to get 240 hours done and I had no
clue how many hours any of you all had or where you were if that makes sense
with even your supervision.”

215. Knighton stated:

ORIGINAL COMPLAINT PAGE 1 38

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 39 of 147 Page|D 39

a. “That makes sense and 1 understand that but you know I'm not saying that the
money doesn't matter, I'm saying the money doesn't matter like if 1 had to pay
something you know that 1 would have been willing to pay.

b. “That wasn't the point, the whole problem that was missed was the incident
about Defendant A hugging me and the other student

c. When 1 called my field liaison the next day 1 disclosed everything to her and
when 1 talked to Kristen Terry the next day I also disclosed everything to her
but nobody else reached out to me.

d. and on February 27th 1 was told by Kristen Terry that Dr. Smith was going to
contact me the next day, that her and Dr. Smith were going to contact me the
next day.

e. 1 know instead of reaching out to the other students that Defendant A was
called and that the other students were sent back out there.

f`. That was my concern because 1 felt as though 1 was being discredited or as if
you know like 1 wasn't believed

g. The last time that 1 talked to Kristen Terry was almost 2 weeks ago when she
said that you and her were going to call me back so that we could talk about
this. That's the last time 1 spoke to her on the phone.

h. When 1 sent her an e-mail a little over a week ago she told me that she was
going to let you address the email.

i. The only person that reached out to me was my field liaison out of concern
and Natalie sent me an email asking me about my field placement

j. 1 just felt as though everybody is missing the point

ORIGINAL COMPLAINT PAGE l 3 9

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 40 of 147 Page|D 40
1 k. It wasn't easy for me to just snap out of it and two days later go and interview
2 at another placement because 1 have had to explain to them why I was trying
3 to leave the other placement
: l. Another thing, being told that I'm going to have the interruption of internship
6 on my file because I filed the complaint and it was turned around that 1 was
7 doing inappropriate things whatever they were when before they even found
8 out that 1 complained the field instructor was contacted and nothing but
l: wonderful things were said about me.
11 m. 1 understand that I'm on a deadline you know 1 have to make sacrifices, 1've
12 had to make sacrifices you know 1 have a family, 1 have a full-time job, 1
13 understand that but when you when you're traumatized, or you know a
14 traumatic event and then you're pretty much discredited
1: 216. Smith stated to Knighton:
:7 a. So let me back you up here just a second, first of all 1 told Jones to complete the
18 form. 'Ihe reason that I told him to complete the form was because of what he said
19 to me.
20 b. the only reason that 1 had him complete the form is because that's what you have
:; to do when you say 1 no longer want a student here so he had to complete the
23 form in order for that to take place.
24 c. 1 did not call you for a level 2 or level 3 based on his concerns because like you
25 said 1 already had concerns on the other side.
26 d Who do 1 say there was a problem with? Do 1 say there’s a problem with the
:; student because now 1've been told different things about the student or do 1 say
ORIGINAL COMPLAINT PAGE l 40

 

 

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 41 of 147 Page|D 41

well there’s a problem With the agency because 1've been told these things about
the agency?

e. Well, in my mind there may be a problem with both but 1 don't know because 1
am not at the placement and so for me 1 said, there’s no reason for us to do a level
2 or level 3 with you we just need to get you moved

f`. Initially, 1 wanted to move all students because 1 had a concern about the agency
once 1 heard your complaint and 1 understand However, there is still due process

g. 1 can't come in because 1 as the Assistant Dean did not place you all there, you all
chose your placement there, you all found your placement and you interviewed

h. 1 know you didn’t get to but the other students did and they said yes, they Wanted
to go there.

i. Legally, 1 can't come in and say I'm moving all of you because I didn’t put you
there and if 1 do say that and if there is a student that says well no 1 want to stay
and finish it out, well now the school is liable because we’re saying no, you can’t
stay there and fmish it out.

j. Now more things have transpired in that time and 1 believe all but one of the
students has left So now we're at a point where we do have to move all of the
students because other things have transpired and so we have to move all of you
and the agency will no longer be used with our students but again there is still a
process to that.

k. We have an entire legal team just here that services UT Arlington, so we have to
follow what they say to a certain degree, but then we also have to use our

judgment to say OK what needs to take place.

ORIGINAL COMPLAINT PAGE l 41

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 42 of 147 Page|D 42

1. For you my concern was 1 needed to get you moved The interruption of field
form that he completed I'm not going to do anything with because so much has
happened 1 can't say well this needs to go in Jenifer's file because he completed
it. ’

m. No, because we're now trying to deactivate the agency altogether so is that fair to
you as a student for me to say well I'm going to put it in her file even though 1
know that there’s a problem with the agency.

n. 1 guess what 1 want you to hear is 1 want to be fair in all instances but 1 also have
to follow rules that are set and so in me doing that it may seem as if well they're
not doing anything or they're not concerned and it's not that at all we just have to
follow the process.

o. First of all, I'm new to this role 1've only been in this role since January so I'm still
learning and secondly, we have not had an instance where an agency was
charging

p. 1 recognize that's not the issue but at that time that was kind of the big thing for
me. Do we allow this? How does this work? We hadn't had that in some time and
so 1 had to know what are the rules when it comes to this.

q. As far as safety goes, 1 had two different stories going on at this point 1 had what
you had stated but then 1've got what dr. Jones is stating. So, it's like okay 1 wasn't
there 1 don't know.

r. Once the other students said okay well this is what happened; not that we didn’t
credit you but again I'm like we just need to get you moved because you were not

comfortable there, something happened so 1 know 1 need to get you moved

ORIGINAL COMPLAINT PAGE 1 42

 

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 43 of 147 Page|D 43

1 s. and the other students said okay well this happened now it's like okay what's

2 going on with all of the students. Then 1 talked to two of the others and 1 knew

3 that Kristen had already talked to you. Now 1've got three students who all are

4

5 saying the exact same thing. ()kay what do we need to do to make sure that this

6 situation is rectified in the student’s best interest because at the end of the day the

7 agency is null and void

8 t The agency has discredited itself. Now we just need to figure out how we can
1: make the motion to get them not on our registrar that students can go to period
ll u. Now 1've got four students who are Midway through and 1 don't want them to lose
12 their money so what's my next course of action?
13 v. and remember 1've got that along with other stuff happening Other students that
14 are having issues, midterm evaluations so we've got so much stuff we don't even
:5 know how to do your midterm eval. at this point because we can't go back to the

6
17 agency to ask them for that but it's something that's supposed to be completed
18 w. I'm telling you all of this because 1 want you to understand that there are so many
19 moving parts to what was happening We were just trying to work through and
20 navigate through all of this it wasn't that we weren't concerned it was literally that
2; we needed to figure out what the best course of action so that you all, like 1 said
:3 don't lose your hours and don't lose your funds. What do we need to do while still
24 making sure that you are all safe?
25 x. Again, we're not in Houston so how do we ensure that we can get you into an
26 agency that's going to still give you a good solid placement and give you the skills
27
28

ORIGINAL COMPLAINT PAGE l 43

 

 

 

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 44 of 147 Page|D 44

217.

ORIGINAL COMPLAINT PAGE | 44

. 1 get all that and 1 appreciate it. 1 mean we could go on and on.

. Then it made sense that yes if he was trying to cover his self, and you know again

. 1 need to move forward and 1 hope to move forward 1 just want to move forward

 

 

that you need when you walk away from there without us necessarily knowing
everything that happens in the agency does that make sense?

Jenifer stated:

The last time that 1 talked to Kristen Terry that was the last that 1 had heard, was
that I'm going to have a level 2 meeting and there’s going to be an interruption in
my internship. 1 told her, 1 don't want that because 1 didn’t do anything wrong.
Like 1 reached out to my field liaison early in the morning and told her, this

happened and then you know whatever she did to do something

if the other students would have been contacted before he was contacted then that
would have been known.

You know it is what it is. 1 hope that as a school with all due respect to you guys,
something can be learned from this. Regardless, yes, 1 chose to change my field
placement to Defendant Agency A, but it was an agency that was approved by the
school.

So as a student you know we would think that the school would do a little bit of
due diligence and a little bit of background checking on the agencies before they
approved an agency for their students to go to. 1 mean obviously, and from what 1

was told that's not the case. You know 1 guess next time for my own safety 1

know.

from all of this and everything that's going to happen. 1 have a lot of faith and

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 45 of 147 Page|D 45

218.

when 1 spoke up 1 had a lot of` faith. 1t's just trying to process everything that's

transpired and move forward

. 1 guess 1 don't know anything else to say but as much as it was the student’s

choice, well what part did the school play in it? lt was an approved agency by the
school. Nobody took any accountability Nobody you know said, I'm sorry that
this happened to the students, nothing at all.

This is the School of Social Work, you're teaching us something that's not being
implemented

Smith Stated:

Okay, so let me be the one to apologize. ln my general Assumption of
professionalism, 1 would assume that Kristen, that was probably one of the first
things that she did. 1 don't know if she did or didn’t because 1 wasn't on the phone
with you guys.

1 will apologize to you and 1 Will also let you know that there is a vetting process
to every agency. do we do a background check on those that are at the agencies?
No, we can't there are certain things that we are bound that we can't do we can't
do background checks on a student so naturally we can't do one in every agency
or with every agency but there still a vetting process with each agency before they
are approved

now again, the agency was approved before 1 came into the picture so 1 don't
know what that process looked like necessarily for that particular assistant Dean. 1

couldn’t give you the answer to that 1 can just tell you my process.

ORIGINAL COMPLAINT PAGE l 45

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 46 of 147 Page|D 46

219.

. If` 1 have any questions a lot of times 1'11 send it back and or I'll just call or one of

us will call and make sure that we understand what's going on there. so 1 guess 1
just want you to hear that there is a process. We don't just accept any agency that
comes through

1 do apologize that 1 did not call you back right away but again my assumption
was that things we're moving as they should be so do 1 did 1 need to talk to you
right then? I'm like well she‘s moving, they're moving her, they've got her an
interview.

That was my concern, 1 needed to get you moved because 1 understood that there

was something that happened Again, 1 didn’t want you to lose your money.

. 1 do apologize that I didn’t call and say okay let me make sure that 1 at least talk to

you to know exactly what happened

. I've gained more and more understanding and so again that's why we're here

where we are today. Okay we need to deactivate this agency.

Remember our office is composed of 4 people. We have 1200 of you all, 862
agencies you know. The Manpower is not always there but with new leadership
which is myself my hope is that it will get better.

1 dont know where in the process, and 1 ’m not blaming anyone, 1 take full
responsibility for not calling you back, 1 don’t blame anyone.

Jenifer Stated the following:

so everything that happened that night 1 mean there had been previous incidents,

but we were all so concerned about getting our hours.

ORIGINAL COl\/IPLAINT PAGE l 46

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 47 of 147 Page|D 47

1 b. He had a key and he was twirling the key on his finger and he just started

2 laughing. He went to tell us that we had no values and that he knew that we both

3 had money because we both worked and that we were going to pay and if we did

: not pay we were not going to get any credit for what we have already worked

6 c. Then he sat and told the other student that what Was she going to tell her when

7 they grew up that their mother chose a 4$ hamburger over her master’s degree?

8 220. smith asked;

9 a. Are you kidding? I’m sorry, 1 know you’re not
::) 221 . Knighton replied:
12 a. No, I’m not and he just went on and on and on. If you looked in this person’s
13 face, 1 don't know if you have had experience with child molesters or sex
14 offenders but it was that face and it was so scary that 1 think the other student and
1: 1 both we were just paralyzed Maybe 5 minutes before 9, he said ok let’s wrap it
:7 up, but it was just on and on and on.
18 b. This girl is telling him, Defendant A, 1 just took a $30,000 pay cut so 1 could go to
19 school. How can you sit there and tell me that 1 don’t have any values? And if you
20 would have told me anything about money, 1 would have known.
:; c. When we go to leave, he tried to hug the both of us. So it was like wait a minute,
23 for the past hour you just beat the crap out of us and then now you try to hug us.
24 Then he said dont let this stop you from coming back tomorrow. It was just, it was
25 so, it was really crazy, it was just horrible.
26 d. The feelings, it was sick, it was like you just got molested or beat up and then you
:; know come here, 1 love you, 1 still love you.

ORIGINAL COMPLAINT PAGE l 47

 

 

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 48 of 147 Page|D 48

222.

lt was just feeling powerless and then you know it just, it was really crazy

He was arrested in 2010 for failure to report child abuse when he was principal of
the school and you know the the schools that he said that he was supposedly
superintendent of`, they didn’t even exist

1 knew, I knew that when 1 told Ms. Terry what 1 was telling her, 1 knew she
didn’t believe me. 1 say that because 1 had this feeling that it was being
minimized

1 mean this is for real and then you know he went into my email. He went into my
personal email account and he changed the password and then he changed the
recovery email to his. Then he deleted the account after he downloaded my stuff`.
1 know that because 1 was able to recover the account

1t was Ms. Hall that told me it doesn't matter if they believe you, you know how
you feel and nobody can take that from you.

Okay well this man has been lying about all of these things. He knows where I
live, he has my background check, you know all my information He knows
everything about me and 1 have absolutely no idea who this man is because
everything that he said has pretty much been a lie

So 1 mean would you not be scared? Would you not be concerned?

. Then again reaching out to the school and now being told that you're going to

have a level 2 conference and an interruption in your internship and it was like
wait a minute 1 was, we were the victims.

Dr. Smith stated:

ORIGINAL COMPLAINT PAGE 1 48

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 49 of 147 Page|D 49

1 a. 1 havent heard everything, 1 just heard bits and pieces. Like 1 said 1 had just been

2 told kind of bits and pieces, enough for me to know ok 1 need to do something

: 223. Knighton Stated:

5 a. 1 did file a police report so it is documented 1 dont know what they documented 1

6 told them everything as well.

7 b. 1 was like I’m a single mom with three kids and he knows that This is getting

8 creepy. What creeped me out more was the whole email thing.
l: c. 1t was like wait a minute and you know he has political power. It was scary, it
ll was. 1 think 1 legitimately had reason to be concerned
12 224. Smith stated the following:
13 a. Right, yes. .. 1 agree, 1 agree, This is just quite a bit. So, here's the thing,
14 Dr. J ones was just a primary contact for us. He wasn't listed as a field
:5 instructor. so we have a little bit more information if you will on our field
1: instructors.. But for him we don't necessarily have any information on him
18 because he's just a primary contact which means all he does is just request
19 the students
20 225. Knighton stated:
:; a. Then we were told that we were not allowed to contact the school, that we needed
23 to leave it up to the agency because it was institute to institute. .. and its like, wait
24 a minute this is our education
25 b. One of the other students had reached out to the field liaison and he just chewed
26 her out. And he told us you do not contact the school you go through us and we
27 will contact the school.
28

ORIGINAL COMPLAINT PAGE 1 49

 

 

 

 

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 50 of 147 Page|D 50

226.

227.

228.

ORIGINAL COMPLAINT PAGE 1 50

. 1t was a power thing. Another student was having issues already but again going

. it was clearly made to us that if you dont do your hours that you arent graduating..

. Oh well then we dont know if were going to keep you here. So he kept telling her

,Saturday before 1 mean he yelled at her in front of me and just really belittled her.

 

 

Smith’s response to Knighton was:

Yeah thats not how thats supposed to go at all. Our first communication should be
with you, the student especially with your field liaison. Really, the agency has no
reason to contact the liaison unless there is an issue.

Otherwise, all communication should come from the student

Knighton stated the following to Smith;

back to everybody is so scared that were going to lose our

Jajajaja 1 have the power. lt was so.. 1t was really crazy.
The other student that was having issues, it was to the point where they were

telling her.

well dont come in today. .. It was a power thing.. And this poor lady was so
scared that she was not going to be able to complete.. Ya know she wasnt going to
be able to put her hours in. They finally let her go back.

1 called her and told her, God like he went crazy on us. 1 said 1 will never ever
I'm not going back there and she said oh well your hours; my mental health is a
lot more important and what he did was not okay.

Even the other student 1 think it's probably Jane Doe 3 that had stayed there, that

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 51 of 147 Page|D 51

g. It was just all so crazy and you know 1 was told by the other student well you do
know if you speak up what thats going to do for other students? 1 was like you
know what?... Like we cant go back there.. 1 told professor, im like ill quit school.

h. There was no Staff` there; you know it was nothing it was like how can nobody
say anything; everybody was so scared,

229. Smith responded to Knighton with the following:

a. Im just going to say the whole intimidation factor, that really concerns me
because again these are things that we talked about with our agencies kind of
upfront and so just the whole way.

b. Again, 1 wasn't here, 1 don't know everything as far as him being vetted. 1 don't
know all of that process because 1 wasn't in the role at that time.

c. What concerns me is just some of the things that he said that are just vastly
inappropriate First of all saying that the students shouldn't contact the school,
that's not correct, secondly, making it seem as or manipulating you all to believe
that if you don't do your hours there then you won't get your hours done that's not
correct

d. 1 have several concerns what you said in the things that he said that are just not
right at all as according to our agreement that we even have with the agency
because we actually have a written agreement that every agency has to sign and
our legal department signs; yeah that's a little concerning to me

23 0. Knighton responded to Smith with the following:
231. That was the concerning part, again it was like well who's going to be held

accountable?

ORIGINAL COMPLAINT PAGE 1 51

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 52 of 147 Page|D 52

232.

233.

234.

a. No, it was horrible, it was honible, 1 promise to God that it was so horrible I

know that when 1 went last week 1 did the interview at _, 1

knew 1 shouldn't even have been at that interview because of the mental state that
1 was in.

1 came to work the next day and 1 told my supervisor and she was like you need
to speak up and 1 said no 1 was like 1 need to go home

1 was like I have a lot of self-awareness you know, 1 really looked at things and 1
was like wait a minute 1 wasn’t alone, and 1 wasn't the only one feeling that way.
It was just all of the things that this man did you know just put the fear in us and
made us feel like again like you just got molested but come here I love you 1 love

you it was so crazy and it was so sick and it was it was just really sick.

. 1 went and interviewed at _ and 1 was like 1 shouldn't even be

here the guy at _ asked me you know “tell me about yourself,”

1 couldn’t even think straight

Smith responded to Knighton with the following:

Yes, 1 completely understand Again, what I want you to know is that that's never
the process that you went through at Wellspring, that shouldn't have been at all.

just the whole you're not supposed to contact or communicate with the school just

all of that

Jenifer stated:

a. Jones called me and said well you know we do Monday through Friday from 4 to

8 and then Saturday from 9 to 2 and 1 was like man.

ORIGINAL COMPLAINT PAGE 1 52

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 53 of 147 Page|D 53

b. he said come in for orientation, I don't want you to miss it so I was like you know

235.

236.

we'll all come in you know 1 don't mind giving up 2 hours even if 1 decide not to

intern there.

. but When you go in there it was so professional you had two doctors, you had an

LPC supervisor, an LCSW and reBeshments; this big old conference room and it
was like wow this is really neat and just so organized; he gave us folders and
packets, information, everything

I was like maybe this was God which I'm sure it was God but in some other way
because you know.
Dr. Smith stated:
He was like ahh wait a minute, wait a minute

Jenifer responded to Smith;

It wasn't the plan that 1 thought but hey you know advocating.
I went a few times and then the first time 1 went 1 was like something's off with
this guy because he just talked and talked and talked and talked and it was all
about himself and he kept saying June something 19 or 2014.

you have all this about you there’s no way that there’s no paper trail.

1 was like things are not adding up and 1 think that he kind of caught on. 1 think 1
was intimidating for him which is why he kind of started to treat me at a not very

good manner.

. but there Were several things even in my journal like in two of my journals. You

know I put and I put please do not say anything to this guy because it was scary

ORIGlNAL COMPLAINT PAGE 1 53

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

 

Case 4:18-cV-OO792-Y' Document 1 Filed 09/24/18 Page 54 of 147 Page|D 54

237.

238.

he would just go on and on and on and your hours and I'm doing you guys a favor
and it was just so many things it's just it was crazy and then you know.

Smith stated the following:

. No no I'm glad that we are talking because again a lot of a lot of the things that

you're well first of all most students they're not going to do some of the
background check if you Will does that make sense they're not going to go and
look and see so I'm glad that you did kind of follow your gut and say let‘s check

this guy out and see What's going on because like you said things just didn’t add

up.

. As you're talking to me I'm just like where did he come from I'm thinking like

where did he come from how did he wind up on this side and 1 know you can't
answer that question for me but that's what's going through my head.

Jenifer stated:

. He had an agreement with the University of Houston and if he did to the students

there what he did to us then they would make sense why he no longer has that

agreement

. the other student that was with me that night, he kept calling her even after she

didn’t show up, And whats freaky about it is that two Tuesdays in a row that me
and her were supposed to be there together, he sent me a message and said don't
come in.

He called her and texted her after she didn’t show up and 1 told her I'm like dont

message him back, you need to ca11 the school. Her field liaison told her you need

ORIGINAL COMPLAINT PAGE l 54

 

 

 

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 55 of 147 Page|D 55

to contact Ms. Terry or you need to contact somebody from the school and you
have to go back there.
239. Dr. Smith stated:

a. Yeah, no she didnt need to go back. 1 dont know. 1 think that we didnt talk to
her until after, Anyways, 1 think we got that situated but yeah that was not the
right message that she was supposed to get but we did get that.

240. Jenifer stated:

a. lt was, 1 mean it was so freaky. 1 think the second night and maybe my nerves
Were just getting to me because again like 1 dont know who this person is but
you know my daughter was downstairs, It was late and my four-year-old was
doing something and 1 was like oh my God somebody's in the house.

b. 1t was really scary, 1 can't express that enough.

c. 1 knew another 6 months staying, you know staying 6 months there that just
wasn't going to happen you know 1 knew for my own mental health like 1've
done a lot of work on myself and I'm at a good place and 1 knew after that
night 1 can't go back there.

d. God does things for whatever reason that he does things and if it meant me
having to go through this to be the one to speak up and really push like this
isn't okay then so be it 1 guess you know that that was my purpose there or
something, 1 don't know.

C. Events after Knighton’s March 12th phone call with Smith.
241. Plaintiff incorporates all paragraphs of this Complaint is if fully set forth herein,

242. On April 4, 2018 Kristen Terry sent out a group email to Plaintiff, Jane Doe 1,2,

ORIGINAL COMPLAINT PAGE l 55

 

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 56 of 147 Page|D 56

and 3, Smith, and Natalie Eve stating the following:

243.

ORIGINAL COMPLAINT PAGE l 56

a.

Jane Doe 2 responded to Kristen Terry’s April 4 email stating the following:

a.

 

1 hope this email finds you well. This is an email to check-in with you all and
make a couple of things clear.

-May llth is the absolute last day to accrue hours for field. We cannot make
any exceptions- you MUST accrue 240 hours by this date. If you do not, it
will result in an automatic failure of the course (5681). This is the policy for
all students
-If you do not think this is possible, we would advise you to talk with your
academic advisor about dropping the course. The drop date has passed but you
may be able to get approval from your academic advisor.

-Please send us which agency you have secured by THIS FRIDAY. We need
the name of the agency along with your proposed schedule to make up your
hours. Please include your field liaisons in this email as well.

Jenifer and Jane Doe 3- We have sent you multiple agencies that said they
could work With you and this was Weeks ago.

.1 ane Doe 2- 1f you have a verbal agreement with the new agency that they will
sign our affiliation agreement, then you may go ahead and start your hours.

We want to make clear the urgency of this matter. If you have any questions

about this, please feel free to contact Dr. Dawnetta Smith.

1 arn appalled to receive a message in a group email indicating that the
university’s failure to adequately screen an internship site will result in my

failing or repeating a class.

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 57 of 147 Page|D 57

. 1 personally invested 20-25 hours per week at Wellspring until it was reported

. The fact the social work school is informing me of my private academic

Knighton also responded to Kristen Terry April 4 email stating the following:

a. 1 find your email to be extremely disturbing, intimidating, and insensitive

ORIGINAL COMPLAINT PAGE l 57

 

 

 

 

the agency’s leadership was committing ethical and legal violations that could
potentially cost me a license l’ve yet to earn.

Prior to selecting Wellspring, 1 reached out to every agency on the houston
list. Many Were more than 50 miles away or did not accept first year students.

While the others contact information Was incorrect and no one responded.

information in a group email is reprehensible 1, like my student colleagues,
are pursuing this career because we have a passion to serve those who need it
the most yet we are being marginalized because of questionable practices
The documents have been submitted to _ and their legal
department is currently reviewing them. 1 reached out to numerous agencies
that serve Houston, who oddly were pursued by the university.
Ultimately, 1 discovered _ would be beneficial to not only me
but any Houston based intern in the future. 1 have invested time and money
and do not believe this harsh stand should have been taken. If this is the
position the department is taking to either fail or have “us” please let me know
no lister than close of business tomorrow so 1 know how 1 will need to

proceed.

towards myself and the other students that are included in this email

considering the events that have taken place.

 

 

 

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 58 of 147 Page|D 58

b. My information or what is going on should not be included in another students
email.

c. The apparent lack of compassion that you and others from the field office
have shown is more concerning since it is a “school of social work.” As 1
stated in previous emails and phone calls, not only was 1 a victim of abuse
from Jones at Wellspring but so were other students

d. There was also unethical and unprofessional acts going on at this agency.

e. What 1 am reading from your email is that We will all be penalized for
advocating as we were taught to do.

f. Please do tell me how this is fair or even ethical to myself or any of the other
students that experienced the mistreatment, abuse, and attempted extortion of
David Jones, an agency that was approved by UTA?

g. I invested 95 hours of my time, 1 sacrificed my family time, gas, and my
mental health plus the expenses 1 have for school and you are telling me that
we will be punished for doing the right thing?

h. ln response to your other emails and this email about the information on the
other agencies: 1 reached out to the contact from _ to schedule the 9
am Friday interview that you said would be available and 1 didn’t hear back
from her until that Friday morning after 10am.

i. She informed me that they are only open Monday thru Friday 8-5. I have a
full-time job that is flexible but there Would be no possibilities of flexibility

there.

ORIGINAL COMPLAINT PAGE | 5 8

 

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 59 of 147 Page|D 59

245 .

j.

The other agency in Galveston is almost 2 hours away from where 1 live. 1

contacted _ from - 3 times and have yet to hear back from
her, 1 also contacted _ from _ and she told me that she

wasn’t sure if she could even accommodate the amount of hours that 1 had left
to complete.

1 reached out to - which was not able to accommodate me and
to two social workers at _ that have not called me back.
Despite everything that all of this has done to me emotionally, 1 have been
proactive in trying to find a new placement

If there is nothing else that will be done other than “failing” or “dropping” for
something that none of us were at fault for please make me aware by Friday
April 6th so that 1 can decide on the actions that 1 need to take towards my

educational needs

Jane Doe 3 Responded to Terry’s April 4 email stating the following:

a. 1 have called repetitive number of times and no one has answered me. 1 would

love to speak with someone since the deadline is tomorrow.

b. 1 really feel this is very unprofessional and last minute, 1 also believe we all

were very urgent with finding another placement but the process before
getting settled takes time.

However, 1 did leave a voicemail with my advisor and could not schedule an
appointment via online because the next available date won’t be until the end
of next Week. Could you please give me some other numbers 1 could call

about this matter ??

ORIGINAL COMPLAINT PAGE l 59

 

 

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 60 of 147 Page|D 60

246. On April 5, 2018 Smith responded to Knightons April 4th email to Terry stating
the following:

a. Let me start by stating, that in no way is the Field Office trying to be
insensitive to what happened with you at Wellspring. As 1 stated to you over
the phone, we want to support students in the best way that we can.

b. That being said, to my knowledge the information that you provided we are
just receiving today. Why have you not reached out to the Field Office to ask
for further assistance after over 2 weeks of receiving the information for the
other agencies that Were sent to you?

c. Ms. Terry’s email was to inform you that May llth is the absolute last day to
complete your field hours If the hours are not completed, the only option is to
receive an “F” for the course as UT Arlington policy does not allow for
“Incompletes” in Field courses

d. You may also, Withdraw from the course now and roll the 95 hours that you
accrued over to your next placement. If you decide to Withdraw you will need

to contact your Academic Advisor for assistance in completing this process

S'°

Again, I state to you that the Field Office is here to support you. At this time,
how can we assist you to ensure you are successful?

247. On or around April 5, 2018 Haydee Hall asked Knighton if they could speak
because she wanted to see how Knighton felt about everything that was going on. During the ca11
Hall asked Knighton what she felt in her heart that she needed to do.

248. Knighton told Hall that she was going to continue advocating for herself but she

ORIGINAL COMPLAINT PAGE l 60

 

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 61 of 147 Page|D 61

wasn’t strong enough. Knighton also told Hall that she was not going to drop the course because
that was not fair to her as she did nothing wrong. Knighton told Hall that she was going to
continue looking for a new placement

249. On or around April 7, 2018 Knighton asked Hall why she was not allowed to
complete as many hours as possible in the Spring 2018 semester and rollover the remainder of
hours so that she did not lose the 6 credits Hall told Knighton that she was not sure, but it was
something to bring up and request for Smith to let her do.

250. On April 6, 2018 following Smith’s email, Knighton received an email from
Academic Advisor Natalie Eve stating the following:

a. 1 hope this email finds you well and 1 am sorry for what you have experienced
with Wellspring. You are correct that UTA has a process for agencies to
apply and affiliate with our University.

b. Included in our agreement With the agency is that they will uphold social work
ethics and practice. Unfortunately, Wellspring did not do so and UTA had to
cease our relationship with them immediately.

c. When this happens, we strive to work with our students to find a new agency
where you may complete your placement This is why we reached out to 20
additional agencies and 7 informed us they would work to support your b
continued placement

d. 1 am sorry that these agencies will not work for you as you explained in your
email below. You are more than welcome to find an agency that can affiliate

with UTA. We encourage students from the beginning to have availability

ORIGINAL COMPLAINT PAGE l 61

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 62 of 147 Page|D 62

during normal business hours as very few agencies can support after hours and
weekends

e. At this point 1 would encourage you to consider the hours you have remaining
and divide them by 5. We have 5 weeks remaining in this semester and you
must complete those hours each Week in order to reach your 240 hours If you
feel you can meet this requirement continue to reach out to the agencies
where you were unable to arrange an interview. Please be proactive in this as
your internship is part of your degree plan. You must complete the full 240
hours of your placement by May llth.

f`. Otherwise, we have no other option except to speak with Academic Advising
about you completing your internship at a later date. Please keep us posted on
this and let us know if there are any agencies you would like us to follow up
with to assist you in this process Have a Wonderfiil weekend.

251. On April 8, 2018 Knighton sent an email to Smith stating the following:

a. 1 hope this email finds you well. 1 Would like to provide you with further
information regarding your recent response to my previous email. 1 reached
out to Ms. Terry in March when she began sending the emails of agency
contacts 1 also responded to Natalie and updated her on one of my interviews

b. Since we are reaching out to agencies, it can take time for them to get back to
us 1 have been proactive in searching for a new placement

c. 1 would also like to ask the same question, why hasn't anybody from the field

office reached out to the students to check on our well-being? In our phone

ORIGINAL COMPLAINT PAGE [ 62

 

 

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 63 of 147 Page|D 63

conversation you told me that you were going to take care of contacting the
organization that 1 work for but 1 have yet to hear of an update.

d. For over 5 weeks now 1 have experienced severe depression and an eating
disorder relapse triggered by all of the events that have occurred with the field
placement and the response from the school,

e. Although 1 am aware of school policy on field courses for "all students", as
social work students that went through a traumatic experience with a UTA
approved agency, 1 expected that there would have been other options that
were in our favor.

f. From what 1 am seeing there are no other options that are being offered other
than receiving an F or withdrawing and losing the time and money that has
been invested 1 would like to know why completing the class and rolling over
the hours is not an option for extenuating circumstances if you are telling me
that 1 am able to withdraw from the class and roll over the hours

252. On April 6, 2018 plaintiff enrolled in eating disorder treatment in an outpatient
setting as it was the treatment team’s recommended level of care for her,

253. On or around April 6, 2018 Knighton sent an email to Natalie Eve that stated the
following:

a. 1 hope this email finds you well. As 1 stated in my previous email only one of
the agencies informed me that they only work traditional hours while the other
agencies stated that a lot of hours Were needed and they werent sure they

would be able to accommodate the number of hours

ORIGINAL COMPLAINT PAGE l 63

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 64 of 147 Page|D 64
1 b. Several agencies did not ca11 back as Jane Doe 3 also mentioned having the
2 same troubles 1 decided to enroll in a split internship because of my schedule
: and the amount of hours that are needed now are almost equivalent to the
5 amount weekly done for block.
6 c. 1 will repeat that this is an injustice to myself and the other students that were
7 pulled from Wellspring.
8 d. . In regards to me finding my own placement to become an affiliate, isn't that
l: what my tuition is paying for at the university?
11 e. It is not my lack of availability but what you all are expecting is unrealistic
12 " and unfair and you are not taking into consideration the well-being of the
13 students
14 254. On April 9, 2018 Knighton sent a group email to Kristen Teriy, Haydee Hall,
:5 Natalie Eve, and Defendant Smith stating the following:
1: a. 1 hope this email finds you well. 1 interviewed today with _
13 at _. 1 still have not heard back from any of the other agencies that
19 were "willing to interview us" Although Ms. _ is interested in
20 helping me and another student, the expectations f`or the amount of weekly
21 hours is unrealistic.
22
23 b. 1 did not sign up for block field due to the high demand of weekly hours and
24 in order to complete the remainder of time by May llth, 1 will have to
25 complete more than 30 hours a week.
26
27
28
ORIGINAL COMPLAINT PAGE l 64

 

 

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 65 of 147 Page|D 65

C.

255. On April 10, 2018 Defendant Smith responded to Plaintiff with the following:

3.

ORIGINAL COMPLAINT PAGE l 65

The interruption in my field placement was not my fault - explained
that they have a process that begins with human resources and there is no
negotiation She stated that it will take at least a week to get me started.

1 will ask again why 1 am not able to complete as many hours as possible and
continue my coursework and rollover the remainder of the hours 1 have been
proactive in searching for a new placement but the expectations that have been
put on me and other students are not appropriate

1 would like to speak to someone in regards to this matter. It is of high
urgency that this matter is resolved as 1 will need to contact Ms. _ no

later than tomorrow.

Please provide some possible dates and times that you are able to speak with
Dr. Mitschke, the Director of the MSW program, and myself.
1 spoke with Professor Hall and 1 am sorry to hear about everything going on
with you. 1 have also heard your concerns and the Field Oflice has followed
through with each item promised to you. You were not pulled from
Wellspring, the agency disrupted your placement

Typically when this happens, a student goes before the Professional Standards
Committee to determine if they can continue in the program or not. Due to the
situation, this action was not taken and instead the Field Office worked
immediately to locate you another placement

As the School of Social Work’s Field Office, our job is to ensure that each

student is supported during their field placement and that students complete a

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 66 of 147 Page|D 66

field placement with the number of hours required and within the timeframe
specified

e. With that being said, you need to make a decision about your education and
how you would like to proceed Could you tell me What your expectation of
the Field Office is at this point?

f. 1t is not an option for you to receive an “lncomplete” in the Field course this
Spring in order to complete the hours during a later semester; you have to
have all 240 hours completed by May llth. Again, 1 ask please provide some
good days and times for us to speak with Dr. Mitschke.

256. On April 11, 2018 Knighton responded to Smith stating the following:

a. 1 am free Monday thru Friday after 3PM or during lunch hours from 12-
12:45PM.

b. 1 would also like to request a copy of the form that was filled out for a
disruption in my internship and a copy of my student records Please tell me
the steps 1 need to take to obtain these documents Thank you!

257. On or around April 12, 2018, Knighton informed the Defendant Smith, Kristen
Terry, Natalie Eve, and Haydee Hall that she was going to be interviewing at an agency.

258. Knighton was offered an evening position as a Social Work practicum student
Knighton was told by the interviewer that the expectations of the UTA School of Social Work
were unrealistic. She told Knighton that it would take at least a week to get the paperwork going
in human resources She asked why Knighton was not able to receive an extension on her hours;
and told Knighton that most Universities allow that for their students

259. As of the early morning of April 16, 2018, Plaintiff had not received a response

ORIGINAL COMPLAINT ' PAGE l 66

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 67 of 147 Page|D 67

from her April llth email to Smith.

260. On or before April 16, 2018, Knighton sent Hall an email telling her that she was
going to withdraw from the course. lt was impossible for Knighton to complete the 145 hours
that she had left in four weeks and the University refused to assist Knighton or make an
exception due to the circumstances

261. On April 16, 2018 almost a week after Plaintiff emailed Smith; Defendant Smith
responded to Knighton stating the following:

a. 1 received the email that you are planning to withdraw from Field this
semester. Would you still like to speak with Dr. Mitschke and 1? lf so, we are
available today at l2:30pm for a call.

b. When you speak with your academic advisor, you should ask Ms. Davis how
you can obtain a copy of your student record as the Field Office does not have
this information

c. 1 have attached a copy of the disruption fonn. Please let me know if you have
any further questions or concerns

262. Knighton looked at the interruption form that Smith told J ones to complete; and
at the learning contract that was previously signed by Kimberly in front of Knighton in the
beginning of the semester and the signatures were completely different

263. Smith sent the April 16th email to Knightons school account giving Knighton an
insufficient amount of j ust 2 hours to plan for time to speak with her and Diane Mitchke.
Knighton did not respond to Smith.

264. On or around April 16, 2018 Plaintiff filed a formal complaint with the

ORIGINAL COMPLAINT PAGE l 67

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 68 of 147 Page|D 68

University’s Equal Opportunity Services for sexual misconduct sexual harassment
discrimination, and for negligence on behalf of the UTA School of Social Work. Plaintiff sent
the complaint to the Title IX Coordinator Michelle Willbanks and Defendant Freeman.
265 . On April 24, 2018, Knighton emailed Mitschke stating the following:
a. 1 would like to consult with you as to what 1 should do in regards to
withdrawing from field 1 have an appointment with Patrice Green but it isnt
until Friday of this week. 1 have reached out to her and have yet to recieve a
response
b. 1 would also like to schedule an individual phone conference with you. Dr.
Smith informed me last week that you two would be available but it was 2
hours notice which 1 dont feel is sufficient since it Was sent via email and 1
dont check my email while 1 am at work. Thank you.
266. On the afternoon of April 24, 2018 Mitschke responded to Knighton’s April 24th
email stating the following:
a. 1 spoke with Dr. Smith about your situation and it sounds like you will be able
to withdraw from field when you meet with Ms. Green at your appointinth on
Friday. 1 am Willing to approve a late withdrawal given the circumstances
b. I’m sorry it has been a difficult semester for you. Let me know if there is
anything else you need
267. On April 27, 2018, again left with no other options, Knighton spoke with Advisor
Patrice Green and withdrew from the Field Course. The UTA School of Social Work provided
no assistance for Jenifer while withdrawing

268. Knighton, on many occasions requested assistance from UTA that she was

ORIGINAL COMPLAINT PAGE l 68

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

27

28

 

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 69 of 147 Page|D 69

denied

269. The School of Social Work never informed the advisor of the circumstances
either. Knighton was left to figure out and fix things on her own.

27 0. Ms. Green informed Knighton that withdrawing from field education was going
cause her to drop from her cohort; and postpone her graduation for at least a year unless she
completed the remainder of the 480 hours of field education during the 2018 Summer Semester.

271. Ms. Green also informed Knighton that she would be responsible for paying the
tuition again; which amounted to almost $2,500. Knighton was not offered a refund or credit to
her financial account at UTA. She Would also have two withdraws (W) on her academic
transcripts

272. Knighton broke down in tears while on the phone with Green. Green said that she
was going to talk to Smith about what was going on and ca11 her back but Green never called
Knighton back.

273. After being forced to withdraw from field education, Jenifer’s mental health
began to decline even more. Jenifer blamed herself and even told Hall that she should have never
spoke up. Jenifer felt embarrassed shamed and did not want to be around anyone. She
became distant with her family, friends and kids;

274. She was avoiding her coworkers at work; missing lunch; hiding in her office, to
the point that it was brought to her attention by her coworkers

275. Jenifer was having frequent flashbacks, intrusive thoughts panic attacks, crying
spells, isolating herself from others, shock, and disbelief. Jenifer had ever increasing fears,
anxiety, sleeplessness, feelings of worthlessness and hopelessness, loss of motivation, and

decline of cognitive and overall functioning

ORIGINAL COMPLAINT PAGE l 69

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 70 of 147 Page|D 70

27 6. On or around April 23, 2018 Jenifer had to take emergency Non-Paid FMLA and
was admitted into a partial hospitalization program (PHP) for approximately 38 days

277. Knighton had to stay in (PHP) for 11 hours a day, 7 days a week. Knighton had
never received nor been recommended to this level of care.

278. Jenifer received treatment for bulimia, depression, anxiety, and post-traumatic
stress disorder (PTSD). Jenifer believed that her injuries were permanent and that she could
never recover, even with treatment Jenifer felt like her world was falling apart Everything that
she had worked so hard for was ripped away from her because she courageously spoke up,

279. In April of 201 8 Jenifer completed a psychosocial assessment for psychiatric
treatment purposes and indicated that she was having “Suicidal Thoughts” and problems with
“PTSD, depression, [and] anxiety stemming from what happened at Wellspring with David J ones
and the University.”

280. Knighton reported that there had been major losses, changes and recent traumatic
events in her life inflicted by Jones and the University.

On April 29, 2018 .1 enifer courageously sent an email to UTA President Karbhari, stating the
following:

a. 1 hope this email finds you well. First and foremost 1 would like to thank you
for taking the time to read this email. My name is Jenifer Knighton and 1 am
currently enrolled in the MSW online cohort program at UTA. 1 am searching
for justice and for an explanation that 1 have yet to receive. 1 would like to
start by sharing my story with you.

b. It seemed as though my whole life all odds were against me. After enduring a

substantial history of physical/sexual abuse, substance use, and battling a 13

ORIGINAL COMPLAINT PAGE l 70

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 71 of 147 Page|D 71

year battle of Bulimia, 1 found my way to treatment in 2014. Medically, 1
should not have been alive but my HOPE for life would not let me die.

c. Throughout myjourney 1 have learned so much about myself 1 rediscovered
my dreams that 1 had once dreamed as a child of some day being a counselor.
1 realized that 1 had a true passion for helping others 1 also had life's
experiences to show that recovery was possible and so was living a healthy
life. 1 learned that despite the triumphs and tribulations that we face in life, it
does not determine our destiny.

d 1n 2015, 1 was interviewed and featured on the website of Eating Recovery
Center. 1 enrolled in school at The Institute of Chemical Dependency Studies
in Houston, Texas where 1 studied to become a Licensed Chemical
Dependency Counselor. In 2015, 1 enrolled in college at Springfield College
Houston. The Assistant Dean Dr. Eric Castillo was strong on teaching the
students about social justice and advocating for change. 1 was pushed to
further my education and accomplish my goals During my time at Springfield
1 worked at a substance abuse treatment center to support my 3 beautiful
daughters

e. In 2017, 1 received my bachelor's degree and graduated in Magna Cum Laude
with a GPA of 3.7. 1 knew that 1 was going to apply to grad school and in July
2017 1 applied to The University of Texas at Arlington School of Social
Work. They had an online cohort that Would be perfect for me and since 1 had
a high GPA it was easy for me to get in. 1 felt so much pride when 1 was

accepted like seriously me of all people going to grad school?

ORIGINAL COMPLAINT PAGE l 71

 

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 72 of 147 Page|D 72

f. 1 began in the fall of 2017, the same week that Harvey hit Houston. 1 kept

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

looking forward and completed my first semester while preparing to complete
my first internship of 240 hours in the spring 1 began field this semester and it
started off well. 1 had found a placement at a home health care agency that

provided hospice services

. At the end of January 1 received a call from David Jones at Wellspring Family

and Community Institute in Houston. Wellspring was an agency that was on
UTA's approved affiliate list for field placements so 1 made the decision to
switch placements 1 thought it would be a better fit in order for me to get
more clinical skills while having the flexibility of working evenings and
weekends 1 thought, wow this must be God working

Not long after switching placements did 1 realize that it was a mistake. The
social worker that was supposed to supervise the students was contracted only
to sign off on the students hours While We were being supervised by David
Jones, an unlicensed individual that Was providing counseling services to
children and families Mr. J ones is the owner and practice manager of the
organization and also contact person for UTA.

Mr. J ones was unprofessional, unethical, verbally abusive, intimidating and
extremely inappropriate by hugging student interns The students were told
that since he was the owner nobody could fire him and if we didn’t like it we
could leave and not come back. We were also told that we needed to leave all

concerns that we had with the school up to him.

ORIGINAL COMPLAINT PAGE l 72

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 73 of 147 Page|D 73

j. There was a deadbolt lock that was locked on a few different occasions while
interns were in the office with him in the evenings On February 26, 2018 1
was verbally abused by David Jones, told that if 1 did not pay money 1 was not
going to get credit for the previous 5 weeks l had put in. He told me and
another student that he knew we had money because we both had jobs He
twirled a key on his finger, laughed in a scary manner, and kept us an hour
over scheduled . Before we left he attempted to inappropriater hug us and
said "don't let this stop you from coming back." 1 felt violated 1 felt like 1 had
just been raped or molested

k. The next day 1 followed procedure and reported it to my field liaison who
reported it to UTA School of Social Work ofiice. Dawnetta Smith (assistant
dean) put my safety and the safety of other students at risk by contacting Mr.
J ones and disclosing to him that 1 reported him,

1. She failed to contact any of the students including myself until after she
contacted him, That afternoon 1 Was contacted by Kristen Terry from the field
office telling me that 1 was going to be contacted by Ms. Smith the following
day to discuss my behaviors Things were then turned around and the blame
was put on me, that 1 was being disruptive at the agency.

m. Ms. Smith told Mr. J ones to file the form for an interruption of my internship.
The incident was never reported to the EOS or title 9 coordinator and they
failed to follow policy and procedure. 1 filed a grievance in March but again

expressing my concern resulted in an ineffective outcome.

ORIGINAL COMPLAINT PAGE l 73

 

 

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 74 of 147 Page|D 74

n. 1 cried every day for five weeks which led me into a deep depression and
bulimia relapse. 1 was forced to withdraw from my field without any
accommodations/exceptions due to the extenuating circumstances and
traumatic experience that 1 endured at an affiliated agency of UTA.

o. 1 was given no credit towards tuition on the 6 credit course that 1 was forced
to withdraw from. Due to the emotional distress that this has caused me 1 had
to be admitted into a partial hospitalization program which will now hinder
me nom continuing the field placement in the summer.

p. When 1 spoke with my advisor Patricia Green who was unaware of anything
that transpired 1 was informed that my graduation will be prolonged an extra
year.

q. Also, despite being told by Ms. Smith that this Was not going to go against me
because other students confirmed that what 1 was saying Was true, when 1
requested some sort of modification due to the extenuating circumstances it
was denied and 1 Was told that 1 was not pulled from Wellspring, the agency
disrupted my internship.

r. 1 requested a copy of the form and after reviewing it 1 saw that it was signed
the same day that I reported the agency. The response or lack of that 1 have
received from the school goes against every value that we have been taught by
the school.

s. The way that 1 have been treated by the faculty from the school of social Work
is unjust and a violation of the NASW Code Of Ethics. As mandated reporters

they also failed to report the sexual misconduct that occurred at the field

ORIGINAL COMPLAINT PAGE l 74

 

 

10
g 11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 75 of 147 Page|D 75

placement lnstead they retaliated against me and had David J ones file an
interruption of internship.

t. l ask that this matter be addressed as I have followed procedure of filing
complaints and grievances and have yet to receive a fair solution. Thank you
again, 1 look forward to your prompt response.

u. Regards, Jenifer Knighton 832-910-2931

281. On Sunday April 29, 2018 Vistasp Karbhari responded to Jenifer’s April 29th
email stating the following:

a. Thank you for reaching out to let me know about the difficulties you have
been facing. My apologies that you have not received adequate responses At
UTA it is our desire that each and every student be able to succeed and that
we provide a welcoming, safe and nurturing environment to make that
possible. 1

b. Since 1 am not aware of the details you mentioned and of steps that may have
been taken to investigate the complaints I arn ec'ing the Dean of the College,
Dr. Scott Ryan, the VP for HR, Ms. Jean Hood, and the VP for Student
Aff`airs, Ms. Lisa Nagy, and arn requesting that they expeditiously review this
and get back to you and me.

282. On April 29, 2018 Lisa Nagy, Vice President for Student Affairs sent Jenifer an
email stating the following:

a. 1 apologize that you have had such a traumatic experience In your field
placement and subsequently faced challenges is getting assistance from UTA,

I’m sure it is difficult to retell your story over and over.

ORIGINAL COMPLAINT ` PAGE l 75

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 76 of 147 Page|D 76

b. 1 will be following up with Student Conduct and Dean of Students tomorrow
to review our response and how we can assist you moving forward.
283. Following Karbhari’s email on April 29, 2018 to Jenifer, Jean Hood responded to
him on Apri129, 2018 and CC’d Jenifer stating the following:
a. Dear Vistasp,
b. We will take the necessary next steps so the student will know the resources
available to support her and the steps involved in the investigative review.
284. Knighton responded to Hood’s email and addressed both Karbhari and Hood
stating the following:
a. Dear Ms. Hood and Mr. Karbhari,
b. Thank you for your prompt responses! On February 27, I reported to my field
liaison who reported the last incident to the social work field office. I filed a
grievance on March 2nd with The Office Of Community Standards and Dean
of Student Aff`airs and received no support
c. I filed a formal complaint with the EOS on April 16 and have yet to get a
response. 1 will be more than happy to forward all of the documentation and a
timeline if that would help. Thank you.
285. On April 29, 2018 Karbhari responded to Knighton’s April 29th email asking her
for a copy of the documents and a timeline.
286. On April 29, 2018 Jenifer responded to Karbhari’s email stating the following:
a. Mr. Karbhari,
b. Attached is a timeline of events. the emails, voice mails, text messages, and

recorded phone call can be accessed through the link below.

ORIGINAL COMPLAINT PAGE [ 76

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 77 of 147 Page|D 77

287.

Karbhari stating the following:

288.
information of UTA Counseling Center.

289.

ORIGINAL COMPLAINT PAGE l 77

. For questions regarding any of the information 1 can be reached at 832-910-

. https://mavsutamy.sharepoint.com/:f:/g/personal/ienifer knighton mavs uta

On April 30, 2018 Jean Hood responded to Knighton’s April 29th email to

a. Dear Ms. Knighton,

b. Thank you for sending all of the documents and the timeline. We will review

. 1 have asked Eddie Freeman to contact you about the process for reviewing

. I do want you to know that Ms. Vicki Goins is a counselor in our Counseling

f. With best regards, Jean

About two months after Knighton’s original complaint, she was offered the

Jenifer responded to Hood’s April 30th email and told her that she had been

2931. Thank you.

edu/Ehff3ib8anprhbhuNOMZYBYHmXaUBZoE1Rm lZEXOU g?e=db

ww4g

them and get back to you. 1 have had an initial conversation with Dean Ryan

and Lisa Nagy.

the complaint you sent to him and Michelle Willbanks. I apologize that you

had not heard from either of them,

Center if you want to utilize their services you can reach her at
Vgoins@uta.edu or by phone at 817 272 3417.
Please feel free to call or email me with any questions 1 will contact you

again on Wednesday with an update.

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 78 of 147 Page|D 78

admitted into PHP.
290. On April 30, 2018 Freeman sent Knighton an email stating the following:

a. 1 have attached our procedure for investigating EOS complaints See Exhibit .
We are already in the process of reviewing your information and interviewing
witnesses. You should hear the disposition of your complaint within the next
week if not sooner. Below is a link to our policy for your review as well.

b. https://www.uta.edu/policy/hop/S-503

c. 1 apologize for the delay in getting back to you.

d. Eddie B.Freeman, MBA,Sr.CAAP

291. Freeman sent Knighton a copy of UTA Policy 5-503; Knighton was never
informed or educated by Freeman or any other UTA officials about Title IX or the rights that she
had as a reporter and a vietim.

292. On May 2, 2018 Hood sent an email to Knighton stating the following:

a. Good afternoon, 1 know Mr. Freeman has concluded the majority of the
interviews As he indicated in his email, he will get back to upon the
completion of the review next week.

b. ln speaking with Dean Ryan in Social Work, the School will rollover the
hours from the internship.

c. 1 would like to ca11 you. 1 do have your number and thank you for providing it
for us. Is there a best time during the day or evening for me to call you?

293. On May 3, 2018 Freeman emailed Knighton asking if she had time to speak with
him,

294. On or around May 3, 2018 Knighton called Freeman. Freeman asked Knighton

ORIGINAL COMPLAINT PAGE l 78

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 79 of 147 Page|D 79

who else it was that she wanted an apology from if she had already received an apology.

295. Freeman went on to ask Knighton if she had anything else to add to her
complaint

296. Knighton told Freeman that she was upset because her complaint was never sent
to the Title IX coordinator.

297. Freeman asked Knighton why it was Title IX.

298. Knighton told Freeman that there was inappropriate hugging, verbal abuse,
intimidation and other things that David J ones did to her and other female students

299. Freeman asked Knighton if Jones physically held her down or restrained her from
leaving. Knighton told Freeman that the doors had previously been locked at Wellspring and that
it was so scary, and she was scared to move.

300. Freeman asked Knighton again if J ones had physically restrained her.

301. Knighton reiterated that he didn’t have to because the way that he was behaving
and talking paralyzed her and the other students
On May 9, 2018 Knighton sent an email to Freeman following up on the investigation Freeman
told Knighton that he was finishing up the report that week and would get back to her when it
was finished.

302. On May 10, 2018 Knighton had a conference ca11 with Jean hood. Knighton
expressed her disappointment in the University and the way that they mistreated her and
mishandled her complaint Knighton told Hood that it caused her severe emotional distress
depression, PTSD, Bulimia relapse, and that she almost committed suicide behind the
misconduct of J ones and UTA; and what was done to her went against the NASW Code of

Ethics and the schools mission and policies Knighton also told Hood again that she was in a

ORIGINAL COMPLAINT PAGE l 79

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 80 of 147 Page|D 80

Partial Hospitalization Program caused by what happened at Wellspring with David J ones and
the University.

303. Knighton told Hood that all she asked for was extra time to complete her field
hours because of what happened, yet she was denied any requests and told that there were no
exceptions

304. Knighton told Hood that this was the School of Social Work, they are teaching
their students about social justice and how to advocate but they are not doing the same; and what
UTA School of Social work did to her was unethical and wrong.

305. Hood told Knighton that she understood because her daughter was a social
worker.

306. Hood proceeded to tell Knighton that she could get a refund for the 6 credits if she
filled out medical leave paperwork for Spring of 201 8. Knighton told her that she absolutely
would not because that was not the reason why she was not able to complete her hours; she
wasn’t able to complete because the UTA School of Social Work failed to assist her in any way.

307. Knighton told Hood that all of this needed to get off of her record including the
withdraws because she did nothing wrong and she was being punished for being courageous and
speaking up,

308.' Hood told Knighton that she would ca11 her the following week. Hood never
called Knighton back.

309. On or around May 23, 2018 Knighton received an email that she received a
refund for her tuition.

310. Even after suffering irreparable psychological harm, Jenifer decided to return to

UTA for online Sumrner classes in an attempt to regain normalcy.

ORIGINAL COMFLAINT PAGE [ 80

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 81 of 147 Page|D 81

311. Knighton submitted a request to take two classes since she was still in PHP.
Diane Mitschke told Knighth that she was going to approve it but that she recommended that
Knighton took a break and continued in the Fall 2018,
312. On May 23, 2018 Freeman sent Knighton an email stating the following:
a. Hi Ms. Knighton,
b. 1 have completed the investigation of the complaint filed by you against Dr.
David Jones, Owner and agency contact for Wellspring Community Institute;
Dr. Dawnetta Smith, Assistant Dean School of Social work; and Ms. Kristen
Terry, Academic Advisor III in the School of Social Work on allegations of
discrimination based on race and disability, retaliation and sexual harassment
and sexual misconduct
c. I have attached a copy of the report and determination letter for your review
should you have any questions or additional information regarding your
complaint See Exhibit l A .
d. A copy of the report has also been sent to the Provost Dr. Teik Lim, Dr. Scott
Ryan, Dean School of Social Work and Ms. Jean Hood, Vice President of HR.
You have 10 days to provide any additional information which could change
the outcome of this investigation Otherwise the investigation will be
considered closed.
313. Knighton reviewed the investigation report and noticed that Freeman copied and
pasted the information that Knighton originally sent in an email to Karbhari.
314. The determination letter and investigation stated that J ones was not subject to the

policies of UTA because he was not an employee See Exhibit vq ;

ORIGlNAL COMPLAINT PAGE { 81

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 82 of 147 Page|D 82

315. lt also stated that Smith did not violate any of UTA’s policy relating to “Non-
discrimination

316. On May 29, 2018 Jenifer sent an appeal of the investigation to Freeman, Provost

Teik Lim, Diane Mitschke, Dean for the School of Social Work, Scott Ryan, and President
Karbhari, that included her civil rights being violated, being sexually harassed, and Smith lying
and fabricating her words See Exhibit \6 .

317. Knighton requested that the University pay her for loss of wages and damages
that the University caused her.

318. Knighth continued having panic attacks, anxiety and depression, She felt
worthless and felt like she no longer wanted to pursue her career in social work. Knighton felt
like she was a failure, and nothing mattered anymore. Every time that her school email went off
she had a mental break down.

319. While working through therapy, Knighton realized that it was not school that she
wanted to quit, it was that school (UTA). F or Knighton, getting a degree from UTA and having it
hang on her wall would be nothing more than a daily reminder of the injustice that was done to
her by David Jones and UTA faculty and officials It would be a reminder of unethical and
inappropriate practices It would be against every value that Knighton had.

320. Soon after Knighton began Summer courses at UTA, she withdrew from them,

321. On June 21, 2018 Knighton sent an email to President Karbhari and Provost Lim
stating the following:

a. 1 would like to get an update on the appeal that I submitted to you on May 29,
2018. 1 would also like to know what measures will be put in place to assure

the safety of the online cohort students and making sure that UTA faculty are

ORIGINAL COMPLAINT PAGE l 82

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 83 of 147 Page|D 83

following policy and procedure in regards to student complaints 1 look

forward to hearing from you. Thank you.

322. On June 22, 2018 Freeman sent an email to Knighton stating the following:

3..

The Office of Equal Opportunity Services (EOS) has completed its
investigation of the complaint filed by you against Dr. David Jones, Owner
and agency contact for Wellspring Community Institute; Dr. Dawnetta Smith,
Assistant Dean School of Social work; and Ms. Kristen Terry, formerly
Academic Advisor 111 in the School of Social Work on allegations of
discrimination based on race and disability, retaliation and sexual harassment
and sexual misconduct
Your comments and concerns to the Preliminary report have reviewed and
addressed in the final report that is attached See Exhibit . The information
provided did not materially change the findings in the previous report
The University considers this matter closed and no further action will be
taken. Any future correspondence with the University should be directed to
the University Attorney Shelby Boseman.

Since Dr. Jones is not an employee of UT Arlington and is the owner of the
facility. The University has limited ability to subject or enforce discipline on
him, The only options for the University in this instance were to remove
students and terminate our agreement with Wellspring as an agency.

Because of Dr. Smith’s investigation of your complaint this was done.

Ms. Kristen Terry is no longer an employee of UT Arlington. She resigned

April 18, 2018 to take a position With another organization She did not

ORIGINAL COMPLAINT PAGE l 83

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 84 of 147 Page|D 84

violate any of the policies or procedures prior to leaving university. She was
responsible for reporting complaint to Dr. Smith which she did.

g. Dr. Smith did not violate U'l` Arlington’s policy related to Non-discrimination
in her actions to help you with your complaint against Dr. J ones and his
agency. Our investigative process requires that we contact the accused of any
complaint and allow them to respond just as Dr. Smith did when she contacted
Dr. Jones,

h. We are sorry for the experience you had during your field assignment 1t is our
intent that students in field assignments have a safe and enriching learning
environment The School of Social Work has reviewed their process for
ensuring the safety and environments of future field placement agencies along
with recommendations from EOS.

323. On or around June 22, 2018 Knighton received a message from Jane Doe 1 telling
her that The University didn’t do an investigation, they were just trying to cover themselves
324. On June 22, 2018 Knighton sent an email to Karbhari stating the following:

a. Dear Mr. Karbhari,

b. 1 hope this email finds you well. 1 submitted my appeal to you on May 29,
2018 from the EOS complaint 1n the complaint process it states that the final
decision is made by the president Today 1 received a response from Mr.
Freeman stating that the investigation has been closed. 1 would like to hear
from you on this matter and my concerns as they have not been addressed.

325. Knighton never received a response nom Karbhari. In lieu of Karbhari

ORIGINAL COMPLAINT PAGE { 84

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 85 of 147 Page|D 85

responding, Knighton received an email from UTA Attomey Shelby Boseman June 25, 2018
stating that Karbhari asked him to respond to her; and he was not familiar with the complaint
process that Knighton was talking about
326. On June 25, 2018 Knighton responded to Boseman’s June 25 email with a copy of
the appeal process for UTA Policy 5-513.
327. On June 25, 2018 Knighton sent another email to Boseman stating the following:
a. Attached is a copy of my appeal. 1 was sexually harassed, discriminated
against, retaliated against, and my civil rights were violated.
b. The Assistant Dean Dawnetta Smith fabricated my own words, 1 have the 78
minute phone call recorded and transcribed and the faculty of The School of
Social Work failed to follow UTA policy and procedures
328. On July 5 , 2018 Boseman sent an email to Knighton stating the following:
a. Thank you for clarifying Initally your complaint was looked at under Policy
5-513 and Policy 5-503 based on the specific allegations you made. However,
5-513 quickly became inapplicable as your allegations of sexual harassment
were that Dr. Jones attempted to hug you and another student one time on
February 26, 2018.
b. This behavior does not meet the level to be considered sexual harassment
Consequently, your complaint was investigated under Policy 5-503 for
discrimination and harassment in addition to whether SSW procedures were
followed.
c. Policy 5-503 does not have an appeal process However, after you submitted

your comments to Mr. Freeman’s draft report, it was re-reviewed by Mr.

ORIGINAL COMPLAINT PAGE l 85

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 86 of 147 Page|D 86

Freeman and 1 also reviewed it to ensure the investigation was thorough,
impartial, and the conclusion fit the facts

d. The hours you completed at Wellspring can be carried over to your new
placement 1 understand your tuition for the course was also refunded I
apologize you had to go through this and that you feel the SSW did not
communicate well with you. We hope to see you back on campus this fall.

329. After receiving the July 5, 2018 email from Boseman, Knighton had another
mental breakdown Jenifer no longer replied to the UTA emails.

330. Jenifer felt like she was in a nightmare that she couldn’t wake up f`rom. Knighton
had to resign from her job that she loved in July 2018 because of the intense symptoms of PTSD,
anxiety, depression, panic attacks feelings of unworthiness and intrusive thoughts and
flashbacks caused by J ones and UTA. She was no longer enrolled in school classes Jenifer felt
like she was being punished all because she advocated for herself and other students She felt
like everything that she worked so hard for was being taken away from, including her right to life
and liberty.

331. Knighton made an attempt to enroll into another MSW program to try and find
joy again in her life but again another barrier stood in the way; UTA refused to release her
transcripts stating that Knighton now owed them a balance of around $750.

332. Ironically on August 10, 2018 Knighton received an email on her personal email
from UTA stating that she had been awarded a Maverick Enrollment Award to assist her with her
Fall enrollment

333. Following the August 10th award email, On August 11, 2018 Knighton received

an email on her personal and UTA email fiom Diane Mitchke stating the following:

ORIGINAL COMPLAINT PAGE l 86

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 87 of 147 Page|D 87

a. On behalf of the UTA School of Social Work, 1 hope that you have had a
great summer. I'm reaching out to you personally because 1've noticed that
you are not yet enrolled in courses for the Fall semester.

b. Please note that 1 pulled the enrollment list on August 6th, so if you enrolled
in courses after the 6th, please disregard this message I want you to know
that we value you as a student in our MSW program, and if there is anything
we can do to facilitate your registration for the Fall semester, I hope you'll
reach out to let us know. We are getting close to the first day of classes
August 22nd, and 1 want to make sure that you're enrolled and set up for a
successful F all semester. Please contact your Academic Advisor or me
personally for assistance in getting enrolled.

334. Knighton practically begged and pleaded with the University to assist her in some
way. She only wanted the same fair chance to complete her hours that was given to other
students

335. The University maliciously and deliberately acted indifferent towards her. They
turned things around on Knighton in an effort to protect and cover themselves without any
regards to human life.

CAUSES OF ACTION

 

COUNT I: DISCRIMINATION ON THE BASIS OF GENDER IN VIOLATION OF 20

U.S.C. § 1681 g!!TLE IX[ jAGAINST ALL DEFENDANTS[

336. Plaintiff incorporates all paragraphs of this Complaint is if fully set forth herein.

337. The acts and failures to act perpetrated against Plaintiff amounted to unlawful

ORIGINAL COMPLAINT PAGE l 87

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 88 of 147 Page|D 88

sexual harassment and discrimination on the basis of gender. The harassment and discrimination
were sufficiently severe and pervasive to create a hostile educational environment for Plaintiff.

338. One or more administrators or officials of UTA and UTA School of Social Work,
with authority to take corrective and remedial action on Plaintiff"s behalf, had actual notice of
said harassment and discrimination and failed to adequately respond, in violation of their own
policies

339. Those failures amounted to deliberate indifference toward the unlawful sexual
conduct and retaliatory conduct that had occurred, was occurring, or was likely to occur. As a
result, Plaintiff was subject to continuing harassment and a loss of educational opportunity.

340. Additionally, and/or in the alternative, Defendants failed to enact and/or
disseminate and/or implement proper or adequate procedures to discover, prohibit or remedy the
kind of discrimination that Plaintiff sufi`ered. This failure included, without limitation, non-
existent or inadequate customs policies or procedures for the recognition, reporting,
investigation and correction of unlawful discrimination

341. Those failures amounted to deliberate indifference toward the unlawful sexual
conduct and retaliatory conduct that had occurred, was occurring, or was likely to occur. As a
result, Plaintiff was subject to continuing harassment and a loss of educational opportunity.

342. Defendants acted with deliberate indifference in deviating significantly from the
standard of care outlined by the Department of Education in the Revised Sexual Harassment
Guidance: Harassment of Students by School Employees, Other Students or Third Parties, Dear
Colleague Letter of2011, Questions and Answers from 2014, and Defendants’ own policies

343. Defendants subjected Jenifer to discrimination by denying her full access to equal

ORIGINAL COMPLAINT PAGE l 88

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-OO792-Y Document 1 Filed 09/24/18 Page 89 of 147 Page|D 89

education and other services including the enjoyment of benefits of a service, program or
activity conducted by the university.

344. As a result of Defendants’ deliberate indifference, As a direct and proximate
result of Defendant’s conduct, Plaintiff has suffered, and continues to suffer, great pain of mind
and body, physical injury, shock, emotional distress suicidal thoughts physical manifestations
of emotional distress embarrassment loss of self-esteem, disgrace, humiliation, and loss of
enjoyment of life; has suffered and continues to suffer spiritually; was prevented and will
continue to be prevented from performing Plaintiffs daily activities and obtaining the full
enjoyment of life; was prevented and will continue to be prevented from obtaining the full
enjoyment of being a mother; has suffered and will continue to suffer the loss of educational
opportunities and/or benefits has sustained and will continue to sustain loss of earnings and
earning capacity; and/or has incurred and will continue to incur expenses for medical and
psychological treatment therapy, and counseling

345. The aforementioned acts and/or omissions of Defendants were willful, wanton,
malicious reckless and oppressive. Plaintiff demands judgment against the Defendants, jointly
and severally, for compensatory and punitive damages plus interest and costs

COUNT II: VIOLATION OF 42 U.S.C. § 12101
gAgainst All Defendants[

346. Plaintiff incorporates all paragraphs of this Complaint is if fully set forth
herein.

347. Title 11 of The Americans with Disabilities Act (ADA) provides that no qualified
individual with a disability shall, by reason of such disability, be excluded from participation in

or be denied the benefits of a public entity or be subjected to discrimination by such entity.

ORIGINAL COMPLAIN '1` PAGE l 89

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 90 of 147 Page|D 90

348. Title 11 of the ADA requires that a public entity take appropriate steps to ensure
that communications with applicants participants and members of the public with disabilities
are as effective as communications with others

349. Title 11 of the ADA also requires a public entity to furnish appropriate auxiliary
aids and services where necessary to afford an individual with disability an equal opportunity to
participate in, and enjoy the benefits of a service, program, or activity conducted by a public
entity.

35 0. To be protected by the ADA one must have a disability, defined by the ADA as
“(a) a physical or mental impairment that substantially limits one or more of the major life
activities of [an] individual;

(b) a record of such an impairment; or
(c) being regarded as having such an impairment” 42 U.S.C. § 12102(2) (1994); 29 C.F.R. §
1630.2(g) (1996).

351. The ADA rule defines “mental impairment” to include “any mental or
psychological disorder, such as . . . emotional or mental illness.” 29 C.F.R. § l630.2(h)(2)
(1996).

352. Defendants were aware of Jenifer’s disabilities Defendants knew that Jenifer
was suffering from Depression, PTSD, and Anxiety. Jenifer merely begged UTA for assistance;

353. UTA not only denied Knighton of any assistance but Defendants continuously
refused to take responsibility for their actions; and made it look like Knighton was the one that
did something wrong; UTA almost drove Knighton to the point of taking her own life.

354. Defendant Freeman claimed that Knighton knew how to request accommodations

ORIGINAL COMPLAINT PAGE l 90

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 91 of 147 Page|D 91

because she received them for ADHD. However, Knighton never used those accommodations
and there was a big difference in the accommodations and services that Knighton needed for the
symptoms that were associated with Depression, PTSD, and Anxiety.

355. Defendants discriminated against Plaintiff based on disability when the School of

Social Work denied her request for an accommodation for her disability (e.g., request to extend
the deadline for her to complete the necessary hours for her practicum);

356. Smith stated that there were no exceptions to the UTA School of Social Work
Policies.

357. However, Jane Doe 3 requested an exception to the program and Smith approved
it; and Smith deliberately withheld information fiom Jenifer about the petition for an exception
to graduate programs that Smith as Assistant Dean for The School of Social Work knew about or
should have known about

358. Smith reported to Freeman that her faculty said that Knighton should withdraw
from the semester and “take care of her mental health.”

359. When Knighton reported having thoughts of suicide, and suffering from PTSD,
and Depression, UTA failed to provide Knighton with any type of assistance or referrals to
Mental Health organizations Smith went to the extent of lying to Freeman in the investigation
saying that Knighton told her she was getting help.

360. Depression, Anxiety, and PTSD are recognized by the ADA as mental disabilities

361. As a governmental and public entity charged with ensuring compliance with
federal law, Defendants knew or should have known their duties and obligations under Title 11 of
the ADA.

362. Despite this knowledge and based on the facts alleged herein, Defendants

ORIGINAL COMPLAINT PAGE l 91

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 92 of 147 Page|D 92

intentionally refused adequate compliance with Title 11 of the ADA and failed to afford Jenifer
with disability accommodations in a setting appropriate to her needs in violation of 42 U.S.C. §
121 82.

363. Defendants subjected Jenifer to discrimination by denying her full access to
equal education and health services including the enjoyment of benefits of a service, program or
activity conducted by the university

364. Because she had a disability, Knighton was encouraged by UTA to withdraw
from the Spring 2018 semester; UTA also attempted to dissuade Knighton from enrolling in the
Summer, 2018 courses because of her disability.

365. Hood knew that Knighton had a mental disability when she contacted
Knighton. Hood also knew that Knighton was receiving treatment in PHP. In an attempt to
relieve the University from any liability for their wrongdoing; acting in malice and a
discriminatory way, Hood attempted to coerce Knighton into submitting medical leave
paperwork for the Spring 2018 courses that Knighton Was forced to Withdraw from and in return
she would be able to get a refund for the Spring 2018 courses

366. Hood had knowledge that Knighton did not withdraw from the Spring 2018
courses because of disability/medical reasons

367. Defendants subjected Jenifer to discrimination by denying her full access to equal
education and other services including the enjoyment of benefits of a service, program or
activity conducted by the university.

368. As a result of the above-described conduct, Plaintiff has suffered, and continues to
suffer, great pain of mind and body, physical injury, shock, emotional distress suicidal thoughts

physical manifestations of emotional distress embarrassment loss of self-esteem, disgrace,

ORIGINAL COMPLAINT PAGE | 92

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 93 of 147 Page|D 93

humiliation, and loss of enjoyment of life; has suffered and continues to suffer spiritually; was
prevented and will continue to be prevented from performing Plaintiff‘s daily activities and
obtaining the full enjoyment of life; was prevented and will continue to be prevented from
obtaining the full enjoyment of being a mother; has suffered and will continue to suffer the loss
of educational opportunities and/or benefits; has sustained and will continue to sustain loss of
earnings and earning capacity; and/or has incurred and will continue to incur expenses for
medical and psychological treatment therapy, and counseling

369. These damages proximately result from UTA’s deliberate indifference to
plaintiffs rights under ADA.

370. The aforementioned acts and/or omissions of Defendants were willful, wanton,
malicious reckless and oppressive Plaintiff demands judgment against the Defendants, jointly
and severally, for compensatory and punitive damages plus interest and costs

COUNT III: VIOLATION OF THE CIVIL RIGHTS ACT OF 1964
42 U.S. Code § 2000

368. Plaintiff incorporates all paragraphs of this Complaint as if fully set forth herein.

371. The University discriminated against Plaintiff based on race when it failed to
respond appropriately to her reports that J ones tried to extort money from her and other student
interns at Wellspring

372. After Knighton reported to UTA that J ones attempted to extort money fiom her
and another student UTA called the other students and asked if they were ok with being
charged; and if they could stay at the agency.

37 3. Smith told Knighton that it was her word against J ones and asked who she was to

ORIGINAL COMPLAINT PAGE l 93

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 94 of 147 Page|D 94

believe; until the other students (African Americans) continued that what Knighton was saying
was the truth.

374. J ones (Af`rican American) was immediately contacted by Smith (Afn`can
American) before she contacted Knighton (White) who made the complaint and after Smith
contacted J ones she contacted the other students that were at Wellspring who happened to be
African American. When Smith called Knighton she told her that she “knew” that Terry (white)

had already contacted her and she didn’t feel like she needed to.

375. In the investigation report conducted by Freeman, Smith stated that charging
students was not against University policy; However, On or around the month of March 2018
Advisor Amy Lopez from the School of Social Work sent an email to one of the agencies stating
that charging students was against policies; and none of the students were told that they were
going to be charged until February 26, 2018 when J ones attempted to extort money from
Plaintiff

376. The University discriminated against Knighton based on race when it failed to
respond to her complaint of sexual harassment by J ones

377. After Hall contacted Smith, Smith quickly contacted 1 ones and told him that
Knighton had reported him, J ones was not the field instructor and should have never been
contacted.

378. Knighton was the only student that false allegations of misconduct were made
against; Knighton was the only student that Smith told J ones to file an Interruption of Internship
on; Knighton was the only white student

379. UTA was deliberately indifferent to its obligations and its procedures applied.

ORIGINAL COMPLAINT PAGE l 94

 

 

10
11
12
13
14
15
16

17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 95 of 147 Page|D 95

Such deliberate indifference included failing to adequately investigate Knighton’s allegations in
accordance with Title IX when the same were mandatory, denying Knighton the right to a
thorough and impartial investigation and ultimately ignoring UTA’s misconduct

380. UTA also wrongfully retaliated against Jenifer by intimidating and discriminating
against her for disputing the mistreatment for disputing the investigation, and for complaining
that UTA engaged in misconduct against her,

381. UTA’s actions in violating its own policies on non-discrimination were
intentional and deliberate, and causally resulted in Jenifer suffering an adverse outcome, severe
injury and harm.

382. Defendants subjected Jenifer to discrimination by denying her full access to equal
education and other services including the enjoyment of benefits of a service, program or
activity conducted by the university.

383. As a result of the above-described conduct Plaintiff has suffered, and continues to
suffer, great pain of mind and body, physical injury, shock, emotional distress suicidal thoughts
physical manifestations of emotional distress embarrassment loss of self-esteem, disgrace,
humiliation, and loss of enjoyment of life; has suffered and continues to suffer spiritually; was
prevented and will continue to be prevented from performing Plaintiff‘s daily activities and
obtaining the full enjoyment of life; was prevented and will continue to be prevented from
obtaining the full enjoyment of being a mother; has suffered and will continue to suffer the loss
of educational opportunities and/or benefits has sustained and will continue to sustain loss of
earnings and earning capacity; and/or has incurred and will continue to incur expenses for
medical and psychological treatment therapy, and counseling

384. The aforementioned acts and/or omissions of Defendants were willful, wanton,

ORIGINAL COMPLAINT PAGE l 95

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 96 of 147 Page|D 96

malicious reckless and oppressive Plaintiff demands judgment against the Defendants, jointly
and severally, for compensatory and punitive damages plus interest and costs
COUNT IV: NEGLIGENCE gAGAINST ALL DEFENDANTS[

385 . Plaintiff incorporates all paragraphs of this Complaint as if fully set forth herein,

386. At all times relevant Defendants offered services associated with higher
education to Plaintiff. Defendants had a duty to protect Plaintiff as a student at Defendants’
institution, UTA. Defendants had a duty to take reasonable protective measures to protect
Plaintiff and other similarly situated students from the risk of sexual harassment and/or sexual
misconduct such as the duty to properly warn, train or educate Plaintiff and other students about
how to avoid such a risk. This created a special relationship between Defendants and Plaintiff
who was entrusted to Defendants’ care. Defendants voluntarily accepted the entrusted care of
Plaintiff. As such, Defendants owed Plaintiff a duty of care.

387. Defendants breached their duty to take reasonable protective measures to protect
Plaintiffs and other similarly situated students from the risk of sexual harassment and/or sexual
misconduct such as the failure to properly warn, train, or educate Plaintiffs and other students
about how to avoid such a risk.

388. At all material times Defendants were further required to comply with federal
laws

389. Defendants’ intentional and negligent acts and omissions therefore amount to
negligence, negligent failure to warn, train and/or educate, and negligence per se.
404. Defendants subjected Jenifer to discrimination and harassment by denying her full access
to equal education and other services including the enjoyment of benefits of a service, program

or activity conducted by the university.

ORIGINAL COMPLAINT PAGE l 96

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 97 of 147 Page|D 97

390. As a result of Defendants conduct Plaintiff has suffered, and continues to
suffer, great pain of mind and body, physical injury, shock, emotional distress suicidal thoughts
physical manifestations of emotional distress embarrassment loss of self-esteem, disgrace,
humiliation, and loss of enjoyment of life; has suffered and continues to suffer spiritually; was
prevented and will continue to be prevented from performing Plaintiffs daily activities and
obtaining the full enjoyment of life; was prevented and will continue to be prevented from
obtaining the full enjoyment of being a mother; has suffered and will continue to suffer the loss
of educational opportunities and/or benefits has sustained and will continue to sustain loss of
earnings and earning capacity; and/or has incurred and will continue to incur expenses for
medical and psychological treatment therapy, and counseling

391. The aforementioned acts and/or omissions of Defendants were willful, wanton,
malicious reckless and oppressive Plaintiff demands judgment against the Defendants jointly
and severally, for compensatory and punitive damages plus interest and costs

COUNT V: DEPRIVATION OF PLAINTIFF’S RIGHT
TO EOUAL PROTECTION OF THE LAWS
42 U.S.C. § 1983

392. Plaintiff incorporates all paragraphs of this Complaint as if fully set forth herein,

393. As a student of a public university, plaintiff was entitled to personal security,
bodily integrity and the Equal Protection of the Laws pursuant to the Fourteenth Amendment to
the United States Constitution. F ailing to properly investigate David Jones sexual harassment of
the Plaintiff;

a. UTA failed to adequately train and/or supervise Defendants

b. And demonstrating complete and deliberate indifference to the sexual

ORIGINAL COMPLAINT PAGE [ 97

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 98 of 147 Page|D 98

harassment of the Plaintiff, and to the ongoing trauma suffered by the Plaintiff caused by the
continuous actions and omissions of Defendants

394. UTA had, at all times material hereto, unconstitutional customs policies or
procedures of:

a. F ailing to investigate evidence of criminal and tortious misconduct against
students in the nature of violations of their right to personal security and bodily
integrity.;

b. Failing to adequately train and supervise UTA employees with regard to
maintaining preserving and protecting students - including the Plaintiff - from
violations of their right to personal security, bodily integrity, and the Equal
Protection of the Laws.

395. As a direct and proximate result of Defendant’s conduct Plaintiff has suffered,
and continues to suffer, great pain of mind and body, physical injury, shock, emotional distress
physical manifestations of emotional distress embarrassment loss of self-esteem, disgrace,
humiliation, and loss of enjoyment of life; has suffered and continues to suffer spiritually; was
prevented and will continue to be prevented from performing Plaintiffs daily activities and
obtaining the full enjoyment of life; was prevented and will continue to be prevented from
obtaining the full enjoyment of being a mother; has suffered and will continue to suffer the loss
of educational opportunities and/or benefits has sustained and will continue to sustain loss of
earnings and earning capacity; and/or has incurred and will continue to incur expenses for
medical and psychological treatment therapy, and counseling

396. The aforementioned acts and/or omissions of Defendants were willful, wanton,

ORIGINAL COMPLAINT PAGE l 98

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 99 of 147 Page|D 99

malicious reckless and oppressive, thereby justifying Defendants, jointly and severally, for

compensatory and punitive damages plus interest and costs

COUNT VI: 18 U.S.C. § 241 CONSPIRACY AGAINST RIGHTS

jAgainst All Defendants}
397. Plaintiff incorporates all paragraphs of this Complaint as if fully set forth herein.

398. Knighton followed all of the UTA School of Social Work policies Knighton
followed all of UTA policies

399. Knighton Was not aware or informed of her rights as a student or as a victim of
discrimination and harassment Despite Knighton making several complaints to UTA, a
complaint was never filed until Knighton learned of the complaint process hersele

400. As a “Responsible Employee” Defendant Smith was required to report Knighton’s
allegations to the Title IX Coordinator so that Knighton could be afforded the same treatment as
others due process 1t would have allowed Knighton to decide if she wanted to file a formal or
informal complaint against J ones Smith failed to report any and all Knighton’s allegations
against J ones harassment and misconduct to the Title IX Coordinator or the EOS.

401. lnstead of Smith contacting Plaintiff or reporting Knighton’s complaint as the
complainant on February 27, 2018, Defendant Smith used her authority as Assistant Dean by
completely disregarding UTA Policy and taking things in her own hands by contacting J ones and
informing him that Knighton had reported hirn; and telling him to submit an interruption of
internship on Knighton in an attempt to cover up his discriminatory and illegal actions and in an
attempt to relieve UTA of any liability for its deliberately indifferent and discriminatory actions

402. Despite the fact that Smith knew that something happened to Knighton at

ORIGINAL COMPLAINT PAGE | 99

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 100 of 147 Page|D 100

Wellspring (as she stated in their March 12 conversation) Smith continued to use the
interruption form against Plaintiff when Plaintiff requested assistance and an extension for her
field hours

403. Despite the School of Social Work knowing about the sexual harassment abuse,
Harassment and attempted extortion that Plaintiff endured by Jones The School of Social Work
forced Knighton to withdraw from their field education

404. Defendant Woody knew or should have known that something was wrong after
she received Knighton’s grievance in March 2018. lnstead of addressing any of Knighton’s
concerns on the grievance, or forwarding her complaint to a higher authority, Woody acted out
of malice, and intention to conspire with Smith; completely disregarded any of Knighton’s
complaints against Jones’ behaviors including sexual harassment abuse, harassment and attempt
to extort money nom the female students that were at Wellspring; and the unethical conduct of

UTA School of Social work (including Smith).

405. Defendant Freeman, Defendant Hood, Michelle Willbanks and Defendant
Karbhari were given access to the link provided by Knighton that had all of the documents that
Knighton had related to the events that occurred with J ones and UTA.

406. The evidence proved that misconduct of J ones and UTA was oppressive and
discriminatory against Plaintiff. However, Defendant Freeman as the investigator of Knighton’s
formal complaint only chose to look at a few of the documents

407. Freeman conducted a biased investigation; completed a bogus report that
minimized Jones’ behaviors and denied Smith’s unethical and discriminatory behaviors

including Smith fabricating Knighton’s words and defaming Knighton’s character See Exhibit

ORIGINAL COMPLAINT PAGE j 100

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 101 of 147 Page|D 101

408. Knighton made a request for Karbhari to review Freemans report and Knighton’s
appeal. Knighton also asked Karbhari what UTA was going to do to make sure that their students
did not go through What Knighton went through. Karbhari refused to further respond to
Knighton.

409. Defendants subjected Jenifer to discrimination and harassment by denying her full
access to equal education and other services including the enjoyment of benefits of a service,
program or activity conducted by the university.

410. Each Defendant acted in malice and deliberately indifference to Plaintiff for
reporting 1 ones and UTA faculty; and they made a deliberate attempt to cover up the unethical
and inappropriate misconduct of J ones and UTA.

411. As a direct and proximate result of Defendant’s conduct Plaintiff has suffered,
and continues to suffer, great pain of mind and body, physical injury, shock, emotional distress
suicide thoughts physical manifestations of emotional distress embarrassment loss of self-
esteem, disgrace, humiliation, and loss of enjoyment of life; has suffered and continues to suffer
spiritually; was prevented and will continue to be prevented from performing Plaintiffs daily
activities and obtaining the full enjoyment of life; was prevented and will continue to be
prevented from obtaining the full enjoyment of being a mother; has suffered and will continue to
suffer the loss of educational opportunities and/or benefits has sustained and will continue to
sustain loss of earnings and earning capacity; and/or has incurred and will continue to incur
expenses for medical and psychological treatment therapy, and counseling

412. The aforementioned acts and/or omissions of Defendants were willful, wanton,

malicious reckless and oppressive, thereby justifying that Defendants be fmed.

ORIGINAL COMPLAINT PAGE l 101

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 102 of 147 Page|D 102

COUNT VII: VIOLATION OF 42 U.S.C. 8 1983 SUBSTANTIVE DUE PROCESS - THE
RIGHT TO lNTIMATE ASSOCIATION FOURTEENTH AMENDMENTS TO THE U.S.
CONSTITUTION
§Against All Defendants[

413. Plaintiff incorporates all paragraphs of this Complaint as if fully set forth herein,

414. Defendants, and each of them, subjected plaintiff to violations of her Right to
lntimate Association. Such conduct by Defendant’s “shocks the conscience.”

415. Knighton requested nothing more than “extra time” to complete her field
education hours because of the severe emotional distress that Knighton was caused by J ones and
UTA. Knighton was stripped of any and every right that she had as a student

416. Defendants conduct hindered Knighton’s relationship with her children.

417 . Such conduct of Defendants caused Knighton to be admitted into PHP after nearly
committing suicide; and miss important events and moments with her children such as sports
traveling, family time, and any other extracurricular activities

418. Such conduct by Defendants caused Plaintiff to miss a road trip to Florida with

her daughters because she was in PHP.

419. Such conduct of Defendants caused an interference with Knighton’s right as a
Parent; almost resulting in 3 children being without a mother.

420. As a direct and proximate result of Defendant’s conduct Plaintiff has suffered,
and continues to suffer, great pain of mind and body, physical injury, shock, emotional distress
suicidal thoughts physical manifestations of emotional distress embarrassment loss of self-

esteem, disgrace, humiliation, and loss of enjoyment of life; has suffered and continues to suffer

ORIGINAL COMPLAINT PAGE | 102

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 103 of 147 Page|D 103

spiritually; was prevented and will continue to be prevented from performing Plaintiff s daily
activities and obtaining the full enjoyment of life; was prevented and will continue to be
prevented from obtaining the full enjoyment of being a mother; and/or has incurred and will
continue to incur expenses for medical and psychological treatment therapy, and counseling

421. The aforementioned acts and/or omissions of the Defendants were willful,
wanton, malicious reckless and oppressive, thereby justifying an award of exemplary and
punitive damages to punish the wrongful conduct alleged herein and to deter such conduct in the
future.

COUNT VIII: DEFAMATION AND
DEFAMATION PER SE §AGAINST SMITE{

422. Defendant Smith published statements of fact to UTA, via Freeman, referring
specifically, to Jenifer.

423. Jenifer suffered pecuniary injury (although no such showing is required due to the
per se nature of the defamation).

424. Smith’s published statements about Jenifer were false and defamatory and with
regard to the truth of the same, Smith was acting with actual malice, she was negligent or she is
strictly liable on a per se basis for accusing Knighton of unethical conduct such as being
inappropriate with clients and students at Wellspring; and/or because her publications are
presumptively injurious

425. As a direct and proximate result of Defendant’s conduct Plaintiff has suffered,
and continues to suffer, great pain of mind and body, physical injury, shock, emotional distress
suicidal thoughts physical manifestations of emotional distress embarrassment loss of self-

esteem, disgrace, humiliation, and loss of enjoyment of life; has suffered and continues to suffer

ORIGINAL COMPLAINT PAGE l 103

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 104 of 147 Page|D 104

spiritually; was prevented and will continue to be prevented from performing Plaintiffs daily
activities and obtaining the full enjoyment of life; was prevented and will continue to be
prevented from obtaining the full enjoyment of being a mother; has suffered and will continue to
suffer the loss of educational opportunities and/or benefits has sustained and will continue to
sustain loss of earnings and earning capacity; and/or has incurred and will continue to incur
expenses for medical and psychological treatment therapy, and counseling

426. The aforementioned acts and/or omissions of the Defendant were willful,
wanton, reckless and oppressive. Plaintiff seeks to recover actual damages and an award of
exemplary or punitive damages of and from Smith.

PRAYER FOR RELIEF

427. Plaintiff incorporates all paragraphs of this Complaint as if fully set forth herein.

426. The University has committed numerous violations of its contractual obligations
as set forth above.
427. WHEREFORE, Plaintiff Jenifer Knighton respectfully requests that this Honorable Court
grant the following relief:

a.) A declaratory judgment that Defendants actions policies and

practices complained of herein violated .1 enifer Knighton’s rights as secured by the

Fourth, Eighth, and Fourteenth Amendments to the U.S, Constitution.

b.) Declare that the University breached its contract with Jenifer;

c.) Grant injunctive relief ordering the University to reverse its findings of

the EOS Investigation report;

d.) Grant preliminary injunctive relief ordering the University to release Jenifer’s

academic transcripts

ORIGINAL COMPLAINT PAGE l 104

 

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 105 of 147 Page|D 105
1 e.) Grant injunctive relief ordering the University to provide a President’s Statement and
2 Apology Letter to Plaintiff certifying that The University has accepted responsibility for
3
wrongdoing;
4
5 f.) A joint and several judgment against all Defendants for compensatory damages in an
6 amount to be determined at trial, including without limitation, damages to physical well-
7 being, loss of integrity, loss of self-esteem, emotional and psychological damages
8 damages to reputation, past and future economic losses loss of education and
9
professional opportunities loss of future career prospects and other direct and
10
ll consequential damages
12 g) A joint and several judgment against all Defendants for punitive damages in an
13 amount of 8100,000,000 necessary and sufficient to punish Defendants and deter
14 Defendants and others from similar conduct;
15
h.) Award prejudgment interest;
16
17 i.) The cost of litigating this case;
18 j.) All other relief to which Plaintiff is entitled or that the Court deems just and
19 proper.
20 JURY DEMAND
21
428. Plaintiffs demands a trial by jury on all counts
22
23
24 DATED: September 24, 2018 Respectfully submitted,
25
\) …A!ii@Q 1< insists
26 Jenifer b Knighton, Pro Se Litigant
27 JeniferknightonOS@Vahoo com
19543 Cabra Ct. Katy, TX 77449
28 832-910-2931
ORIGINAL COMPLAINT PAGE | 105

 

 

 

 

 

\O°¢\l O\ U\ AWN i-

l\) !\.) N N N N N N i-* i-i i-i »-i »-¢ 1-¢ i- i-¢ »-i i-
\l C\ Ut Jd bi N »-‘ O \b 00 \l C\ U\ ~ld 143 N v- O

f\)
0¢

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 106 of 147 Page|D 106

h @iisai §epl»iiibm 21i, 1018

111 S@in€wii i`iii’i/

if
r fm §b%@@°:@
Q:m for iCn iji\isn@i@ii“®m
1515143 Coibrai Ci
\>tniii, tit '11 his 67

881 aio.zsgi

ORIGINAL COMPLAINT PAGE l 106

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 107 of 147 Page|D 107

Exhibit A

 

 

Case 4:18-cV-00792-Y Document 1 Filed 09/24/18 Page 108 of 147 Page|D 108

SUMMARY OF COMPLA|NT INVESTlGATlON

MUM

Universi Po|ic - 5-503 Non-Discrimlnation Po|ic
lt is the policy of The University of Texas at Arlington ("the University") that no person shal|, on
the basis of race, color, national origin, religion, age, sex, sexual orientation, disabilities genetic
information, and/or veteran status, be denied employment with or admission to the University;
or be excluded from participation in, denied the benefits of, or subject to discrimination under,
any program or activity that the University sponsors or conducts Reta|iation against persons
who oppose a discriminatory practice, file a charge of discrimination, or testify for, assist in, or
participate in an investigative proceeding relating to discrimination is prohibited
Constitutionally-protected expression will not be considered discrimination or harassment
under this policy.

     

The University of Texas at Arlington complies with the Equa| Pay Act of 1963, Tit|es V| and V|| of
the Civil Rights Act of 1964, Executive Order 11246, the Age Discrimination in Employment Act
of 1967, Title lX of the Education Amendments of 1972, Sections 503 and 504 of the
Rehabi|itation Act of 1973, the Americans with Disabi|ities Act of 1990, the Uniformed Services
Employment and Reemp|oyment Rights Act of 1994, Title l| of the Genetic |nformation
Nondiscrimination Act of 2008, the Vietnam Era Veterans' Readjustment Act of 1974, the Texas
Commission on Human Rights Act and their subsequent amendments as well as other
applicable federal and state laws and regulations the Ru|es and Regu|ations of the Board of
Regents of The University of Texas System, and policies and standards issued by The University
of Texas System Administration.

This Non-Discrimination Policy shall be implemented throughout the University. lt is the
responsibility of all departments and personnel to ensure the University's compliance. The
University will take prompt disciplinary action against any individuals or organizations within its
control who violate this policy.

5-513 Sexual Harassment and Sexual Misconduct Pollcv

The University of Texas at Arlington (“University") is committed to maintaining a learning and
working environment that is free from discrimination based on sex in accordance with Title |X of
the Higher Education Amendments of 1972 (Title |X), which prohibits discrimination on the basis
of sex in educational programs or activities; Title V|| of the Civil Rights Act of 1964 (Title V||),
which prohibits sex discrimination in employment; and the Campus Sexual Violence Eliminatlon
Act (SaVE Act). Sexual misconduct is a form of sex discrimination and will not be tolerated. As
stated in the definition, sexual misconduct includes sexual harassment sexual violence, sexual
assault, sta|king, domestic violence and/or dating violence. |ndividuals who engage in sexual
misconduct and other inappropriate sexual conduct will be subject to disciplinary action.

The University will take prompt disciplinary action against any individuals or organizations within
its control who violate this policy. The University encourages any student faculty, staff or visitor
to promptly report violations of this policy to an individual identified in Sr~)t;tion Ct. of this
Policy.

SCOPE

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 109 of 147 Page|D 109

This policy applies to all university administrators faculty, staff, students and third parties
within the University's control, including visitors and applicants for employment. lt applies to
conduct regardless of where it occurs including off university property, if it potentially affects
the complainant's education or employment with the University. lt also applies regardless of the
gender, gender identity or sexual orientation of the complainant or the respondent. ln addition,
it applies whether the complaint was made by or against a third party, and whether the
complaint was made verbally or in writing.

SU_MM

On April 17, 2018 the Office of Equal Opportunity Services received a formal complaint from Ms.
Jenifer Knighton concerning allegations of discrimination based on race and disability, retaliation
and sexual harassment and sexual misconduct by Dr. David Jones, Owner and agency contact for
Wellspring Community lnstitute; Ms. Kristen Terry, Academic Advisor lll in the School of Social
Work; and Dr. Dawnetta Smith, Assistant Dean School of Social work. Ms. Knighton provided
additional details on April 29, 2018.

lt was reported that Dr. Jones was unprofessional, unethica|, verbally abusive, intimidating and
extremely inappropriate by hugging student interns. He also requested that students were to
pay $20 a week to pay for licensed supervision.

Ms. Knighton alleges that Ms. Terry and Dr. Smith did not report the complaint to the EOS or
Title |X Coordinator and they failed to follow UTA policy and procedure. Ms. Knighton also filed a
grievance with Social Work that did not result in an effective outcome.

MM

Ms. Knighton states ”The social worker (Kimberly Gallien LCSW) that was supposed to supervise
the students was contracted only to sign off on the student's hours while we were being
supervised by David Jones, an unlicensed individual that was providing counseling services to
children and families. Mr. Jones is the owner and practice manager of the organization and also
contact person for UTA. Mr. Jones was unprofessional, unethical, verbally abusive, intimidating
and extremely inappropriate by hugging student interns. The students were told that since he
was the owner nobody could fire him and if we didn't like it we could leave and not come back.
We were also told that we needed to leave all concerns that we had with the school up to him.
There was a deadbo|t lock that was locked on a few different occasions while interns were in the
office with him in the evenings.

On February 26, 2018 l was verbally abused by David Jones, told that if l did not pay money l
was not going to get credit for the previous 5 weeks | had put in. He told me and another
student that he knew we had money because we both had jobs. He twirled a key on his finger,
laughed in a scary manner, and kept us an hour over scheduled. Before we left he attempted to
inappropriately hug us and said 'don't let this stop you from coming back.' l felt violated, l felt
like l had just been raped or molested.

The next day l followed procedure and reported it to my field liaison who reported it to UTA
School of Social Work office. Dr. Dawnetta Smith (assistant dean) put my safety and the safety of
other students at risk by contacting Mr. Jones and disclosing to him that l reported him. She
failed to contact any of the students including myself until after she contacted him. That

 

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 110 of 147 Page|D 110

afternoon l was contacted by Kristen Terry from the field office telling me that l was going to be
contacted by Ms. Smith the following day to discuss my behaviors.

Things were then turned around and the blame was put on me, that l was being disruptive at
the agency. Ms. Smith told Mr. Jones to file the form for an interruption of my internship. The
incident was never reported to the EOS or title 9 coordinator and they failed to follow policy and
procedure. | filed a grievance in March but again expressing my concern resulted in an
ineffective outcome.

l cried every clay for five weeks which led me into a deep depression and bulimia relapse. l was
forced to withdraw from my field without any accommodations/exceptions due to the
extenuating circumstances and traumatic experience that l endured at an affiliated agency of
UTA. l was given no credit towards tuition on the 6 credit course that l was forced to withdraw
from. Due to the emotional distress that this has caused me l had to be admitted into a partial
hospitalization program which will now hinder me from continuing the field placement in the
summer. When | spoke with my advisor Patricia Green who was unaware of anything that
transpired, l was informed that my graduation will be prolonged an extra year.

A|so, despite being told by Ms. Smith that this was not going to go against me because other
students confirmed that what l was saying was true, when l requested some sort of modification
due to the extenuating circumstances it was denied and l was told that l was not pulled from
Wellspring, the agency disrupted my internship. l requested a copy of the form and after
reviewing it l saw that it was signed the same day that l reported the agency.

The response or lack of that l have received from the school goes against every value that we
have been taught by the school. The way that l have been treated by the faculty from the school
of social work is unjust and a violation of the NASW Code of Ethics. As mandated reporters they
also failed to report the sexual misconduct that occurred at the field placement. instead they
retaliated against me and had David Jones file an interruption of internship.”

V. Dr. Dawnetta Smith's Resgonse to Complaint (Ful| statement Attachedl
”On February 27, 2018, l was informed by Kristen Terry, the then Field Advisor for

BSW/Foundation MSW students that the students at Wellspring Counseling were being charged
for their weekly supervision. She also informed me that an inappropriate conversation took
place with two of the students at Wellspring, where the CEO, Dr. David Jones, belittled the
students Kristen further explained that one of the students felt violated because the CEO
attempted to hug her, and she wanted a new placement. l immediately contacted the agency,
Dr. Jones specifica||y, as l wanted to get a better understanding of what was happening as we
had three other students placed at the agency.

 

On February 27, 2018, l called and spoke with Dr. Jones, CEO of Wellspring Counseling. Before
we began our conversation, Dr. Jones stated, l am so glad you called me | have some concerns
with one of your students. He stated for me to continue with the reason for my call and he
would address his concerns after. l proceeded to ask Dr. Jones, if the agency charged students
for weekly supervision. To which he replied; yes we have always charged students for weekly
supervision and after-hours services. He stated that he had two contracted therapists one being

 

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 111 of 147 Page|D 111

a LlVlSW, and the therapist charges students for supervision since they keep their doors open to
accommodate working students | asked him, if he informed the previous Assistant Dean about
this and he stated ”no"; it was an agreement between his agency and the students Mr. Jones
stated that the students are informed of this before beginning their hours l asked him if the
students signed an agreement with this information and he stated ”no”. He informed me that he
has students from various universities such as UH and any student needing to complete hours
after the traditional work hours and have weekly supervision are charged 520/week for
supervision. He went on to state that one of the students Ms. Knighton, was not informed of
this because she did not attend the orientation. He stated Ms. Knighton contacted him just
before the semester was to start and he told her she could start the following week. He stated l
also have some concerns with this student. l stated to Dr. Jones, that l understood and while l
did not agree with this policy, he needed to have sent the Field Office this information upfront
and he needed to put something in writing so students understood this and were not blindsided
with an invoice. | further informed Dr. Jones that l would check into the charge with CSWE, one
of our accreditation bodies and UT Arlington. l wanted to ensure that there was not a rule
against this for our students

l then proceeded to ask Dr. Jones about a conversation he had with 2 UT Arlington students on
February 26, 2018. Dr. Jones, informed me that he met with the students to provide them with
their invoices for supervision. He stated that both students were upset about the charges but by
the end of the conversation, he felt they had reached an agreement. l then asked Dr. Jones did
he attempt to hug the students He stated that he was standing in between both students as
they were leaving the meeting and he put his arm around the students and told them they were
going to be ”okay". l informed Dr. Jones, that was inappropriate and he should not touch a
student unless he first asks Dr. Jones stated that he was not trying to be inappropriate but
wanted the students to know that he supported them. He further stated, that he would not let
that happen again.

As Dr. Jones and l were wrapping up, l informed Dr. Jones that Ms. Knighton would not be
returning as she was upset about the charges for weekly supervision and the conversation he
had with her and another student. Dr. Jones then stated that he had some concerns in regards
to Ms. Knighton and was not sure she was a good fit for the agency. Dr. Jones stated that Ms.
Knighton asked the therapist if she would be able to sign off on some extra hours Dr. Jones also
stated that Ms. Knighton was having inappropriate conversations while working, such as talking
about being intoxicated. He stated that he felt, Ms. Knighton was upset about having to pay the
money and reiterated that she has displayed inappropriate behaviors on more than one
occasion, even with clients and he did not feel she would a good fit for the agency. With Dr.
Jones voicing such concerns l asked him to complete an ”lnterruption of Field" form for the
student as she was going to be placed with a new agency immediately per her request. He
complied and sent over the form that afternoon.

On February 27, 2018, | immediate|y, asked all of the Field Advisors to work to find Ms. Knighton
a new placement. The Field Advisors found Ms. Knighton a new placement within February 28,
2018, and Ms. Knighton interviewed at the new placement on March 2, 2018. | had not talked
with Ms. Knighton as Kristen Terry had been in communication with the student. However, Ms.
Terry informed me that Ms. Knighton wanted to speak with me.

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 112 of 147 Page|D 112

On February 27, 2018, l contacted UT Arlington's Legal department to inquire about students
being charged for weekly supervision at their Field placements The Field Office also contacted
CSWE to inquire if there was a policy against this Both stated this was allowable.

On March 6, 2018, l received an email that included a grievance from Ms. Knighton. l spoke
with Dr. Woody about the grievance and informed her that we immediately moved the student
and she interviewed with another agency. However, the student was still waiting on a response
from the new agency as to if she would be accepted. l informed Dr. Woody that l had not had an
opportunity to speak with the student, but that Kristen, Natalie and Haydee had each been in
communication with the student consistently since she informed us of her concerns

l gave Ms. Knighton a call following my meeting with Dr. Woody. During my call with Ms.
Knighton, she proceeded to explain to me what happened during the evening of February 26,
2018 at the placement. She stated that Dr. Jones belittled and intimated her and another
student. She informed me that Dr. Jones stated to them that they would be responsible for
paying for their weekly supervision and it would be SZO/week. She stated that Dr. Jones handed
her an envelope with an invoice in it. She stated that she told Dr. Jones that she was not
informed that she would have to pay for weekly supervision and she did not agree with the
charges Dr. Jones stated to her that she was correct, since she did not have an interview, and
that is when the fee would have been discussed. Ms. Knighton stated that Dr. Jones then began
to give them a lecture on their values and how paying the 520/week was an investment in their
education. She stated he used examples of not buying coffee or McDonalds to afford the fee.
Ms. Knighton stated that she was very upset by his comments and after he tried to hug her.

l immediate|y, apologized to Ms. Knighton and explained to her that we are here to support
students and want to ensure that students feel safe. l further asked Ms. Knighton if she felt safe
and she stated she did, but that Dr. Jones may have her address due to running a criminal
background check. l informed Ms. Knighton, we could not request the paperwork since it did not
belong to the school. Ms. Knighton, went on to explain that she investigated Dr. Jones and
found that he was fired from Houston |SD due to not reporting child abuse within the school
where he was principa|. l informed Ms. Knighton that we were still investigating and trying to
contact her peers that were at the placement, l informed Ms. Knighton that Dr. Jones completed
an ”|nterruption of Field" form, due to some concerns he had in regards to her behavior. l told
Ms. Knighton, l asked Dr. Jones to complete the form so that we could move her to another
placement, but that she would not have to go before the professional standards committee and
we were simply going to place her at a new agency. Ms. Knighton stated that she understood. l
proceeded to ask Ms. Knighton how her interview was at the new prospective placement, Ms.
Knighton stated she felt it went well, but she was still very upset by the disruption and she felt
that showed during her interview. l told Ms. Knighton l understood and that we would support
her to find another placement quickly. Ms. Knighton stated the new placement would get back
with her in a week as they have a background process and paperwork that must be completed. l
informed Ms. Knighton to follow up with Ms. Terry, her Field Advisor as soon as she knew if she
could start the placement. Ms. Knighton and l got off the phone with the understanding that we
would assist her in getting a new placement as quickly as possible so that she would not have to
drop the course. | also, requested that Ms. Knighton look at the agencies we suggested when
she first completed her application with the Field Office. Ms. Knighton expressed that she was
having a difficult time coping, but explained she was feeling better and was going to get some
help. l informed Ms. Knighton to contact us if she needed anything."

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 113 of 147 Page|D 113

VI. WlTNESSES AND S|GN|F|CANT DOCUMENTS
Each of the three other students in Ms. Knighton’s Field placement were contacted concerning
the allegations in her complaint. None of the students reported feeling physically threatened by
or fearful of Dr. Jones They all stated Dr. Jones had belittled them and was verbally abusive at
times but did not fear for their safety.

They were never informed prior to February 26th of the charge for supervision. They felt his
actions were unethical in asking for money but not informing them prior to them starting or
they would have chosen another agency.

_confirmed that Dr. Jones attempted to hug her and Ms. Knighton after the
meeting on February 26th but she deflected his attempt. She mentioned how he was belittling
them and insisting since they had jobs they could afford to pay.

All students felt the communication from Social Work was not very good and the school could
have done a betterjob of reviewing agency prior to placement.

The students mentioned that the doors were locked but this was an after-hours facility. So they
assumed it was to keep people from coming in who didn't have an appointment.

Two of the students were able to be placed at another facility and are able to get the hours
necessary to complete program._was in the wrong placement to begin with due to a
mix up in registration. Attempts to place Ms. Knighton in another facility were unsuccessfu|.

Vll. ` ANALYS|S and FlNDlNG: V|OLAT|ON OF UN|VERSITY POL|CIES[PROCEDURES

A. Dr. Jones is not subject to UT policies and is only held responsible for the contractual
obligations specified in contract with School of Social Work to provide premises personne|,
services and all other items necessary for educational experience of students placed there.

The School of Social Work field education program specifies the credentials and practice
experience of its field instructors necessary to design field learning opportunities for
students to demonstrate program social work competencies. Field instructors for master’s
students hold a master’s degree in social work from a CSWE-accredited program and have 2
years post-master’s social work practice experience. For cases in which a field instructor
does not hold a CSWE-accredited social work degree or does not have the required
experience, the program assumes responsibility for reinforcing a social work perspective
and describes how this is accomplished

|n order to uphold the standard, Social Work requires all Field instructors to submit their
resume and complete an application in our student/agency tracking system, E-lntern. When
an agency has a Task Supervisor (in this case Dr. Jones), Social Work informs the Field
instructor (Ms. Kimberly Gillen) that they are responsible for the students' supervision and
documentation. However, the Task Supervisor may oversee some of the day to day duties of
the students and even assign duties that are approved by the Field instructor.

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 114 of 147 Page|D 114

The School of Social Work has terminated its relationship with Wellspring as a field
placement agency on March 12th due to the following reasons which were violations of
Educationa| Experience Affi|iation Agreement and standards stated above:
Multiple students (3 of the 4) stating they were not told about the weekly
supervision fee during the initial interview/orientation.
Dr. Jones, did not inform the School of Social Work about the fee and told the
students not to contact the School for anything that only the agency should contact
Social Work.
After discussion with Dr. Jones, Dr. Smith felt he was trying to intimidate the
students and insist that they pay the fee or they would not be able to find another
placement.
The School of Social Work received further information that the students were not
receiving weekly supervision from the Field |nstructor, the students were only being
supervised by Dr. Jones This is a violation of the CSWE accreditation standards as
Dr. Jones does not have the proper credentials to be a Field instructor for Social
Work students

B. Dr. Smith followed the proper procedures for Social Work to remove Ms. Knighton from the
facility. Dr. Smith's contact with Mr. Jones was to confirm that he was charging students for
providing outside supervision which had not been disclosed prior to the signing the
agreement with Social Work. Once the other students confirmed Ms. Knighton’s complaint
she discontinued UT Arlington's association with facility and removed remaining students
Dr. Jones brought up his concerns about Ms. Knighton before Dr. Smith mentioned concerns
about charging students and inappropriate behavior.

C. Ms. Knighton alleges that Dr. Smith's contacting Dr. Jones put her and the other students at
risk. However none of the other students felt that they were in any danger from Dr. Jones
Ms. Knighton continues to fear for her safety and fears Dr. Jones will try to harm her.
However it should be noted that Dr. Jones has not had any further contact with Ms.
Knighton since February 26th and has not talked to any of the other students since March lst.

D. Dr. Smith has taken no action on the lnterruption of Field Placement Form that was sent by
Dr. Jones Ms. Haydee Hall (Field Liaison) had concerns about this form being filed by Dr.
Jones She stated in an email dated April 16, 2018 that there was a difference between her
conversation with the Field lnstructor Ms. Gallien and what was written on the form. A copy
was sent to Ms. Knighton per her request on April 16, 2018. The form was not submitted to
the professional standards committee as was told Ms. Knighton by Ms. Terry. Dr. Smith held
on to the form because of her and Ms. Hall's concerns with agency and the form was not
placed in Ms. Knighton’s student record.

E. Ms. Kristen Terry reported Ms. Knighton’s complaint to her supervisor Dr. Smith which was
the appropriate action to take concerning this matter. However Ms. Terry handling of
placing students at another agency did show a lack of insensitivity to the situation the
students were facing. instead of sending the students an individual email to check on their
status she sent a group email describing each student's situation.

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 115 of 147 Page|D 115

Vlll. CONCLUS|ON AND RECOMMENDAT|ONS

Dr. Jones is not subject to the policies of the University of Texas at Arlington but Dr. Smith acted
promptly when she received the complaint from Ms. Knighton to remove her from the
placement at Wellspring.

Ms. Kristen Terry is no longer an employee of UT Arlington. She resigned April 18, 2018 to take a
position with another organization. She did not violate any of the policies or procedures prior to
leaving university. She was responsible for reporting complaint to Dr. Smith which she did. Her
handling of placing students after Wellspring could have better.

lt is EOS determination that Dr. Smith did not violate either of UT Arlington's policies in her
actions to help Ms. Knighton with her complaint against Dr. Jones and his agency. She acted
according to School of Social Work policy and procedure to take prompt action regarding Ms,
Knighton’s complaint. Even though she didn't report to Equal Opportunity Services or Title lX
she did consult with the University's legal department.

The interruption of Field Placement Form that was sent by Dr. Jones to Dr. Smith should not
have been sent to Nis. Knighton or be a part of her file. The form was not submitted to the
professional standards committee which would have been the procedure had Ms. Knighton’s
complaint not been confirmed. Also, Ms. Hall sent a follow up email pointing out the
discrepancy in the Field lnstructor's verbal evaluation verses what was written on the form
which was a factor in no action being taken against Ms. Knighton.

it is recommended that Ms. Knighton be refunded her tuition costs related to this placement.
The two students that were able to be place at another agency were able to complete the
required hours Ms. Knighton should also be given access to additional counseling services
should they be needed.

There are other recommendations that will be discussed with the Dean of Social Work
concerning process of selecting and monitoring field placements and agencies

 

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 116 of 147 PagelD 116

Attachment i:
Response to Complaint filed by Jenifer Knighton by Dawnetta Smith, Assistant Dean on April 30, 2018.

On February 27, 2018, l was informed by Kristen Terry, the then Field Advisor for BSW/Foundation MSW
students that the students at Wellspring Counseling were being charged for their weekly supervision.
She also informed me that an inappropriate conversation took place with two of the students at
Wellspring, where the CEO, Dr. David Jones, belittled the students Kristen further explained that one of
the students felt violated because the CEO attempted to hug her, and she wanted a new piacement. l
immediately contacted the agency, Dr. Jones specifically, as i wanted to get a better understanding of
what was happening as we had three other students placed at the agency.

On February 27, 2018, | called and spoke with Dr. Jones, CEO of Wellspring Counseling. Before we began
our conversation, Dr. Jones stated, l am so glad you called me l have some concerns with one of your
students He stated for me to continue with the reason for my call and he would address his concerns
after. l proceeded to ask Dr. Jones, if the agency charged students for weekly supervision. To which he
replied; yes we have always charged students for weekly supervision and after-hours services He stated
that he had two contracted therapists one being a LMSW, and the therapist charges students for
supervision since they keep their doors open to accommodate working students l asked him, if he
informed the previous Assistant Dean about this and he stated ”no"; it was an agreement between his
agency and the students Mr. Jones stated that the students are informed of this before beginning their
hours l asked him if the students signed an agreement with this information and he stated ”no". He
informed me that he has students from various universities such as UH and any student needing to
complete hours after the traditional work hours and have weekly supervision are charged 520/week for
supervision. He went on to state that one of the students Ms. Knighton, was not informed of this
because she did not attend the orientation. He stated Ms. Knighton contacted him just before the
semester was to start and he told her she could start the following week. He stated l also have some
concerns with this student. l stated to Dr. Jones, that | understood and while l did not agree with this
policy, he needed to have sent the Field Office this information upfront and he needed to put something
in writing so students understood this and were not blindsided with an invoice. l further informed Dr.
Jones, that l would check into the charge with CSWE, one of our accreditation bodies and UT Arlington. |
wanted to ensure that there was not a rule against this for our students

l then proceeded to ask Dr. Jones about a conversation he had with 2 UT Arlington students on February
26, 2018. Dr. Jones, informed me that he met with the students to provide them with their invoices for
supervision. He stated that both students were upset about the charges but by the end of the
conversation, he felt they had reached an agreement. l then asked Dr. Jones, did he attempt to hug the
students He stated that he was standing in between both students as they were leaving the meeting
and he put his arm around the students and told them they were going to be ”okay". l informed Dr.
Jones that was inappropriate and he should not touch a student unless he first asks Dr. Jones stated
that he was not trying to be inappropriate but wanted the students to know that he supported them. He
further stated, that he would not let that happen again.

As Dr. Jones and l were wrapping up, l informed Dr. Jones, that Ms. Knighton would not be returning as
she was upset about the charges for weekly supervision and the conversation he had with her and
another student. Dr. Jones then stated that he had some concerns in regards to Ms. Knighton and was

 

 

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 117 of 147 PagelD 117

not sure she was a good fit for the agency. Dr. Jones stated that Ms. Knighton asked the therapist if she
would be able to sign off on some extra hours Dr. Jones also stated that Ms. Knighton was having
inappropriate conversations while working, such as talking about being intoxicated. He stated that he
felt, Ms. Knighton was upset about having to pay the money and reiterated that she has displayed
inappropriate behaviors on more than one occasion, even with clients and he did not feel she would a
good fit for the agency. With Dr. Jones voicing such concerns i asked him to complete an ”lnterruption
of Field" form for the student as she was going to be placed with a new agency immediately per her
request. He complied and sent over the form that afternoon.

On February 27, 2018, l immediately, asked ali of the Field Advisors to work to find Ms. Knighton a new
placement. The Field Advisors found Ms. Knighton a new placement within February 28, 2018, and Ms.
Knighton interviewed at the new placement on March 2, 2018. l had not talked with Ms. Knighton as
Kristen Terry had been in communication with the student. However, Ms. Terry informed me that Ms.
Knighton wanted to speak with me.

On February 27, 2018, l contacted UT Arlington's Legal department to inquire about students being
charged for weekly supervision at their Field placements The Field Office also contacted CSWE to
inquire if there was a policy against this Both stated this was allowable.

On March 6, 2018, l received an email that included a grievance from Ms. Knighton (piease see
attached). l spoke with Dr. Woody about the grievance and informed her that we immediately moved
the student and she interviewed with another agency. However, the student was still waiting on a
response from the new agency as to if she would be accepted. i informed Dr. Woody that l had not had
an opportunity to speak with the student, but that Kristen, Natalie and Haydee had each been in
communication with the student consistently since she informed us of her concerns

| gave Ms. Knighton a call following my meeting with Dr. Woody. During my call with Ms. Knighton, she
proceeded to explain to me what happened during the evening of February 26, 2018 at the piacement.
She stated that Dr. Jones belittled and intimated her and another student. She informed me that Dr.
Jones stated to them that they would be responsible for paying for their weekly supervision and it would
be 520/week. She stated that Dr. Jones handed her an envelope with an invoice in it. She stated that she
told Dr. Jones that she was not informed that she would have to pay for weekly supervision and she did
not agree with the charges Dr. Jones stated to her that she was correct, since she did not have an
interview, and that is when the fee would have been discussed. Ms. Knighton stated that Dr. Jones then
began to give them a lecture on their values and how paying the 520/week was an investment in their
education. She stated he used examples of not buying coffee or McDonalds to afford the fee. Ms.
Knighton stated that she was very upset by his comments and after he tried to hug her.

l immediately, apologized to Ms. Knighton and explained to her that we are here to support students
and want to ensure that students feel safe. l further asked Ms. Knighton if she felt safe and she stated
she did, but that Dr. Jones may have her address due to running a criminal background check. l informed
Ms. Knighton, we could not request the paperwork since it did not belong to the school. Ms. Knighton,
went on to explain that she investigated Dr. Jones and found that he was fired from Houston |SD due to
not reporting child abuse within the school where he was principal. l informed Ms. Knighton that we
were still investigating and trying to contact her peers that were at the placement. l informed Ms.
Knighton that Dr. Jones completed an ”interruption of Field" form, due to some concerns he had in
regards to her behavior. l told Ms. Knighton, l asked Dr. Jones to complete the form so that we could
move her to another placement, but that she would not have to go before the professional standards

 

lO

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 118 of 147 PagelD 118

committee and we were simply going to place her at a new agency. Ms. Knighton stated that she
understood. l proceeded to ask Ms. Knighton how her interview was at the new prospective placement,
Ms. Knighton stated she felt it went well, but she was still very upset by the disruption and she felt that
showed during her interview. l told Ms. Knighton i understood and that we would support her to find
another placement quickly. Ms. Knighton stated the new placement would get back with her in a week
as they have a background process and paperwork that must be compieted. l informed Ms. Knighton to
follow up with Ms. Terry, her Field Advisor as soon as she knew if she could start the placement. Ms.
Knighton and l got off the phone with the understanding that we would assist her in getting a new
placement as quickly as possible so that she would not have to drop the course. | also, requested that
Ms. Knighton look at the agencies we suggested when she first completed her application with the Field
Office. Ms. Knighton expressed that she was having a difficult time coping, but explained she was feeling
better and was going to get some heip. l informed Ms. Knighton to contact us if she needed anything.

March 6-16, 2018, after the conversation with Ms. Knighton, | checked back with the Field Advisor to see
if she had started her new placement. The Field Advisor informed me that she called and emailed the
contact at the new placement and he would be out until Monday, March 19, 2018; but that she was
working to find other alternatives for all of the students

March 19, 2018, The Field Liaison for Ms. Knighton reached out to her Field Advisor to inquire about the
status of Ms. Knighton’s placement. The Field Liaison was concerned that Ms. Knighton may not be able
to complete her hours by the end of the semester. The Field Advisor provided the Liaison with an update
on Ms. Knighton. At that time, the Field Advisor still had not heard back from the contact at the new
placement.

On March 21, 2018, l asked the Field Advisors to look for other placements for the students as none of
them had moved to a new |ocation. However, 2 of3 students had interviewed and were waiting to hear
back from the agencies they interviewed with. Ms. Knighton emailed her Field Advisor stating that she
had contacted the agencies we recommended to no avail (see email attached).

On April 4, 2018, after about 2 weeks of no communication from any of the students including Ms.
Knighton, The Field Office informed Ms. Knighton and the other students they needed to complete the
240 hours for the course requirement by May 11"', if they did not feel this was feasible to contact their
Academic Advisor about dropping the course.

On April 5, 2018, Ms. Knighton emailed the Field Advisor back very upset by the email sent over (see
attached). l responded to Ms. Knighton by informing her of the options she had to try and find a
placement to complete her hours by May 11th or to drop and roll over the hours she accrued previously
once she is ready to continue her practicum hours (see attached).

April 8-13, 2018 l received an email from Ms. Knighton requesting a meeting, asi was working to
schedule the meeting. l received another communication from Ms. Knighton stating she was meeting
with her Academic Advisor to drop Field. l emailed Ms. Knighton providing her with a time to meet, but
also asked if she needed to meet since she was planning to drop Field. Ms. Knighton emailed me back
stating she was not available at the time. This was my last communication with Ms. Knighton.

On April 16, 2018, l emailed Ms. Knighton to follow up in regards to meeting with the MSW Director and
myself. On this same day, Ms. Haydee Hall, called and spoke with me, she stated Ms. Knighton was
having a hard time adjusting after the disruption in her placement and Ms. Hall stated that she felt Ms.

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 119 of 147 PagelD 119

Knighton needed to take a break in order to improve her mental health. Ms. Hall stated that the student
had relapsed with her bulimia due to the incident at Wellspring. Ms. Hall also informed me that Ms.
Knighton was receiving assistance for this Ms. Hall stated she would email me once she spoke with Ms.
Knighton.

On April 24, 2018, Ms. Knighton emailed the Director of the MSW program to inquire about next steps
The Director emailed me and we spoke and agreed that the student should be allowed to keep her
hours and should drop this semester as this was Ms. Knighton’s plan according to the email.

[Z

 

 

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 120 of 147 PagelD 120
UNWERS"Y OF EOUAL OPPORTUN|TY SERV|CES

TEXAS

wife
' \ ARLINGTON

May 23. 2018

Ms. Jenifer Knighton
19543 Cabra Court
Kathy. Texas 77449

Hi Ms. Knighton.

"I` he Office ot` Equal Opportunity Services (EOS) has completed its investigation of the complaint
filed by you against Dr. David Jones. Owner and agency contact for Wellspring Community
institute; Dr. Dawnetta Smith. Assistant Dean School of Social work; and Ms. Kristen Terry,
Academic Advisor lll in the School of Social Work on allegations ot`discrimination based on race
and disability, retaliation and sexual harassment and sexual misconduct

You reported that Dr. Jones was unprol`essional. unethicai, verbally abusive, intimidating and
extremely inappropriate by hugging student interns i-Ie also requested that students were to pay
$20 a week to pay t`or licensed supervision. You also alleged that Ms. Terry and Dr. Smith did not
report the complaint to the EOS or Title IX Coordinator and they failed to follow UTA policy and
procedure.

Since Dr. Jones is not an employee of UT Arlington he is not subject to the policies of the
University. However the University’s use ot`Wellspring as a placement agency has been
terminated. Ms. Kristen Terry is no longer an employee ot` U'l` Arlington. She resigned April 18.
2018 to take a position with another organization. She did not violate any of the policies or
procedures prior to leaving university She was responsible for reporting complaint to Dr. Smith
which she did,

Dr. Smith did not violate UT Arlington’s policy related to Non-discrimination in her actions to
help you with your complaint against Dr. Jones and his agency. She was required to discuss the
incident with Dr. Jones per the School oi` Social work procedures Even though she didn’t report
to Equal Opportunity Services or Title lX she did consult with the University`s legal department

The final report is available t`or your review should you have any questions or additional
information regarding your complaint You have 10 days to provide any additional information
which could change the outcome of this investigation Otherwise the investigation will be
considered ciosed.

As you know. retaliation against individuals who have filed a charge, or participated in an
investigation or opposed any unlawful practice is prohibited and will subject the person who
retaliates to disciplinary action.

EOUAL QPPORTUNITY SERV|CES ; li‘e ._lnl\.'ersitv ot le.vas at Arlinqtor' 80.><¢¢19569 715 5 Da..=v,- D'. Arl naion_ TX 760 TQ

i

l _ - , l

s T 317 272 Z‘Cio F S"¢' 272»5>306 “'?tD //".'\."~.‘t“',d-‘ ..ia erl»:/"\r-'eos
l

 

 

Case 4:18-'cv-00792-Y Document 1 Filed 09/24/18 Page 121 of 147 PagelD 121

Sincerely, <.~» "7

aff n f!' m~ 1 7 ` ."_ 7 …..________-~_....
Eddie Freeman
Executive Director. Employment & Equal Opportunity Services

 

la

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 122 of 147 PagelD 122

Exhibit B

 

 

 

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 123 of 147 PagelD 123 1

APPEAL OF COMPLA|NT iNVESTlGAT|ON AND DETERM|NAT|ON May 24l 2018
A= Jenifer Knightgn's Aggeal May 29l 2018'l

l am a white, female student enrolled in The University of Texas at Arlington, Masters of Social Work
Program Online Cohort. l had/have no prior history or reports of misconduct of any kind, at UTA or
otherwise. l had a solid academic record and | was planning on furthering my education following
my graduation in the Spring of 2019, l needed to successfully complete my Field Placement and
internship during the four-term time frame to graduate.

Although David Jones was not a UT Arlington employee, he is the owner of Wellspring Famiiy and
Community lnstitute, a previously affiliated agency of UT Arlington. He would be considered a third
party. Per UTA Policy 5-513, as a responsible employee, Dr. Smith was required to contact the Title 9
coordinator, instead she contacted David Jones whom was not the field instructor for the affiliated
agency. The signature of the field instructor on the learning contract are inconsistent with the
signature on the interruption of field placement that was filed against me, signed and dated on
February 27, 2018, the same day that l reported abuse, sexual harassment, and extortion.

Dr. Smith contacted the UTA legal department to ask about the students being charged which she
states was permitted, however in an email sent by Amy Lopez to one of the affiliated agencies on
March 21, 2018, she states that charging students was against policy.

My civil rights were violated; l was sexually harassed by owner of Wellspring Famiiy and Community
lnstitute, a UTA Affiliated Agency; The University of Texas at Arlington has failed to address ali of my
concerns Dr. Dawnetta Smith (Assistant Dean for School of Social Work) engaged in an intentional
tort and fabricated my own words in her response to a complaint that i previously filed.

As a result of the above-described conduct, l have suffered and continue to suffer, great pain of
mind and body, physical injury, shock, emotional distress physical manifestations of emotional
distress embarrassment, loss of self~esteem, disgrace, nightmares, suicide ideation, humiliation,
and loss of enjoyment of life; l have suffered and continue to suffer spiritua|ly; l was prevented and
will continue to be prevented from performing daily activities and obtaining the full enjoyment of
life; l had to cancel my planned vacation that l had already purchased airfare for; l have incurred
extra childcare expenses; l was left with no other option other than to withdraw from my field
course. l had to take an unpaid leave of absence from work. l have sustained and will continue to
sustain loss of earnings and earning capacity; and/orl have incurred and will continue to incur
expenses for medical and psychological treatment, therapy, and counseling. l am requesting for
damages; punitive damages; Loss of lncome; l am also requesting a formal apology letter from the
School of Social Work and UTA. l am requesting that the allegations against me are dissolved of and l
would like that in writing. if the University of Texas At Arlington does not take my concerns
seriousiy, l will be forced to take further action.

g
l. The University discriminated against me based on sex when it failed to respond to my
February 2018 complaint of sexual harassment by the owner of the UTA approved
affiliated agency where l was assigned to complete my practicum;

Jenifer Knighton’s Appeal 05/29/2018

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 124 of 147 PagelD 124 2

ll. The University discriminated against me based on race when it failed to respond to my
February 2018 complaint of sexual harassment by the owner of the UTA approved
affiliated agency where | was assigned to complete my practicum;

lll. The University discriminated against me based on race when it failed to respond
appropriately to my reports that the agency owner tried to extort money from me and
another student;

lV. The University discriminated against me based on disability when the School of Social
Work denied my request for any accommodations for my disability (e.g., my request to
extend the deadline for me to complete the necessary hours for my practicum); and

V. The University retaliated against me by denying my request to extend the deadline for
me to complete the necessary hours for my practicum because i reported sexual
harassment to the School of Social Work in February 2018.

g Reievant information

 

On January 16, 2018, i started the Spring field placement at Harbor Hospice with field instructor Brenda
Galindo MSW.

On January 26, 2018, i (Jenifer Knighton) received a call from David Jones Owner of Wellspring Famiiy
and Community institute LLC. (an affiliated agency of UTA, The University of Texas at Arlington, School
of Social Work). David Jones offered me an internship with the working hours of Monday- Friday from
4:00PM to 8:00Pl\/l and Saturdays from 9:OOAM to 2:00PM. David .lones asked me to come in for
orientation and i explained to him that l had found a placement but l would be open to check it out.

On January 27, 2018, l attended an orientation at Wellspring Famiiy and Community institute LLC. (440
Benmar Dr.) in Houston, TX with David Jones, Carolyn Smith LPC-S, Kimberly Gallien LCSW, Board
Member, 3 students from (UTA) and 1 student from Sam Houston State University.During orientation
we (the students) were told that we would be meeting with David Jones and Carolyn Smith weekly and
bi~weekly with Kimberly Gallien. Ms. Gallien was the assigned Field instructor for UTA.

On January 29, 2018, l met with David .lones to talk about beginning my internship and sending
paperwork to school. l emailed Kristen Terry to inquire about transferring to Wellspring. l Contacted
Brenda and consulted with her about moving to the new placement. She was supportive of my transfer
because of the idea that l would be getting more clinical skills

On January 30, 2018, l submitted form to transfer field placement from Harbor Hospice to Wellspring.

in February of 2018, there were occasions that we (interns) were locked in the office with David Jones in
the evening. There was a deadbolt lock on the door that could only be opened with a key from the
inside and outside. When l questioned David Jones, he told me that the cleaning people were the ones
that locked the door. l contacted the property management company and they said that the door is not
locked when people are in the office due to safety reasons David iones made it clear that he knew if we
did not complete our internship hours we would not graduate and we would faii. David Jones told us
that nobody wanted us because we were non-traditional students and he was doing us a favor so he

Jenifer Knighton’s Appeal ' 05/29/2018

 

 

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 125 of 147 PagelD 125 3

should be the one getting paid. David Jones hugged me in the beginning of my internship. l felt
uncomfortable but l was scared to tell anyone. | needed to complete the hours for my internship and l
feared that my academic career would be in jeopardy if i reported David Jones My classmate told me
that she had a creepy feeling about David Jones and that she was also afraid to tell.

On February 1, 2018, l met with David Jones to discuss my available hours and new programs/projects
that we would be working on. David .iones made it clear that we were not to contact the school for
anything, that we needed to go through him and let him take care of things

February 6, 2018 was my first official day at Wellspring. David Jones made me complete a psychosocia|
assessment on a 7-year-old child while ' '~'as in the room and without supervision while
he counseled another family.

On February 9, 2018 l went to Valentine's Day party representing Wellspring at The Villas. (diverse
senior citizen community).

On February 10, 2018, i met with Kimberly Gallien for the first time at a local library for group
supervision and to sign our learning contract. l asked Kimberly if they could partner with an organization
that l volunteer at so that we could complete projects for hours Kimberly told me that she would have
to double check with David Jones i asked Kimberly if she was supposed to sign off on my hours from the
previous internship. We talked about expectations and goals l found out that Ms. Gallien did not work
at Wellspring, she was contracted to provide supervision to the interns and sign off on the required
hours

On February 12, 2018, l sent an email to Haydee Hall asking her about transferring my hours from the
previous internship. "Originaily, l started my internship with another organization. How would l submit
those hours and supervision logs? Thank you."

A client’s mother called for a phone conference that i was ordered to take over. l paraphrased some
things with her to make sure that l was understanding her correctly. When the phone call ended David
Jones verbally insulted and belittled me in front of another intern. David Jones told me that l should not
have asked her questions and that l was going to do things his way. He told me that l had
institutionalized thinking and he began to criticize my place of employment. David Jones said something
in similarity to me not knowing my purpose in life. He then said that he terminated an intern for
following state procedure as a mandated reporter. He said that things were going to be done his way
because he was the owner and nobody could fire him, David Jones said that if we didn’t like it, we had
the key to the door and we could unlock it and leave.

On February 13, 2018, l received a text message from David Jones stating ”Ms. Knighton, last minute
schedule change; No internship tonight, report on Thursday. i sent a message to Audrey Coleman and
asked if her internship had been canceled as well and she confirmed that it had not.

On February 16, 2018, l submitted my weeklyjourna| # 3 expressing some of my concerns
On February 19, 2018, A Client from previous week came in for services with mother. They liked me and
were excited for me to be working with them. Prior to meeting with them Dr. Jones met with me and

_ He set it up as if it were a role play, he told us where we were going to sit, how i was going to sit
and him and Audrey were going to watch me while l was providing services David .iones stated that he

Jenifer Knighton’s Appeal 05/29/2018

 

 

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 126 of 147 PagelD 126 4

was glad that they came since we almost lost them because of me, l began to feel uncomfortable and l
asked him politely if i could shadow him so that l could do things the right way or how he wanted me to
do them. David Jones yelled ”Oh no, no, no Ms. Knighton, you are not going to take over the show here.
No, Ma’am.” That evening .` was in the room.

On February 20, 2018, l received a text message from David .iones confirming an assignment he sent me
via email and telling me not to come in that he would give me the 4 hours credit. He requested the
information of my Licensed Chemical Dependency Counselor intern License and contact information for
one of the shelters that i do outreach at so that Wellspring could possibly partner up with the
organization. i completed my background check with ldentigo, the information was sent to David Jones
at Wellspring.

On February 23, 2018, David Jones requested for me to call client before he went into treatment to wish
him well. l did as he asked. l had a phone supervision with Kimberly Gallien. We talked for an hour about
my goals and aspirations l told her that l wanted more clinical skills and learning to complete notes She
said that she was excited for me and she saw my passion l had for peopie. She said that i was doing well.

On February 24, 2018, l submitted my journal entry # 4.

On February 26, 2018, l went to my internship at Wellspring as usual. l was assigned to email Mr. Jones
copies of brochures that l found as he was going to use them to coov information to build his own
brochure. The people present on this clay were David ` and myself. i was scroiling
through the brochures and David Jones made the comment that maybe i needed a coffee fix because l
was moving at a fast pace caused by ADHD. i did not respond to him. David Jones assigned me and

to go through the brochures again and highlight certain information. We were scheduled to
leave at S:OOPM. Approximately ten minutes before 8:OOPM, David Jones came into the office and
handed me and _ _ an envelope. As l opened the envelope and looked l thought ”oh, wow it's a
stipend." l pulled out the paper and it was a bill for $100. l asked David Jones and he said it was a
stipend for supervision. l was confused and told him that we weren't supposed to be charged. He said
that he told everyone that they would have to pay for Kimberly to sign off on hours. David Jones said,
”weli Ms. Knighton, maybe you were at a disadvantage because you didn't have an interview but
everyone else did and they all knew." . . , looked at him and said that he did not inform her either.
He insisted that he did and if he didn’t then we were told during orientation. David Jones told me that if
l didn’t pay l would not get credit for my intern hours that l had already completed. .‘. _ . , kept telling
him ”Dr. Jones if you would have said anything about money l would have remembered." He looked her
in the face and said l told you, i know l did when i interviewed you. David Jones was twirling a key on his
finger, the key dropped and he picked it up and started |aughing. l sat down next t and l tried to
reach for my cell phone but i felt paralyzed, l was scared. David Jones became irate and told us that he
knew we both had money and that we were either going to pay him or we could leave and not come
back. He told us that we had no values and ' t , again told him that he did not tell her and she asked
him ”how can you tell me l don't have values Dr. Jones, l took a $30,000 pay cut to finish school.”David
Jones said that he was keeping it real because he was nothing but real and that he should be the one
getting paid for having to be with us late at night. He told us that nobody wanted us because we were
nontraditional students David Jones said, ”lt’s only $4 a clay and you spend more than that on lunch."
He said to y ”what are you going to do when your kids grow up, tell them their mom chose a $4
hamburger over her master’s degree?” David Jones said it was ok if we didn’t pay, we just wouldn't get
credit for any of the weeks that we didn't pay for including the previous weeks l was scared by the look

Jenifer Knighton’s Appeal 05/29/2018

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 127 of 147 PagelD 127 5

on David Jones' face and in his eyes l felt numb and | felt violated. The look on his face compared to that
of a rapist or a child molester. David Jones kept us an hour over our usual scheduled time. Shortly before
9:OOPM David Jones looked up at the clock and said, ”Ok let’s wrap it up.’ ,, and David Jones
walked to the front while l gathered my things and turned off the electronics l walked to the front and
David Jones was hugging »' ` l-le then walked up to me and attempted to hug me and said,
"don't let this stop you from coming back." When l got in my car | burst in tears and as soon as l left the
parking lot of Wellspring, i contacted We both agreed that we had to be courageous
and report what happened.

On February 27, 2018, l cried my whole way to work. l talked to my supervisor and told her that l
needed to go home because l wasn’t feeling well. l contacted Haydee Hall (UTA Field Liaison) via
telephone that morning. l burst out in tears and told her everything that happened on February 26,
2018. l told her l was not alone and that l was so scared.

Haydee Hall told me that she was going to contact the field office and see what needed to be done. She
told me that it was good that i called and reported it and that what happened at Wellspring was not ok.
Haydee Hall sent text message me to inform me that she had spoken to Kristen Terry and that Ms. Terry
would be talking to Dr. Dawnetta Smith and that there would be an answer on how to proceed later that
day. Haydee Hall contacted Kimberly Gallien and told her that she wanted to check on how things were
going with me. Ms. Gallien reported that i was doing very well.

l returned a missed call from Kristen Terry and explained everything that happened at Wellspring with
David Jones to her as well. Kristen Terry told me that Dawnetta Smith (Assistant Dean for School of
Social Work) had already contacted David Jones and that there was going to be an interruption in my
internship. l told her no, that l did not want that on my file because l did not do anything wrong but she
said that it was procedure.

However, this is not correct. When a student no longer wants to continue at a field placement there is a
specific form for the student to fill out. The form can be found on the UTA SSW website as well as in the
SSW handbook.

Kristen Terry told me that her and Dr. Smith would be contacting me to have a level two meeting to
discuss my behaviors at Wellspring. Kristen Terry sent me an email confirming that l would be contacted
by Dr. Smith to schedule a Level ll meeting. Dr. Smith was cc'd on the email.

On February 28, 2018, l was contacted by l ' another UTA student completing her
internship at Wellspring. CC informed me that she received a call from Kristen Terry telling her that she
heard there was a problem at Wellspring and if she could work it out. According to '.;`., '<risten Terry also
sent her a ”weird" email asking her if she was ok with paying. The other 3 UTA students were told to go
back to Wellspring to continue field placement. l also received a text message '

stating that Dr. Jones told her he had spoken to Dr. Smith and they had worked someuu..g ..__ ..,g_. .Fing
her fee sent me a message stating that it was very scary.

On February 28, 2018, l contacted Kristen Terry and gave her information that l had found out about

David Jones' background l told her that he was deceitful because he lied about who he was and l was
scared. l asked if the field office did their due diligence before affiliating agencies

Jenifer Knighton’s Appeal 05/29/2018

 

Case 4:18-cv-OO792-Y Document 1 Filed 09/24/18 Page 128 of 147 Page|D 128 6

Kristen Terry told me that they did not have the time nor the resources and that she had told me the
day before that her and Dr. Smith were going to contact me. | never heard back from them. | received a
call from Natalie Eve in the field office giving me a phone number to call an agency to interview with.
David Jones went into my personal Gmail email account and changed the password, recovery address,
downloaded the files and deleted the account. | recovered the account. l contacted Haydee Hall and |
told her that they never called me and they didn't reach out to any other students. Dr. Smith went
directly to David Jones and told him that l reported him.

On March 1, 2018, | made contact with Haydee Hall informing her that l never received a call from
Kristen Terry and Dr. Smith. | also let her know that l went to the interview at Memorial Hermann and l
was still trying to process everything that transpired at Wellspring. She replied that she also had not
heard back from them. l also received a text message fro stating that David Jones sent
her a message telling her that her fees were covered. She also stated that he was lying and it was like he
was just trying to lure her there.

On March 2, 2018, l Sent an email to Kristen Terry expressing my concerns. (Mistakenly sent from
personal email.) Kristen Terry responded by telling me to make sure to go through and send email
through the UTA school email and that Natalie found an agency willing to interview me. She said that
she would let Dr. Smith address the rest. Kristen Terry also CC’d Dr. Smith on the email. l received an
email from Haydee Hall that she was still waiting on final word from field office.

On March 6, 2018, l filed a grievance with the Office of Community Standards, Dean of Student Affairs.
Dr. Dawnetta Smith and Kristen Terry were both included in the email.

On March 7, 2018, | contacted Haydee Hall and let her know that | sent an email to the person l
interviewed with at Memorial Hermann. l also let her know that | never received a call from Dr. Smith
and Kristen Terry never called me back.

On March 9, 2018, | received an email response to my grievance from Debra Woody telling me that she
had contacted faculty at the School of Social Work and everything was taken care of and that they had

found me a placement but l still had not been placed at another organization. Dean Ryan Scott and Dr.
Dawnetta Smith were included on the email.

On March 12, 2018, l received the first call from Dr. Dawnetta Smith after two weeks of waiting
(recording of call available upon request).j' '

On March 21, 2018, l made contact with Haydee Hall and informed her that | still had not found a
placement. | also informed her that l had filed a police report on David Jones and l was struggling with
depression because of everything that happened. l received email from Kristen Terry:

”Hello, nd Jenifer.
l hope you both are doing well. We have heard from the following agencies that are willing to interview
you. We would like you two to interview by Friday so you can hopefully start Monday and not get any

further behind your hours. We may have other options coming in.
Please choose which one you'd like to interview with and keep us posted of your progress:"

Jenifer Knighton’s Appeal 05/29/2018

 

Case 4:18-cv-OO792-Y Document 1 Filed 09/24/18 Page 129 of 147 Page|D 129 7

My Response to Kristen Terry: l called Adrianna at Fort Bend and left a voicemail. l also followed up with
Chris at Memorial Hermann but have not got a response. l left a voicemail for him today. Galveston is
almost 2 hours away from my home not including traffic. Fort Bend is an hour not including traffic. lt
would be feasible if l can work out schedule. l will talk to my supervisor about taking Friday off with such
short notice. Also, can we complete CEUs to make up for some of the hours while we are looking? l have
called a few shelters that l go to for outreach but they are all full. l tried to contact a lady from the
agency l work at but l havent had much luck. l will continue to work on what l have as well in regards to
resources.

On March 23, 2018, l contacted Haydee Hall and asked her if she had heard back from the school
regarding my hours and supervision. | also expressed my concerns of the expectations being unrealistic.

On April 4, 2018, l received a group email from Kristen Terry disclosing personal information. She stated

that she wanted to make clear the urgency of the matter and that if we did not complete 240 hours by

May 11"‘ then it would result in an automatic failure or we could drop the course. She further stated

that this was a policy for all students. l still had not been placed at a new agency` ` ' and
'esponded to group email.

On April 5, 2018, l responded to Kristen Terry's email expressing my concerns for her lack of sensitivity
due to the circumstances. l also reiterated that l was a victim of abuse and the only option the school
was giving me was to be penalized for doing what was right. l received a response to the email from Dr.
Smith reinforcing that if my hours were not completed ”the only option is to receive an F for the course
as UT Arlington Policy does not allow withdraws for field courses.” Dr. Smith stated that | could
withdraw from field and roll over the hours.

On April 6, 2018, l received an email from Natalie Eve stating that l had five weeks to complete the
remainder 145 field hours. l still had not found a new placement.

On April 8, 2018, l responded to Dr. Smith's email and explained to her that l was proactive in searching
for a new placement. l asked why l had not been contacted by anyone to check on my well-being. l also
made her aware that l was having severe depression and an eating disorder relapse caused by the
events that had occurred at the field placement and the response that | received from the school.
Furthermore, l explained that l was aware of the policy on field courses, but due to the traumatic
experience that | endured at a UTA approved agency, l expected that there would have been other
options in favor of the students other than receiving an F and losing the time and money that had been
invested. l also requested to know why l was not able to complete the course and roll over the hours if l
was offered to withdraw from the course and roll over the hours.

On April 9, 2018, l responded to Natalie Eve’s email and expressed to her that the number of hours that
they were expecting me to complete was equivalent to that of a block placement and it was an injustice
to me and the other students that were pulled from Wellspring. | told her that what they were expecting
was unrealistic and unfair and they were not taking into consideration the wellbeing of the students. l
sent a group email to Kristen Terry, Natalie Eve, and Dr. Smith about field placement interview that | had
at an agency. l explained that while the agency was willing to assist me in completing my field
placement, the number of hours that they were asking me to complete in the field office was unrealistic.
l reiterated that the interruption in my field placement was not my fau|t. l also informed them that the

Jenifer Knighton’s Appeal 05/29/2018

 

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 130 of 147 Page|D 130 8

process to begin with the new placement would take at least a week, leaving me with 145 hours to
complete in 4 weeks, that is more hours that is required for individuals that are completing a block
placement. Again, l asked why l was not able to continue the class and complete as many hours as
possible and rollover the hours. l also explained that the expectations that were put on me were not
appropriate. | requested to speak to someone in regard to the matter.

On April 10, 2018, l received an email from Dr. Smith asking me for dates and times to schedule a
meeting with her and Dr. Mitschke, the Director of the MSW program. She stated that the field office
followed through with each item promised to me. She further stated in her email that l was not pulled
from Wellspring, the agency disrupted my placement and that they worked immediately to find me a
new placement. However, | still had not been placed at a new placement. She also stated that l needed
to make a decision about my education, how l would like to proceed and that it was not an option to
receive an incomplete in the field course during the Spring and complete the rest of the hours in a later
semester.

On April 11, 2018, l responded to Dr. Smith's email letting her know that l was available Monday
through Friday after 3PM and during lunch hours from 12PM-12:45PM. l also requested a copy of the
form that was filled out for the ”disruption of my internship.”

On April 16, 2018, left with no other options, l submitted form to withdraw from field course to Haydee
Hal|. Despite several requests for assistance, the field office and Dr. Dawnetta Smith refused to assist me
in any way so that l could complete my field placement in the Spring of 2018. They failed to provide any
accommodations after repeated requests and providing them with valid reasoning as to why l was
requesting assistance.

l was left with no other option other than to withdraw from the field course. l received an email from
Dr. Smith at almost 10:30AM stating ”| received an email that you are planning to withdraw from Field
this semester. Would you still like to speak with Dr. Mitschke and l? |f so, we are available today at
12:30pm for a call. When you speak with your academic advisor, you should ask Ms. Davis how you can
obtain a copy of your student record as the Field Office does not have this information. l have attached a
copy of the disruption form. Please let me know if you have any further questions or concerns”

On April 17, 2018, l submitted a formal complaint via email to the Dean of Student Affairs, Eddie
Freeman of the Equal Opportunity Services and Michelle Wil|banks, the designated Title lV Coordinator
for UTA. The type and basis of my complaint was for discrimination, retaliation, sexual
harassment/misconduct, race, disability, and field office and faculty failed to follow policy and
procedures regarding my complaint on sexual harassment/misconduct

On April 29, 2018, after exhausting resources and complaints/grievances l emailed UTA President Mr.
Vistasp Karbhari to express my concerns about the handling of my complaint following the event(s) that
occurred at a UTA Affiliated Agency and lack of assistance from Field Office. l sent an email to Mr.
Karbhari with a OneDrive link that provided access to all relevant information including the email
correspondence, the transcribed phone call between Dr. Smith and l, and the voice recording of the
phone call.

Jenifer Knighton’s Appeal 05/29/2018

 

CaSe 4:18-C_\/-00792-Y Document 1 Filed 09/24/18 Page 131 of 147 Page|D 131

Exhibit C

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 132 of 147 Page|D 132 1

SUMMARY OF COMPLA|NT lNVEST|GATlON

APPL|CABLE POL|CY(|E_Sj University Policy - 5-503 Noni)iscrimination Policy

lt is the policy of The University of Texas at Arlington ("the University") that no person shall,
on the basis of race, color, national origin, religion, age, sex, sexual orientation, disabilities,
genetic information, and/or veteran status, be denied employment with or admission to the
University; or be excluded from participation in, denied the benefits of, or subject to
discrimination under, any program or activity that the University sponsors or conducts.
Retaliation against persons who oppose a discriminatory practice, file a charge of
discrimination, or testify for, assist in, or participate in an investigative proceeding relating to
discrimination is prohibited. Constitutionallyprotected expression will not be considered
discrimination or harassment under this policy.

The University of Texas at Arlington complies with the Equal Pay Act of 1963, Titles Vl and Vll
of the Civil Rights Act of 1964, Executive Order 11246, the Age Discrimination in Employment
Act of 1967, Title iX of the Education Amendments of 1972, Sections 503 and 504 of the
Rehabi|itation

Act of 1973, the Americans with Disabilities Act of 1990, the Uniformed Services Employment
and

Reemp|oyment Rights Act of 1994, Title ll of the Genetic information Nondiscrimination Act
of

2008, the Vietnam Era Veterans' Readjustment Act of 1974, the Texas Commission on Human
Rights Act and their subsequent amendments, as well as other applicable federal and state
laws and regulations, the Ru|es and Regulations of the Board of Regents of The University of
Texas System, and policies and standards issued by The University of Texas System
Administration.

This Non-Discrimination Policy shall be implemented throughout the University. lt is the
responsibility of all departments and personnel to ensure the University's compliance. The
University will take prompt disciplinary action against any individuals or organizations within
its control who violate this policy. '

5-513 Sexual Harassment and Sexual Misconduct Polig

The University of Texas at Arlington ("University") is committed to maintaining a learning and
working environment that is free from discrimination based on sex in accordance with Title iX
of the Higher Education Amendments of 1972 (Title |X), which prohibits discrimination on the
basis of sex in educational programs or activities; Title Vll of the Civil Rights Act of 1964 (Title
Vli), which prohibits sex discrimination in employment,' and the Campus Sexual Vio|ence
Elimination Act (SaVE Act). Sexual misconduct is a form of sex discrimination and will not be
tolerated. As stated in the definition, sexual misconduct includes sexual harassment, sexual
violence, sexual assault, stalking, domestic violence and/or dating violence. individuals who
engage in sexual misconduct and other inappropriate sexual conduct will be subject to
disciplinary action. »

SUMMARY OF COMPLAINT lNVEST|GATlON 06/22/2018

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 133 of 147 Page|D 133 2

The University will take prompt disciplinary action against any individuals or organizations
within its control who violate this policy. The University encourages any student, faculty, staff
or visitor to promptly report violations of this policy to an individual identified in Section C.l.
of this Policy.

SCOPE

This policy applies to all university administrators, faculty, staff, students, and third parties
within the University's control, including visitors and applicants for employment. lt applies to
conduct regardless of where it occurs, including off university property, if it potentially affects
the complainant's education or employment with the University. lt also applies regardless of
the gender, gender identity or sexual orientation of the complainant or the respondent in
addition, it applies whether the complaint was made by or against a third party, and whether
the complaint was made verbally or in writing.

SUMMARY

On April 17, 2018 the Office of Equal Opportunity Services received a formal complaint from
Ms. Jenifer Knighton concerning allegations of discrimination based on race and disability,
retaliation and sexual harassment and sexual misconduct by Dr. David Jones, Owner and
agency contact for Wellspring Community institute; Ms. Kristen Terry, Academic Advisor ill in
the School of Social Work; and Dr. Dawnetta Smith, Assistant Dean School of Social work. Ms.
Knighton provided additional details on April 29, 2018.

it was reported that Dr. Jones was unprofessional, unethical, verbally abusive, intimidating
and extremely inappropriate by hugging student interns. He also requested that students
were to pay $20 a week to pay for licensed supervision.

Ms. Knighton alleges that Ms. Terry and Dr. Smith did not report the complaint to the EOS or
Title iX Coordinator and they failed to follow UTA policy and procedure. Ms. Knighton also
filed a grievance with Social Work that did not result in an effective outcome.

C_O_M£L_ALNI

Ms. Knighton states ”The social worker (Kimberly Gallien LCSW) that was supposed to
supervise the students was contracted only to sign off on the student's hours while we were
being supervised by David Jones, an unlicensed individual that was providing counseling
services to children and families. Mr. Jones is the owner and practice manager of the
organization and also contact person for UTA. Mr. Jones was unprofessional, unethical,
verbally abusive, intimidating and extremely inappropriate by hugging student interns. The
students were told that since he was the owner nobody could fire him and if we didn't like it
we could leave and not come back. We were also told that we needed to leave all concerns
that we had with the school up to him. There was a deadbolt lock that was locked on a few
different occasions while interns were in the office with him in the evenings.

On February 26, 2018 i was verbally abused by David Jones, told that if l did not pay money l
was not going to get credit for the previous 5 weeks i had put in. He told me and another

SUMMARY OF COMPLA|NT l NVEST|GATlON 06/22/2018

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 134 of 147 Page|D 134 3

student that he knew we had money because we both had jobs. He twirled a key on his finger,
laughed in a scary manner, and kept us an hour over scheduled. Before we left he attempted
to inappropriately hug us and said 'don't let this stop you from coming back.' i felt violated, l
felt like i had just been raped or molested.

The next day l followed procedure and reported it to my field liaison who reported it to UTA
School of Social Work office, Dr. Dawnetta Smith (assistant dean) put my safety and the safety
of other students at risk by contacting Mr. Jones and disclosing to him that l reported him.
She failed to contact any of the students including myself until after she contacted him. That
afternoon l was contacted by Kristen Terry from the field office telling me that l was going to
be contacted by Ms.

Smith the following day to discuss my behaviors.

Things were then turned around and the blame was put on me, that l was being disruptive at
the agency. Ms. Smith told Mr. Jones to file the form for an interruption of my internship. The
incident was never reported to the EOS or title 9 coordinator and they failed to follow policy
and procedure. | filed a grievance in March but again expressing my concern resulted in an
ineffective outcome.

l cried every day for five weeks which led me into a deep depression and bulimia relapse. l
was forced to withdraw from my field without any accommodations/exceptions due to the
extenuating circumstances and traumatic experience that l endured at an affiliated agency of
UTA. i was given no credit towards tuition on the 6 credit course that l was forced to withdraw
from. Due to the emotional distress that this has caused me l had to be admitted into a partial
hospitalization program which will now hinder me from continuing the field placement in the
summer. When l spoke with my advisor Patricia Green who was unaware of anything that
transpired, i was informed that my graduation will be prolonged an extra year.

Also, despite being told by Ms. Smith that this was not going to go against me because other
students confirmed that what l was saying was true, when i requested some sort of
modification due to the extenuating circumstances, it was denied and l was told that l was
not pulled from Wellspring, the agency disrupted my internship. l requested a copy of the
form and after reviewing it l saw that it was signed the same day that l reported the agency.

The response or lack of that l have received from the school goes against every value that we
have been taught by the school. The way that i have been treated by the faculty from the
school of social work is unjust and a violation of the NASW Code of Ethics. As mandated
reporters they also failed to report the sexual misconduct that occurred at the field
placement. instead they retaliated against me and had David Jones file an interruption of
internship.”

V. Dr. Dawnetta Smith's Response to Complaint jFull statement Attachedl

”On February 27, 2018, l was informed by Kristen Terry, the then Field Advisor for
BSW/Foundation MSW students, that the students at Wellspring Counseling were being

 

SUMMARY OF COMPLAINT lNVESTlGATlON 06/22/ 2018

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 135 of 147 Page|D 135 4

charged for their weekly supervision. She also informed me that an inappropriate
conversation took place with two of the students at Wellspring, where the CEO, Dr. David
Jones, belittled the students. Kristen further explained that one of the students felt violated
because the CEO attempted to hug her, and she wanted a new placement. i immediately
contacted the agency, Dr. .lones specifically, as l wanted to get a better understanding of what
was happening as we had three other students placed at the agency.

On February 27, 2018, l called and spoke with Dr. Jones, CEO of Wellspring Counseling. Before
we began our conversation, Dr. Jones stated, l am so glad you called me l have some concerns
with one of your students. He stated for me to continue with the reason for my call and he
would address his concerns after. i proceeded to ask Dr. Jones, if the agency charged students
for weekly supervision. To which he replied; yes, we have always charged students for weekly
supervision and after-hours services. He stated that he had two contracted therapists, one
being a LMSW, and the therapist charges students for supervision since they keep their doors
open to accommodate working students. l asked him, if he informed the previous Assistant
Dean about this and he stated ”no”; it was an agreement between his agency and the
students. Mr. Jones stated that the students are informed of this before beginning their hours.
l asked him if the students signed an agreement with this information and he stated ”no”. He
informed me that he has students from various universities, such as UH and any student
needing to complete hours after the traditional work hours and have weekly supervision are
charged 520/week for supervision. He went on to state that one of the students, Ms.
Knighton, was not informed of this because she did not attend the orientation. He stated Ms.
Knighton contacted him just before the semester was to start and he told her she could start
the following week. He stated l also have some concerns with this student. | stated to Dr.
Jones, that l understood and while i did not agree with this policy, he needed to have sent the
Field Office this information upfront and he needed to put something in writing so students
understood this and were not blindsided with an invoice. l further informed Dr. Jones, that l
would check into the charge with CSWE, one of our accreditation bodies, and UT Arlington. l
wanted to ensure that there was not a rule against this for our students.

l then proceeded to ask Dr. Jones about a conversation he had with 2 UT Arlington students
on February 26, 2018. Dr. Jones, informed me that he met with the students to provide them
with their invoices for supervision. He stated that both students were upset about the charges
but by the end of the conversation, he felt they had reached an agreement. l then asked Dr.
Jones, did he attempt to hug the students, He stated that he was standing in between both
students as they were leaving the meeting and he put his arm around the students and told
them they were going to be ”okay". l informed Dr. Jones, that was inappropriate and he
should not touch a student unless he first asks. Dr. Jones stated that he was not trying to be
inappropriate but wanted the students to know that he supported them. He further stated,
that he would not let that happen again.

As Dr. Jones and l were wrapping up, l informed Dr. Jones, that Ms. Knighton would not be
returning as she was upset about the charges for weekly supervision and the conversation he
had with her and another student. Dr. Jones then stated that he had some concerns in regards

SUMMARY OF COMPLA|NT lNVEST|GATlON 06/22/2018

 

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 136 of 147 Page|D 136 5

to Ms. Knighton and was not sure she was a good fit for the agency. Dr. Jones stated that Ms.
Knighton asked the therapist if she would be able to sign off on some extra hours. Dr. Jones
also stated that Ms. Knighton was having inappropriate conversations while working, such as
talking about being intoxicated. He stated that he felt, Ms. Knighton was upset about having
to pay the money and reiterated that she has displayed inappropriate behaviors on more than
one occasion, even with clients, and he did not feel she would a good fit for the agency. With
Dr. Jones voicing such concerns, l asked him to complete an ”interruption of Field" form for
the student as she was going to be placed with a new agency immediately per her request.
He complied and sent over the form that afternoon.

On February 27, 2018, l immediately, asked all of the Field Advisors to work to find Ms.
Knighton a new placement. The Field Advisors found Ms. Knighton a new placement within
February 28, 2018, and Ms. Knighton interviewed at the new placement on March 2, 2018. i
had not talked with Ms. Knighton as, Kristen Terry had been in communication with the
student. However, Ms.

Terry informed me that Ms. Knighton wanted to speak with me.

0n February 27, 2018, l contacted UT Arlington's Legal department to inquire about students
being charged for weekly supervision at their Field placements. The Field Office also contacted
CSWE to inquire if there was a policy against this. Both stated this was allowable.

On March 6, 2018, l received an email that included a grievance from Ms. Knighton. | spoke
with Dr. Woody about the grievance and informed her that we immediately moved the
student and she interviewed with another agency. However, the student was still waiting on
a response from the new agency as to if she would be accepted. i informed Dr. Woody that l
had not had an opportunity to speak with the student, but that Kristen, Natalie and Haydee
had each been in communication with the student consistently since she informed us of her
concerns.

i gave Ms. Knighton a call following my meeting with Dr. Woody. During my call with Ms.
Knighton, she proceeded to explain to me what happened during the evening of February 26,
2018 at the placement. She stated that Dr. Jones belittled and intimated her and another
student. She informed me that Dr. Jones stated to them that they would be responsible for
paying for their weekly supervision and it would be 520/week. She stated that Dr. Jones
handed her an envelope with an invoice in it. She stated that she told Dr. Jones that she was
not informed that she would have to pay for weekly supervision and she did not agree with
the charges. Dr. Jones stated to her that she was correct, since she did not have an interview,
and that is when the fee would have been discussed. Ms. Knighton stated that Dr. Jones then
began to give them a lecture on their values and how paying the $20/week was an investment
in their education. She stated he used examples of not buying coffee or McDonalds to afford
the fee. Ms. Knighton stated that she was very upset by his comments and after he tried to
hug her.

i immediately, apologized to Ms. Knighton and explained to her that we are here to support
students and want to ensure that students feel safe. l further asked Ms. Knighton if she felt

SUMMARY OF COMPLA|NT lNVEST|GATlON 06/22/2018

 

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 137 of 147 Page|D 137 6

Vl.

safe and she stated she did, but that Dr. Jones may have her address due to running a criminal
background check. l informed Ms. Knighton, we could not request the paperwork since it did
not belong to the school. Ms. Knighton, went on to explain that she investigated Dr. Jones and
found that he was fired from Houston lSD due to not reporting child abuse within the school
where he was principal. | informed Ms. Knighton that we were still investigating and trying to
contact her peers that were at the placement. l informed Ms. Knighton that Dr. Jones
completed an ”lnterruption of Field" form, due to some concerns he had in regards to her
behavior. l told Ms. Knighton, I asked Dr. Jones to complete the form so that we could move
her to another placement, but that she would not have to go before the professional
standards committee and we were simply going to place her at a new agency. IVis. Knighton
stated that she understood. l proceeded to ask Ms. Knighton how her interview was at the
new prospective placement, Ms. Knighton stated she felt it went well, but she was still very
upset by the disruption and she felt that showed during her interview. l told Ms. Knighton l
understood and that we would support her to find another placement quickly. Ms. Knighton
stated the new placement would get back with her in a week as they have a background
process and paperwork that must be completed. l informed Ms. Knighton to follow up with
Ms. Terry, her Field Advisor as soon as she knew if she could start the placement. Ms. Knighton
and l got off the phone with the understanding that we would assist her in getting a new
placement as quickly as possible so that she would not have to drop the course. l also,
requested that Ms. Knighton look at the agencies we suggested when she first completed her
application with the Field Office. Ms. Knighton expressed that she was having a difficult time
coping, but explained she was feeling better and was going to get some help. l informed Ms.
Knighton to contact us if she needed anything."

WlTNESSES AND S|GN|F|CANT DOCUMENTS

Each of the three other students in Ms. Knighton’s Field placement were contacted
concerning the allegations in her complaint. None of the students reported feeling physically
threatened by or fearful of Dr. Jones, They all stated Dr. Jones had belittled them and was
verbally abusive at times but did not fear for their safety.

They were never informed prior to February 26th of the charge for supervision. They felt his
actions were unethical in asking for money but not informing them prior to them starting or
they would have chosen another agency.

' confirmed that Dr. Jones attempted to hug her and Ms. Knighton after the
meeting on February 26th but she deflected his attempt. She mentioned how he was belittling
them and insisting since they had jobs they could afford to pay. She did not say that they were
being sexually harassed.

All students felt the communication from Social Work was not very good and the school could
have done a betterjob of reviewing agency prior to placement.

The students mentioned that the doors were locked but this was an after-hours facility. So
they assumed it was to keep people from coming in who didn't have an appointment

SUMMARY OF COMPLAINT lNVEST|GATlON 06/22/2018

 

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 138 of 147 Page|D 138 7

Two of the students were able to be placed at another facility and are able to get the hours

necessary to complete program t ` was in the wrong placement to begin with due
to a mix up in registration. Attempts to place Ms. Knighton in another facility were
unsuccessful.

Vll. ANALYS|S and FlNDlNG: VlOLATlON OF UN|VERS|TY POL|C|ES[PROCEDURES

A. Dr. Jones is not subject to UTA policies and is only held responsible for the contractual
obligations specified in contract with School of Social Work to provide premises,
personnel, services, and all other items necessary for educational experience of students
placed there.

The School of Social Work field education program specifies the credentials and practice
experience of its field instructors necessary to design field learning opportunities for
students to demonstrate program social work competencies. Field instructors for
master’s students hold a master’s degree in social work from a CSWE-accredited
program and have 2 years post-master’s social work practice experience. For cases in
which a field instructor does not hold a CSWE-accredited social work degree or does not
have the required experience, the program assumes responsibility for reinforcing a
social work perspective and describes how this is accomplished.

in order to uphold the standard, Social Work requires all Field instructors to submit their
resume and complete an application in our student/agency tracking system, E-intern.
When an agency has a Task Supervisor (in this case Dr. Jones), Social Work informs the
Field instructor (Ms. Kimberly Gillen) that they are responsible for the students'
supervision and documentation. However, the Task Supervisor may oversee some of the
day to day duties of the students and even assign duties that are approved by the Field
instructor.

The School of Social Work has terminated its relationship with Wellspring as a field
placement agency on March 12th due to the following reasons which were violations
of Educational Experience Affiliation Agreement and standards stated above:
Multiple students (3 of the 4) stating they were not told about the weekly
supervision fee during the initial interview/orientation.

Dr. Jones, did not inform the School of Social Work about the fee and told the
students not to contact the School for anything that only the agency should
contact Social Work.

After discussion with Dr. Jones, Dr. Smith felt he was trying to intimidate the
students and insist that they pay the fee or they would not be able to find
another placement.

The School of Social Work received further information that the students were
not receiving weekly supervision from the Field instructor, the students were only

SUMMARY OF COMPLA|NT lNVEST|GATlON 06/22/2018

 

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 139 of 147 Page|D 139

being supervised by Dr. Jones. This is a violation of the CSWE accreditation
standards as Dr. Jones does not have the proper credentials to be a Field
instructor for Social Work students.

B. Ms. Knighton informed Dr. Smith that she would not be returning to the agency on
February 27th when she called to complain about Dr. Jones charging a fee for supervision
and what she perceived as inappropriate behavior.

Dr. Smith contacted Dr. Jones after Ms. Knighton’s call to discuss what she had heard
concerning charging students for providing outside supervision. Dr. Smith also informed
Dr. Jones that hugging or touching students was inappropriate. During the call with Dr.
Jones brought up concerns about Ms. Knighton before Dr. Smith mentioned concerns
about charging students and inappropriate behavior

UT Arlington's association with facility was terminated due to Dr. .lones not disclosing
charging a fee for supervision and not providing the appropriate and agreed upon
services. The two students were able to find another placement and complete their
hours.

C. Ms. Knighton alleges that Dr. Smith's contacting Dr. Jones put her and the other
students at risk. However none of the other students felt that they were in any danger
from Dr. Jones.

Ms. Knighton continues to fear for her safety and fears Dr. Jones will try to harm her.
However it should be noted that Dr. .iones has not had any further contact with Ms.
Knighton since February 26th and has not talked to any of the other students since March
1$‘.

D. Dr. Smith has taken no action on the interruption of Field Placement Form that was sent
by Dr. Jones. Ms. Haydee Hall (Field Liaison) had concerns about this form being filed by
Dr. Jones. She stated in an email dated April 16, 2018 that there was a difference
between her conversation with the Field instructor Ms. Gallien and what was written on
the form. A copy was sent to Ms. Knighton per her request on April 16, 2018. The form
was not submitted to the professional standards committee as was told to Ms. Knighton
by Ms. Terry. Dr. Smith held on to the form because of her and Ms. Hall's concerns with
agency and the form was not placed in Ms. Knighton’s student file or apart of her record.

E. Ms. Kristen Terry reported Ms. Knighton’s complaint to her supervisor Dr. Smith which
was the appropriate action to take concerning this matter. However Ms. Terry handling
of placing students at another agency did show a lack of insensitivity to the situation the
students were facing. instead of sending the students an individual email to check on
their status she sent a group email describing each student's situation.

SUMMARY OF COMPLA|NT lNVEST|GATlON 06/22/2018

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 140 of 147 Page|D 140 9

Vlll. ADD|T|ONAL COMMMTS BY MS. KNlGHTON

Ms. Knighton was provided a preliminary copy of the report and submitted the following
requests and comments:

1. ”i am requesting for damages; punitive damages; Loss of income,' l am also requesting a
formal apology letter from the School of Social Work and UTA. i am requesting that the
allegations against me are dissolved of and | would like that in writing.”

i have recommended that the University reimburse Ms. Knighton the tuition
for her clinical course. l have not found that and UTA policies were violated which
would justify any other payments, but rather the School of Social Work reacted
timely to investigate Ms. Knighton’s complaint and remove her from the placement.
There are no allegations pending against Ms. Knighton.

2. ”The University discriminated against me based on sex when it failed to respond to my
February 2018 complaint of sexual harassment by the owner of the UTA approved
affiliated agency where i was assigned to complete my practicum; ”

Ms. Knighton selected this agency from a list provided to her after her first selection
did not work with her schedule. The University did act on Ms. Knighton’s complaint in
a timely fashion and it worked on finding her a new placement. The termination of
UTA's agreement with Wellspring was a result of Ms. Knighton bringing Dr. Jones'
behavior to Dr. Smith's attention.

3. ”The University discriminated against me based on race when it failed to respond to my
February 2018 complaint of sexual harassment by the owner of the UTA approved
affiliated agency where l was assigned to complete my practicum:”

i have found no evidence that Ms. Knighton’s race was a factor in how the
complaint was handled. The School of Social Work responded timely to her
complaint and investigated immediately. The School of Social Work’s policy called
for them to inform the agency of the complaint and allow them to respond as part of
the investigation. The same procedure would have been followed by Equal
Opportunity Services or Title iX investigators regardless of race.

4. ”T he University discriminated against me based on race when it failed to respond

appropriately to my reports that the agency owner tried to extort money from me and
another student;"

The School of Social Work did respond to Dr. Jones requesting payment from
students and communicated it needed to stop immediately and that was not a part
of the contract. l found no evidence that any students paid money to Dr. .lonesi

SUMMARY OF COMPLA|NT lNVEST|GATlON 06/22/2018

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 141 of 147 Page|D 14110

5. ”T he University discriminated against me based on disability when the School of Social
Work denied my request for any accommodations for my disability (e.g., my request to
extend the deadline for me to complete the necessary hours for my practicum); and"

The University has a formal process for students requesting accommodation based
on a disabilities The Office for Students with Disabilities is where requests for
accommodations are required to be submitted and not to the School of Social work.
Ms. Knighton registered with the Office for Students with Disabilities in October 2017
and therefore knew the process The School of Social Work maintains that they
were not aware of any such possible disability until after the placement was
disrupted.

6. ”T he University retaliated against me by denying my request to extend the deadline for
me to complete the necessary hours for my practicum because | reported sexual
harassment to the School of Social Work in February 2018."

The School of Social Work attempted to find Ms. Knighton another placement and
setup an appointment with three agencies The Field Advisors found Ms. Knighton a
potential placement on February 28, 2018 with Herman Memorial Hospital and she
interviewed at the potential placement on March 2, 2018. She dropped field because
she was unable to find/secure a new placement in sufficient time. Ms. Knighton
alleges she was not able to find another placement due to the experience at
Wellspring She tried, but was unsuccessful. The same offer was made to students

' and i qs_ _ l who were able to secure another placement and
complete the necessary hours

The School also agreed to give her credit for the hours completed at the two prior
agencies The School of Social Work does not usually allow this, but did in this
instance. The number of hours needed is a minimum, and many students do
more because they have to complete the work with their clients. lt is very
possible that, even with any credited hours, any new placement will still require
her to be at her internship for more than the minimum (or more than her
remaining balance). Ultimately, it is about her learning, not the specific number
of hours (like in any class).

iX. CONCLUS|ON AND RECOMMENDAT|ONS
Dr. Jones would not be subject to discipline under the policies of the University of Texas at
Arlington because he is not an employee. However his actions were cause for the University
to discontinue its use of Wellspring as a placement agency and UTA has terminated that
contract.

SUMMARY OF COMPLA|NT lNVEST|GATlON 06/22/2018

 

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 142 of 147 Page|D 142 11

Ms. Kristen Terry is no longer an employee of UT Arlington. She resigned April 18, 2018 to
take a position with another organization. There is no evidence she violated any of the policies
or procedures prior to leaving the university. She was responsible for reporting complaint to
Dr. Smith which she did. Her handling of placing students after Wellspring could have better.

it is EOS determination that Dr. Smith did not violate either of UT Arlington's policies in
her actions to help Ms. Knighton with her complaint against Dr. Jones and his agency. She
acted according to School of Social Work policy and procedure to take prompt action
regarding Ms. Knighton’s complaint and to find her another placement.

The interruption of Field Placement Form that was sent by Dr. Jones to Dr. Smith is not a
part of Ms. Knighton’s student record. The form was also not submitted to the professional
standards committee which would have been the procedure had Dr. Smith not believed Ms.
Knighton’s complaint. Also, Ms. Hall sent a follow up email pointing out the discrepancy in
the Field lnstructor’s verbal evaluation verses what was written on the form which was a
factor in no action being taken against Ms. Knighton.

Ms. Knighton was refunded her 100% of tuition costs related to this placement.

There are other recommendations that will be discussed with the Dean of Social Work
concerning process of selecting and monitoring field placements and agencies

SUMMARY OF COMPLA|NT lNVEST|GATlON 06/22/2018

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 143 of 147 Page|D 14312

Attachment l:

Response to Complaint filed by Jenifer Knighton by Dawnetta Smith, Assistant Dean on April 30,
2018.

On February 27, 2018, l was informed by Kristen Terry, the then Field Advisor for BSW/Foundation
MSW students, that the students at Wellspring Counseling were being charged for their weekly
supervision. She also informed me that an inappropriate conversation took place with two of the
students at Wellspring, where the CEO, Dr. David Jones, belittled the students Kristen further
explained that one of the students felt violated because the CEO attempted to hug her, and she
wanted a new placement. l immediately contacted the agency, Dr. Jones specifically, as l wanted to
get a better understanding of what was happening as we had three other students placed at the
agency.

On February 27, 2018, l called and spoke with Dr. Jones, CEO of Wellspring Counseling. Before we
began our conversation, Dr. Jones stated, l arn so glad you called me l have some concerns with one
of your students He stated for me to continue with the reason for my call and he would address his
concerns after. l proceeded to ask Dr. Jones, if the agency charged students for weekly supervision.
To which he replied; yes we have always charged students for weekly supervision and after-hours
services He stated that he had two contracted therapists one being a LMSW, and the therapist
charges students for supervision since they keep their doors open to accommodate working
students i asked him, if he informed the previous Assistant Dean about this and he stated ”no"; it
was an agreement between his agency and the students Mr. Jones stated that the students are
informed of this before beginning their hours l asked him if the students signed an agreement with
this information and he stated ”no". He informed me that he has students from various universities
such as UH and any student needing to complete hours after the traditional work hours and have
weekly supervision are charged 520/week for supervision. He went on to state that one of the
students, Ms. Knighton, was not informed of this because she did not attend the orientation. He
stated Ms. Knighton contacted him just before the semester was to start and he told her she could
start the following week. He stated ialso have some concerns with this student. l stated to Dr.
Jones, that i understood and while i did not agree with this policy, he needed to have sent the Field
Office this information upfront and he needed to put something in writing so students understood
this and were not blindsided with an invoice. l further informed Dr. Jones, that l would check into
the charge with CSWE, one of our accreditation bodies, and UT Arlington. l wanted to ensure that
there was not a rule against this for our students

l then proceeded to ask Dr. Jones about a conversation he had with 2 UT Arlington students on
February 26, 2018. Dr. Jones, informed me that he met with the students to provide them with their
invoices for supervision. He stated that both students were upset about the charges but by the end
of the conversationl he felt they had reached an agreement i then asked Dr. Jones, did he attempt
to hug the students He stated that he was standing in between both students as they were leaving
the meeting and he put his arm around the students and told them they were going to be ”okay". i
informed Dr. Jones, that was inappropriate and he should not touch a student unless he first asks.

SUMMARY OF COMPLA|NT lNVEST|GATlON 06/22/2018

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 144 of 147 Page|D 14413

Dr. Jones stated that he was not trying to be inappropriate but wanted the students to know that he
supported them. He further stated, that he would not let that happen again.

As Dr. Jones and l were wrapping up, | informed Dr. Jones, that Ms. Knighton would not be returning
as she was upset about the charges for weekly supervision and the conversation he had with her
and another student. Dr. Jones then stated that he had some concerns in regards to Ms. Knighton
and was not sure she was a good fit for the agency. Dr. Jones stated that Ms. Knighton asked the
therapist if she would be able to sign off on some extra hours Dr. Jones also stated that Ms. Knighton
was having inappropriate conversations while working, such as talking about being intoxicated. He
stated that he felt, Ms. Knighton was upset about having to pay the money and reiterated that she
has displayed inappropriate behaviors on more than one occasion, even with clients, and he did not
feel she would a good fit for the agency. With Dr. Jones voicing such concerns l asked him to
complete an ”lnterruption of Field" form for the student as she was going to be placed with a new
agency immediately per her request. He complied and sent over the form that afternoon.

On February 27, 2018, l immediately, asked all of the Field Advisors to work to find Ms. Knighton a
new placement. The Field Advisors found Ms. Knighton a new placement within February 28, 2018,
and Ms. Knighton interviewed at the new placement on March 2, 2018. l had not talked with Ms.
Knighton as, Kristen Terry had been in communication with the student. However, Ms. Terry
informed me that Ms. Knighton wanted to speak with me.

On February 27, 2018, l contacted UT Arlington's Legal department to inquire about students being
charged for weekly supervision at their Field placements The Field Office also contacted CSWE to
inquire if there was a policy against this. Both stated this was allowable.

On March 6, 2018, l received an email that included a grievance from Ms. Knighton (please see
attached). | spoke with Dr. Woody about the grievance and informed her that we immediately
moved the student and she interviewed with another agency. However, the student was still waiting
on a response from the new agency as to if she would be accepted. | informed Dr. Woody that l had
not had an opportunity to speak with the student, but that Kristen, Natalie and Haydee had each
been in communication with the student consistently since she informed us of her concerns

l gave Ms. Knighton a call following my meeting with Dr. Woody. During my call with Ms. Knighton,
she proceeded to explain to me what happened during the evening of February 26, 2018 at the
placement.

She stated that Dr. Jones belittled and intimated her and another student. She informed me that Dr.
Jones stated to them that they would be responsible for paying for their weekly supervision and it
would be 520/week. She stated that Dr. Jones handed her an envelope with an invoice in it. She
stated that she told Dr. Jones that she was not informed that she would have to pay for weekly
supervision and she did not agree with the charges Dr. Jones stated to her that she was correct,
since she did not have an interview, and that is when the fee would have been discussed. Ms.
Knighton stated that Dr. Jones then began to give them a lecture on their values and how paying the
$20/week was an investment in their education. She stated he used examples of not buying coffee

SUMMARY OF COMPLA|NT lNVEST|GATlON 06/22/2018

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 145 of 147 Page|D 14514

' or McDonalds to afford the fee. Ms. Knighton stated that she was very upset by his comments and
after he tried to hug her.

l immediately, apologized to Ms. Knighton and explained to her that we are here to support
students and want to ensure that students feel safe. l further asked Ms. Knighton if she felt safe and
she stated she did, but that Dr. Jones may have her address due to running a criminal background
check. i informed Ms. Knighton, we could not request the paperwork since it did not belong to the
school. Ms. Knighton, went on to explain that she investigated Dr. Jones and found that he was fired
from Houston |SD due to not reporting child abuse within the school where he was principal. l
informed Ms. Knighton that we were still investigating and trying to contact her peers that were at
the placement. l informed Ms. Knighton that Dr. Jones completed an "lnterruption of Field" form,
due to some concerns he had in regards to her behavior. l told Ms. Knighton, l asked Dr. Jones to
complete the form so that we could move her to another placement, but that she would not have to
go before the professional standards committee and we were simply going to place her at a new
agency. Ms. Knighton stated that she understood. l proceeded to ask Ms. Knighton how her
interview was at the new prospective placement, Ms. Knighton stated she felt it went well, but she
was still very upset by the disruption and she felt that showed during her interview. l told Ms.
Knighton l understood and that we would support her to find another placement quickly. Ms.
Knighton stated the new placement would get back with her in a week as they have a background
process and paperwork that must be completed. l informed Ms. Knighton to follow up with Ms.
Terry, her Field Advisor as soon as she knew if she could start the placement. Ms. Knighton and l got
off the phone with the understanding that we would assist her in getting a new placement as
quickly as possible so that she would not have to drop the course. i also, requested that Ms.
Knighton look at the agencies we suggested when she first completed her application with the Field
Office. Ms. Knighton expressed that she was having a difficult time coping, but explained she was
feeling better and was going to get some help. i informed Ms. Knighton to contact us if she needed
anything.

March 6-16, 2018, after the conversation with Ms. Knighton, i checked back with the Field Advisor to
see if she had started her new placement. The Field Advisor informed me that she called and emailed
the contact at the new placement and he would be out until Monday, March 19, 2018; but that she
was working to find other alternatives for all of the students

March 19, 2018, The Field Liaison for Ms. Knighton reached out to her Field Advisor to inquire about
the status of Ms. Knighton’s placement. The Field Liaison was concerned that Ms. Knighton may not
be able to complete her hours by the end of the semester. The Field Advisor provided the Liaison
with an update on Ms. Knighton. At that time, the Field Advisor still had not heard back from the
contact at the new placement.

On March 21, 2018, l asked the Field Advisors to look for other placements for the students as none
of them had moved to a new location. However, 2 of 3 students had interviewed and were waiting
to hear back from the agencies they interviewed with. Ms. Knighton emailed her Field Advisor stating
that she had contacted the agencies we recommended to no avail (see email attached).

SUMMARY OF COMPLA|NT lNVEST|GATlON 06/22/2018

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 146 of 147 Page|D 14615

On April 4, 2018, after about 2 weeks of no communication from any of the students including Ms.
Knighton, The Field foice informed Ms. Knighton and the other students they needed to complete
the 240 hours for the course requirement by May 11"", if they did not feel this was feasible to
contact their Academic Advisor about dropping the course.

On April 5, 2018, Ms. Knighton emailed the Field Advisor back very upset by the email sent over (see
attached). l responded to Ms. Knighton by informing her of the options she had to try and find a
placement to complete her hours by May 11"‘ or to drop and roll over the hours she accrued
previously once she is ready to continue her practicum hours (see attached).

April 8»13, 2018 l received an email from iVls. Knighton requesting a meeting, as l was working to
schedule the meeting. l received another communication from Ms. Knighton stating she was
meeting with her Academic Advisor to drop Field. l emailed Ms. Knighton providing her with a time
to meet, but also asked if she needed to meet since she was planning to drop Field. Ms. Knighton
emailed me back stating she was not available at the time. This was my last communication with
Ms. Knighton.

On April 16, 2018, l emailed Ms. Knighton to follow up in regards to meeting with the MSW Director
and myself. On this same day, Ms. Haydee Hall, called and spoke with me, she stated Ms. Knighton
was having a hard time adjusting after the disruption in her placement and Ms. Hall stated that she
felt Ms. Knighton needed to take a break in order to improve her mental health. Ms. Hall stated that
the student had relapsed with her bulimia due to the incident at Wellspring. Ms. Hall also informed
me that Ms.

Knighton was receiving assistance for this Ms. Hall stated she would email me once she spoke with
Ms. Knighton.

On April 24, 2018, Ms. Knighton emailed the Director of the MSW program to inquire about next
steps The Director emailed me and we spoke and agreed that the student should be allowed to
keep her hours and should drop this semester as this was Ms. Knighton’s plan according to the email.

SUMMARY OF COMPLA|NT lNVEST|GATlON 06/22/2018

 

Case 4:18-cv-00792-Y Document 1 Filed 09/24/18 Page 147 of 147 Page|D 147

.lS 44 (Rev. 06/17) - TXND (Rev. 06/17)

The JS 44 civil cover sheet and the information contained herein neither replace nor supp}ement the filin
provided by local rules of court. This form, approved by the Judicial Con

CIVIL COVER SHEET

and service of pleadings or other papers as re uired by law, except as
erence of the nited States in eptember 1974, is required for the use of the lerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS

\Teni$..» L»inc i:m'g,l\'l`on

(b) County of Residence of First Listed Plaintiff \"x§ 2 f f l 5

(EXCEPT)N U.s_ PLAINTlFF cAsEs)

(c) AUOrneyS (Fi)'m Name, Address, and Telephone Numberj

DEFENDANTS ,

r " ~
fm uni rmnq of T`wrs orr Aal\,\gig,\
County of Residence of First Listed Defendant T C\ FY`Q f l i

(IN U.S. PLAINT]FF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACl' OF LAND INVOLVED.

l

Attomeys (IfKnown)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Place an ‘X” in one on Only) III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Boxfor PlaintlF
(For Diversity Cases Only) and One Baxfar Defendanr)
Cl 1 U.S. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. GovernmentNot a Party) Citizen ofThis State Cl 1 El 1 Iocoq)oxated or Pxincipal Place ij 4 D 4
of Business In This State
13 2 U.S, Govemment Cl 4 Diversity Citizen of Another State Cl 2 U 2 incorporated and Principal Place ij 5 Cl 5
Defendmt (lndicate Cilizenship afParties in Item lll) of Business In Another State
Citizen or Subject of a i`_'l 3 D 3 Foreign Nan`on ij 6 Cl 6
Foreigg Count.ry
IV. NATURE OF SUIT (PIace an "X” in One Bax Only) Click here fort Nature of Suit Code Descri tions.
l CO-l\'i’l'RACT TQI_!TS FORFEITURE/PENALTY BANKRUPTC¥ ETHER STATUTE l
g 110 Insurance PERSONAL INJURY PERSONAL INJUR¥ ij 625 Dmg Related Seizure ij 422 Appeal 28 USC 158 ij 375 False Claims Act
Cl 120 Marine g 310 Aixpla.ne Cl 365 Personal Injury - ofProperty 21 USC 881 ij 423 Withdrawa.l ij 376 Qlu' Tam (31 USC
D 130 Miller Act D 315 Airplane Produc! Product Liability D 690 Other 28 USC 157 3729(3))
Cl 140 Negotiable Instrument Liability ij 367 Health Care/ g 400 State Reapporlionment
D 150 Recovery of Overpayment El 320 Assault, Libel & Pharmaeeutical P El 410 Antitrust
& Enforcement of Judgmcnt Slander Personal lnjury ij 820 Copyrights |I'l 430 Banks and Banking
ij 151 Medicare Act Cl 330 F ederal Employers’ Product Liability Cl 830 Patent Cl 450 Commerce
ij 152 Recovery of Defaulted Liability ij 368 Asbestos Personal Cl 835 Patcnt - Abbreviated El 460 Deportation
Student Loans ij 340 Marine Injury Product New Drug Application ij 470 Racketeer Influenced and
(Excludes Veterans) ij 345 Marine Produ.ct Liability El 840 Trademark Corrupt Organizations
cl 153 Recovery of overpaymenr Liabiiicy PERsoNAL PRoPERTY LA§Q'E 0 rAL cl 480 consumer credit
of Veteran’s Benefits C| 350 Motor Vehicle Cl 370 Other Fraud El 710 Fair Labor Standards Cl 861 HIA (1395ff) ij 490 Cabie/Sat TV
ij 160 Stockhulders’ Suits D 355 Motor Vehicle Cl 371 Truth in Lending Act Cl 862 Black Lung (923) CI 850 Securities/Commodities/
Cl 190 Other Contract Product Liability ij 380 Other Personal Cl 720 Labor/Management El 863 DIWC/DIWW (405(g)) Exchange
Cl 195 Conu'act Product Liability Cl 360 Other Personal Property Damage Relations D 864 SSID Title XVI Cl 890 Other Sfatutory Actions
El 196 Franchise lnjury Cl 385 Property Damage El 740 Railway Labor Act ij 865 RSI (405(g)) ij 891 Agricultural Acts
Cl 362 Personal Inj\lry - Product Liability [J 751 Famin and Medical ij 893 Envimnmenta.l Mamers
____ Medical Mi.lpractice Leave Act |‘J 895 Freedom of information
l REAL PROPERTY CIVIL HGHTS PRISQNER PETI’I`IONS 13 790 Other Labor Litigation FEDERAL TAX §UITS Act
Cl 210 Land Condemnation El 440 Other Civil Rights Habeas Corpus: C| 791 Employee Retirement ij 870 Taxes (U.S. Plaintiff EI 896 Arbitration
ij 220 Foreclosure D 441 Voting ij 463 Alien Detainee Inoome Security Act or Defendam) ij 899 Adminisn'ative Procedure
Cl 230 Rent Lease & Ejectment Cl 442 Employment EJ 510 Motions to Vacaie [J 871 IRS_Third Pa.rty Act/Review or Appeal of
ij 240 Torts to Land ij 443 Housing/ Sentence 26 USC 7609 Agency Decision
Cl 245 Tort Product Liability Accomrnodations CI 530 General El 950 Constitutionality of
Cl 290 All Other Real Property ij 445 Amer. w/Disabilities - ij 535 Death Peoalty IMIV{IGRATION State Statutes
Employment Other: D 462 Naturalization Application
Cl 446 Amer. w/Disabilities - ij 540 Mandamus & Other Cl 465 Other lmmigration
Other Cl 550 Civil Rights Aetions
448 Education |J 555 Prison Condition
ij 560 Civil Detainee -
Conditions of
Conf`mement
V. ORIGIN (Plare an '"'X in one Bor only)
Cl 1 Original |J 2 Removed from l'_'l 3 Remanded from ij 4 Reinstated or ij 5 Transfmed from ij 6 Multidisirict i‘J 8 Multidish'ict
Proceeding State Comt Appellnte Court Reopened Another Dismct Litigation - Litigation -
(specijj)) Transfer Direct File
C`te e U,S. Civi Statute unfit which you are filing (Da nor ci¢¢jurisdir:donul statutes unl¢ss diversiry):
g SM§L\ gi T`l 4 1 X

 

VI. CAUSE OF ACTION

Brie description of ca\is ‘

 

  
   

 

 

 

 

 

¢/¢
“O§ié

 

O

VII. REQUESTED IN ij cHi~:cK rF THls Is A cL ACTIoN DEMAND $ CHECK YES only if dem ` ed in complaint

COMPLAINT: UNDER RULE 23, F.R.Cv.P- JuRY DEMAND= Yes r:lNo
vlll. RELATED CA.sEts} y _ _

IF ANYN see )' JUDGE DOCKETNUMBER gi §(_;:L=¢ 315, g ig
DATE ' s 05 A'1'r Y 0F 0RD

Cl\?l't \ §AM bow ge
ron omcE USE oNLY 7 90 ‘ L/
RECEIPT # AMoUNr /:f l )( > JA>FMG IFP JUDGE MAG. JUDGE
4 /‘ fn w

